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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA


JOSHUA DUNN, et al.,                          )
                                              )
Plaintiffs,                                   )
                                              )   Civil Action No.
v.                                            )
                                              )   2:14-cv-00601-WKW-TFM
JEFFERSON DUNN, in his official capacity as   )
Commissioner of the Alabama Department of     )
Corrections, et al.,                          )
                                              )
Defendants.                                   )




                    REPORT OF DR. PETER BLANCK, Ph.D., J.D.
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I, Peter Blanck, hereby submit the following report pursuant to Federal Rule of Civil
Procedure 26(A)(2).


I.       QUALIFICATIONS AS AN EXPERT
         A.     Background and Qualifications
         I hold the rank of University Professor, which is the highest faculty rank granted at

Syracuse University. 1 I am Chairman of the Burton Blatt Institute (“BBI”) at Syracuse

University, which advances the civic and economic participation of persons with disabilities

worldwide. 2 A true and correct copy of my curriculum vitae is attached hereto as Exhibit 1.

         I received a Juris Doctorate from Stanford University, where I was President of the

Stanford Law Review, and a Ph.D. in Social Psychology from Harvard University. I have

published books, chapters, and articles on the Americans with Disabilities Act as amended

(“ADA”), Section 504 of the Rehabilitation Act of 1973 (“Rehabilitation Act” or “Section 504”),

disability law, policy, and practice, and social science research methods, among other areas. My

articles and books are published in peer-reviewed journals, law reviews and other scholarly

venues. I teach disability, law, policy, and practice, including examination of the barriers and

discrimination that persons with disabilities face as a result of organizational attitudes, policies,

procedures, and practices. I have taught related graduate courses on social science research

methods, and on psychology and law.

         I have been invited to give lectures across the country and internationally, and before

U.S. federal and state governmental agencies, on persons with physical and mental disabilities in

such areas as ADA and Section 504 compliance (e.g., ADA/504 “Transition Plans” 3),

organizational culture and attitudes, reasonable accommodations, and related federal and state

disability laws, policies and practices. My treatise and casebooks on disability policy and law are

used in classes at law schools across the United States. 4


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         I have received millions of dollars in grants from federal agencies, including the U.S.

Departments of Education, Labor, Veterans Affairs, and Health & Human Services, the National

Council on Disability, and from foundations such as the Annenberg Washington Program, to

examine barriers in society facing adults and children with disabilities. I have conducted and

participated in dozens of empirical studies on disability law, policy, and practice; for instance, on

ADA reasonable accommodations, organizational culture, and best practices for engagement

with persons with disabilities in the public and private sectors. 5 My colleagues and I–including

researchers at the Job Accommodation Network (JAN) 6–have conducted quantitative and

qualitative studies of Rehabilitation Act and ADA reasonable accommodations and the

associated “interactive process” (e.g., meaningful dialogue among the relevant parties). 7 In a

series of studies, we examined the accommodation needs, requests, and provision for thousands

of people with disabilities in the public and private sectors. 8 The studies demonstrate that many

organizations effectively accommodate individuals with physical and mental disabilities, using a

variety of accommodation strategies and options, in ways that do not unduly interfere with the

programs offered by such organizations or create undue burdens.

         My research and teaching examines disability laws, policies, and practices using

quantitative and qualitative methods, and evaluation of institutional practices in the

identification, assessment, and accommodation of persons across a spectrum of physical,

cognitive, mental health, intellectual, and psychiatric disabilities. My research has been

conducted in the public and private sectors, and it has examined organizational culture, and

policies and practices as related to access to daily living, health care, emergency management,

employment, and social programs and services for persons with disabilities. 9

         I also study the damaging effects of discrimination towards persons with physical and

mental disabilities. I examine organizational policies (e.g., goal statements), procedures (e.g.,



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standards), training (e.g., protocols, guidelines, and manuals), and best practices (e.g., process

and substantive outcome measures) that lessen the negative effects of discrimination and bias

when public and private organizations offer services, programs, and activities to persons with

disabilities. 10 My colleagues and I have examined the accessibility of programs and services

offered by public and private entities to persons with disabilities. 11 The findings show that

unfounded stereotypes about persons with disabilities often involve unwarranted attitudes about

the cost and disruption of accommodations to programs and services.

         I have testified before Congress, the Equal Employment Opportunity Commission

(“EEOC”), state legislatures and other administrative bodies on disability policy and practice. I

have been a Senior Fellow of the Annenberg Washington Program and a member of the

President’s Committee on Employment of Persons with Disabilities. I am a board member of the

Saks Institute for Mental Health Law, Policy, and Ethics, which is a non-profit think tank

focused on issues of mental health. I have served as chair of the American Psychological

Association’s Committee on Standards in Research, and I am a past President of the American

Association on Mental Retardation’s Legal Process and Advocacy Division. I have been a

Commissioner on the American Bar Association’s Commission on Mental and Physical

Disability Law.

         I serve on the editorial boards of leading peer-reviewed scientific journals and as a

referee for manuscripts submitted to peer-reviewed scientific journals. I am co-editor of the

Disability Law and Policy book series published by Cambridge University Press. In these roles, I

regularly evaluate the research methods and substantive content of manuscript submissions in the

areas of disability research, policy, and practice. 12

         With particular relevance to issues raised in the present matter, from 1995 to 2001, I was

appointed as Facilitator by the U.S. District Court of Wyoming, the Honorable Alan B. Johnson



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presiding, in the settlement of the class action case Chris S. et al. v. Jim Geringer et al., 2:94-

CV-00311-ABJ (D.Wyo. Dec. 29, 1994). As the court officer in this case, I monitored and

analyzed the implementation of state and community services and supports for persons with

serious and persistent mental illness, and related conditions, to ensure their administration in a

manner consistent with the principles of the ADA and related laws. I toured and inspected state

facilities and interviewed individuals receiving state services and programs, for instance,

individuals housed at forensic units at the Wyoming State Hospital. 13

         In addition, from 1991 to 1996, I was appointed by the U.S. District Court of Wyoming

(Judge Alan B. Johnson presiding) as Chairman of the Quality Assurance Committee, and

subsequently as a member of the Compliance Advisory Board, in the settlement of the class

action case Weston v. Wyoming State Training School, 2:90-CV-0004 (D.Wyo. Apr. 27, 1994).

In that capacity, I reported to the U.S. District Court on issues facing persons with cognitive and

other disabilities in the state provision of services and supports. My reports were based on

facility tours, interviews with persons served by the state, and review of state policies, funding

sources, procedures, and practices in accordance with the ADA and the Rehabilitation Act

requirements, and related laws. 14 I reviewed the implementation of state services and programs

to ensure the prevention of discrimination against individuals with disabilities.

         In addition to my responsibilities to the U.S. District Court of Wyoming, in 1995, I

served as an expert witness for plaintiffs in what was, at that time, among the first ADA class

action cases to consider programs and services for juveniles with disabilities incarcerated at state

facilities. In that case, Alexander S. By and Through Bowers v. Boyd, 876 F.Supp. 773 (1995),

the U.S. District Court for the Columbia Division in South Carolina, Honorable Joseph F.

Anderson, Jr. presiding, found that conditions of confinement, such as overcrowding, at four




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correctional institutions operated by the South Carolina Department of Juvenile Justice deprived

plaintiffs of their rights under the ADA and the Rehabilitation Act.

         In Alexander S., Defendant South Carolina was found to have housed more juveniles than

the facilities were designed to hold. The state consented to an order to alleviate overcrowding

and address appropriate staffing levels, and entered into a settlement agreement with the parties

to remediate the conditions at the juvenile correctional institutions. In the course of preparing my

expert report in Alexander S., I conducted a review of the state’s policies, procedures, and

practices in the correctional institutions. I also conducted site inspections and interviews with

inmates, staff, guards, and state officials. I reviewed operations at the reception and evaluation

units, and at the long-term institutions. This included review of the accessibility of the physical

plant and of the programs provided at the campuses, such as in classification and placement,

cafeteria and food service, educational, medical and dental, and administrative facilities.

         My review in Alexander S. considered the disciplinary system, which was to control

violence and inappropriate behavior, maintain safety and security, and serve as a training tool for

correcting behavior. 15 The plaintiffs successfully challenged the state system of discipline, which

depended on the use of lock-up units, segregation, and tear gas to punish juveniles for

disciplinary infractions, as well the conditions of the lock-up cells and the duration of stay in

lock-up facilities. 16 The U.S. District Court found that there was a disproportionately high

number of juveniles at the state facilities with disabilities. 17

         In 2015, I was honored to receive the National Distinguished Disability Service Award

from NARRTC (formerly known as the National Association of Rehabilitation Research and

Training Centers). NARRTC promotes the full inclusion of persons with disabilities in American

society through applied research and training. The NARRTC award is given to individuals who

have made contributions to the field of disability through research, teaching, service, and



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advocacy. 18 It is given for sustained contributions and an accumulation of life-time

achievements, and is the highest recognition conferred by NARRTC.



II.      PRIOR TESTIMONY AND RATES
         I have been qualified, and in deposition and trial have testified, in federal and state court

proceedings as an expert on the implementation of the ADA and the Rehabilitation Act, as well

as on disability programs and services, policies, procedures and practices as offered by public

and private entities. In the last four years, I have testified as an expert in trial in Ross and Ross v.

Hatch (Newport News Circuit Court, Virginia, 2013) (guardianship proceeding involving an

individual with cognitive disability), and in Brooklyn Center for Independence of the Disabled et

al. v. Bloomberg (SD NY, 2013) (emergency preparation for persons with physical and mental

disabilities, and in deposition).

         I have been deposed as an expert witness in 2012 in Rivas-Parker v. Attractions Hawaii

(Dist. HI) (organizational policies and procedures in regard to ADA access for a blind

individual), in 2014 in D’Lil v. Riverboat Delta King, Inc. (ED CA) (organizational policies and

procedures in regard to ADA access for individual who used a wheelchair), and in 2014 in

McConnell et al. v. Donahoe et al. (EEOC) (organizational policies and procedures in regard to

ADA accommodations for individuals with disabilities).

         My fee in this matter is $350 per hour. I charge for transportation and out-of-pocket

expenses.




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III.     ASSIGNMENT
         A.     Overview
         I am retained by plaintiffs’ counsel in this matter to review and evaluate the

circumstances surrounding the putative ADA sub-class’s experiences and alleged claims against

the defendant, and to provide related expert opinions. 19 I was asked to examine materials

pertaining to plaintiffs’ allegations of disability 20 discrimination in violation of the ADA and the

Rehabilitation Act. 21 As described below, my understanding of the dispute is based on court

filings and materials made available to me to date, as well as on my independent review of

relevant research and publicly available materials.

         As I understand the claims alleged, the putative ADA sub-class claims that they have

experienced and continue to experience system-wide and programmatic barriers to addressing

their needs as individuals with disabilities 22 in the services, programs, and activities 23 offered by

defendant Alabama Department of Corrections (“ADOC”). 24 ADOC is the administrative

department of the state of Alabama responsible for overseeing and exercising control over

corrections institutions in the state of Alabama. 25 Persons in the custody of ADOC are housed in

fifteen (15) major correctional facilities and thirteen (13) work camps or work release centers. 26

         The putative ADA sub-class alleges that ADOC’s service and program failures have

made them, and continue to make them, uniquely vulnerable to the effects of incarceration on

the basis of their disabilities, particularly as relative to the general prison population. 27

Putative ADA sub-class plaintiffs are incarcerated in Alabama ADOC prisons. 28 They bring

this case to remedy ADOC’s alleged failure to provide nondiscriminatory and accessible

programs and services on the basis of disability, in accordance with the requirements of the

ADA and Section 504; for example, “the affirmative obligation to make benefits, services,

and programs accessible to disabled people.” 29

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         Based on my research, writings, and experience, as Alabama State prisoners, the

putative ADA sub-class members satisfy the ADA and Section 504 eligibility requirements

for the receipt of programs and services provided by the public entity ADOC. 30 Plaintiffs

allege ADOC’s deficiencies in facilities, programs, and services is discriminatory on the

basis of disability. They allege that throughout the ADOC system they receive inadequate

and inferior services and programs that, among other consequences, subject them as prisoners

with disabilities to unnecessary exclusion from participation and the denial of (or relegation

to inferior) programs, services, and activities as offered to the general prison population. 31

Putative ADA sub-class members allege that this results in a substantial risk to them of

serious harm, unnecessary pain, loss of function, injury and death. 32 The putative ADA sub-

class alleges that overcrowding, 33 insufficient staffing levels, and deficiencies in staff

training in ADOC facilities exacerbate these failures on the basis of their disabilities.



         B.     Nature of Expert Opinions
         Based on my understanding and review of the circumstances and materials presented to

me (including interviews and site inspections), my prior research, writings, and experience, and

relevant social science with which I am familiar and have reviewed, I was asked to provide

expert opinions as to the following central topics.

         1.     ADA/504 Transition Plan and ADA Coordinators.

         2.     Identification, Classification, and Monitoring of Inmates with Disabilities.

         3.     Accommodation Requests and Provision for Inmates with Disabilities.

         4.     ADOC Staff Training on the ADA and Section 504.

         5.     Effective Communication with Inmates with Disabilities.

         6.     Access for Inmates with Disabilities to Programs and Services Offered in



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                ADOC’s Prisons.



IV.      METHODOLOGY FOR RESEARCH AND ANALYSIS
         A.     Methodology
         To address the issues identified above, and to develop the bases for my opinions, my

research methods included: (1) review of case documents as identified in Exhibit 2 to this report;

(2) review of ADOC Administrative Regulations (“ARs”) relevant to inmates with disabilities;

(3) review of correctional accreditation standards relevant to inmates with disabilities; (4)

conducting site inspections of ADOC prison facilities, with onsite interviews and observations;

and, (5) review of publicly available media and reports, as well as social science literature on

inmates with disabilities.

                1.     Review of Case Documents
         With regard to case documents, I reviewed deposition testimony, pleading and motions,

court orders, inmate prison jackets and medical records, discovery responses from ADOC,

documents produced by ADOC, Corizon monthly reports, Corizon High Acuity Reports, MHM

monthly reports, Corizon audits, MHM audits, ADOC contract with Corizon, ADOC contract

with MHM, and Hamilton A&I ADA Grievances and Logs. These documents allowed me to

make a compressive review of ADOC’s policies, procedures, and practices as relevant to inmates

with disabilities.

         As part of my case file review I examined monthly reports by Corizon and MHM to

ADOC during the period of January 2012 to October 2014 (see Exhibit 2). 34 I reviewed ADOC’s

Office of Health Services Division (“OHS”), Manual of Policies and Procedures, which contains

administrative regulations as approved by Ruth A. Naglich, Associate Commissioner ADOC, on

January 20, 2012. 35




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          I also have examined the “Prison Jacket” files and medical records for the putative ADA

sub-class representatives to corroborate the bases for my analysis (see Exhibit 2). I further

requested a random sampling of twenty-five inmate Prison Jacket files and medical records for

ADOC inmates with a range of mental and physical disabilities as part of my review and

analyses. 36 These twenty-five male and female inmates are, or have been, noted on Corizon’s

Alabama Monthly Highest Acuity Report and accompanying listings. 37

          This selection of twenty-five ADOC inmates was chosen randomly from the Monthly

High Acuity Listings pursuant to my a priori sampling methodology. 38 The parameters of that

method were as follows: (1) select inmates with co-existing physical disabilities, such as

individuals who are deaf, blind, wheelchair users, and have prosthetic limbs (i.e., to examine

potential individuals with significant ADA impairments); (2) select inmates without primary and

significant medical issues and impairments coexisting with ADA disabilities (i.e., to examine

inmates representative of the putative ADA subclass, but who do not have predominant medical

conditions alone); (3) select these inmates from different ADOC prison facilities and with

varying security classifications; and (4) select the cases primarily from the high proportion of

male inmates and from the smaller proportion of female inmates. 39

                 2.     Review of ADOC Administrative Regulations
          I considered that ADOC uses various methods of administration set forth in

Administrative Regulations (“AR”) and operational manuals comprised of written policies and

procedures for the system-wide implementation and monitoring of prison programs and

services. 40 These statewide, institutional policies and procedures apply to all inmates in ADOC

custody with a disability, who have a record of a disability, and who are regarded as having a

disability. My review of these administrative regulations allowed me to understand whether




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ADOC has in place sufficient policies, procedures, and practices relating to inmates with

disabilities.

                 3.      Review of Correctional Accreditation Standards
          There are well-recognized organizations engaging in the accreditation of prisons

nationally. I reviewed the National Commission on Correctional Health Care (“NCCHC”)

accreditation standards, as such policies reflect ADOC’s position as to operations, and programs

and services offered to inmates with disabilities. 41 Particular procedures are instructive for

benchmarking the sequence of acceptable ways in which ADOC’s policies are to be

implemented. 42 These standards establish well-accepted policies and procedures, which should

be reflected in ADOC’s regulations, procedures and practices. 43 Professional standards

organizations, such as the American Correctional Association (“ACA”) and the NCCHC, which

ADOC recognizes, 44 promulgate compliance and best practice standards against which a state

correctional entity such as ADOC should assess its policies, procedures, and practices over time.

When an entity like ADOC measures its operations, practices, and activities by professional

compliance standards, it typically engages in a certification or accreditation process. 45

                 4.      Conduct Site Inspections of ADOC Prisons
          To further corroborate the bases for my analysis and opinions, I conducted site

inspections and interviews with putative ADA sub-class members in ADOC facilities. The

guidelines for my observations and interviews during the prison site inspections were informed

by relevant research, policy and training materials, 46 and nationally recognized prison standards

and inspection programs. 47 The general approach for my prison site visits and interviews were

derived from correctional inspection and compliance procedures, such as those promulgated by

the ACA and the U.S. Department of Justice National Institute of Corrections (“NIC”). The NIC

provides that site inspections should involve a combination of methods and procedures, such as



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in-person interviews, review of records and policies. This guidance was used in the development

my procedures for conducting the site inspections. 48

          For purposes of the development of my opinions, through observations and interviews, I

conducted site inspections at the following ADOC facilities:

          A.     Close Security Facilities

                 1.      Kilby (Mt. Meigs, AL): visited July 30, 2015. 49

                 2.      Donaldson (Bessemer, AL): visited May 14, 2015.

                 3.      St. Clair (Springville, AL): visited November 9, 2015.

                 4.      Tutwiler (women’s prison, Wetumpka, AL): visited January 26,

                         2016.

          B.     Medium Security Facilities

                 1.      Hamilton Aged and Infirmed (“A&I”) (Hamilton, AL): visited

                         May 13, 2015.

                 2.      Bullock (co-located with Bullock Mental Health Facility, Union

                         Springs, AL): visited September 29, 2015. 50

                 3.      Easterling (Clio, AL): visited September 28, 2015.

                 4.      Ventress (Clayton, AL): visited February 4, 2016. 51

          These facilities were chosen for my site inspection for the following reasons:

                 1.      I visited the two ADOC facilities that perform the intake functions

                         (Kilby Correctional Facility 52 and Tutwiler Prison for Women).

                 2.      Each facility visited was thought to house members of the putative

                         ADA sub-class with a range of disabilities. 53

                 3.      Each facility visited was designated by ADOC to provide

                         programs and services for inmates with disabilities (e.g., mental



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                         health services at Bullock, Donaldson, and Tutwiler, aging and

                         infirm services at Hamilton and Tutwiler, dialysis services at St.

                         Clair as well as emergency planning services, rehabilitation and

                         vocational programs, and on-going treatment, substance abuse,

                         Therapeutic Community, and Crime Bill programs at Ventress).

                 4.      Close (Maximum/High Security) and Medium Security Facilities

                         were visited, 54 noting that Medium custody level prisons house

                         approximately half of the inmate population (51% as of December

                         2014). 55

                 5.      Each facility visited, possibly with the exception of aspects of

                         Hamilton A&I, has been alleged to contain architectural and

                         programmatic barriers for prisoners with mobility impairments.

                 6.      The facilities that I inspected included men’s and women’s ADOC

                         prison facilities, are representative of the program and service

                         needs of the putative ADA sub-class, and ranged in size from large

                         to small facilities. 56

                 7.      Together, the ADOC prison facilities that I inspected comprise

                         eight of the fifteen (53%) ADOC prison facilities for purposes of

                         the ADA sub-class review, which for the reasons identified above

                         reflect a robust sampling base for purposes of this Report. 57

          I find that these site inspections and the corresponding interviews and observations

constitute a representative sampling of housing units, programs and services, and prisoners with

disabilities. I was allowed to select and interview ten prisoners at each of the facilities visited. 58




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                 5.      Review Relevant Media, Reports, and Social Science Literature
          The additional materials that I have examined for my review in this matter include peer-

reviewed scientific journals, government reports, media, ADA title II and U.S. DOJ regulations,

guidance materials, white papers, and edited volumes and books of the highest scholarly caliber.

In addition, I reviewed relevant information derived from national disability and health surveys,

such as from the National Health Interview Survey, United States, 2010. 59

          For example, according to the National Academy of Sciences 2014 Report, The Growth

of INCARCERATION in the United States, the disabling conditions that I examined for purposes

of this report “constitute a growing percentage of correctional health care needs as the result of a

confluence of trends, especially the increase in chronic disease among younger Americans and

the aging of the correctional population.” 60 The National Academy finds that:

          Prisoners with disabilities also tend to be overlooked. Disabilities that are
          relatively minor in society at large can constitute serious impediments to well-
          being in prison. Living in correctional facilities entails activities of daily living
          (ADLs) that pose particular challenges to people with physical or developmental
          disabilities. For instance, regular ADLs include bathing and dressing, but ADLs in
          prison also can involve getting on and off an upper bunk, dropping to the floor for
          alarms, and hearing and promptly following orders against extensive background
          noise. 61

          B.     Summary of Methodology and Corresponding Analysis
          My review techniques, along with the other well-recognized research methods that I have

employed in my analyses, strengthen my ability to consider plausible rival hypotheses for the

outcomes I find (e.g., other than differences based on disability). My approach reduces potential

inmate case selection bias (“cherry-picking” of non-representative general prison case files to

compare to the sample of putative ADA sub-class members), and it increases the generality or

“external validity” of my findings as applied to the circumstances in this matter. 62

          My research methods and sampling techniques strengthen my confidence to assess

relevant, generalizable, and valid information on putative ADA sub-class representatives, and as


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compared to those individuals from the general prison population. I examined putative ADA sub-

class members with consideration of their particular: (a) mobility impairments, 63 (b) deaf and

hard of hearing impairments, 64 (c) blind and low vision impairments, (d) psycho-social, mental

health conditions, (e) cognitive disabilities (e.g., developmental, intellectual, learning, and print

disabilities, traumatic brain injury (TBI), and Post-Traumatic Stress Disorder (PTSD)), 65 and (f)

serious diseases and illnesses (e.g., diabetes, hepatitis, high blood pressure, and cancer). 66 I

consider issues of co-morbidity and co-occurrence among these conditions and disabilities,

which has been shown to raise additional health care and programmatic considerations. 67

          In summary, my assignment involved a comprehensive, system-wide review and

assessment. It included the review of thousands of pages of documents, empirical research and

reports, site inspections and observations, case file reviews, and interviews with putative ADA

sub-class members. My opinions are based on my education, writings, and professional

experiences, and on social science and relevant research findings of the highest scholarly caliber.

My evaluation of ADOC’s policies, procedures, practices, and institutional structure and

operations as they impact the putative ADA sub-class uses well-accepted evaluation and social

science research techniques. My review employs information from multiple sources to

corroborate my opinions as to whether ADOC’s policies, procedures, and practices comport with

the ADA and Section 504. The body of evidence that I have used provides a sound basis for

reaching my opinions in this matter.



V.        OPINIONS
          A.     Introduction
          The ADOC Annual Report for Fiscal Year 2014 provides as its statewide mission to

“confine, manage, and provide rehabilitative programs for convicted felons in a safe, secure, and

humane environment, utilizing professionals who are committed to public safety and to the

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positive re-entry of offenders into society.” 68 The putative ADA sub-class are subjected to this

mission statement, as are all ADOC inmates. As “qualified” beneficiaries of the ADOC system, 69

the putative ADA sub-class may not receive or be subjected to inadequate and inferior services

and programs on the basis of their disabilities, or behaviors resulting from their disabilities, to

unnecessary exclusion from participation in, or the denial of (or relegation to inferior),

confinement and rehabilitation programs, services, and activities as offered to the general prison

population. 70 My findings herein show that many putative ADA sub-class members would be

“qualified” and eligible to participate in ADOC programs, services, and activities with the

provision of reasonable accommodation and appropriately modified policies, procedures, and

practices, as subject to legitimate concerns regarding inmate security and safety. For example,

putative ADA sub-class members are entitled to appropriate reasonable accommodations and an

effective ADA grievance process, effective emergency evacuation, accessible toileting facilities,

and effective communication of informational materials, as provided to all ADOC inmates. 71

          Likewise, the National Academy of Sciences, in its 2014 Report, The Growth of

INCARCERATION in the United States, set forth principles with regard to the use of

incarceration in the United States, which have relevance to issues facing ADOC prisoners with

disabilities. 72 Among these principles are the values of “proportionality” and “parsimony;” that

is, conditions and consequences of imprisonment “that are more severe than is required to

achieve valid and applicable purposes is to that extent morally unjustifiable [and] excessive.” 73

The National Academy of Sciences finds that “the conditions and consequences of imprisonment

should not be so severe or lasting as to violate one’s fundamental status as a member of

society.” 74 Thus:

          The principle of citizenship suggests a rigorous review of the conditions of
          confinement and of the legal disabilities and restrictions imposed on those who
          have been incarcerated. In particular, policies and practices that result in long
          periods of administrative segregation from the general population, deprivation of


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          meaningful human contact, overcrowding, and unnecessarily high levels of
          custody all require rigorous review. … Conditions of confinement should be
          reviewed with the objective of increasing prisoners’ chances of reentering society
          with social relationships intact and better prepared to make a positive, productive
          transition. Review of these conditions and the policies that regulate them is
          compelling because, with rare exceptions, all those incarcerated in the nation’s
          prisons and jails will be released to return to their communities. 75

          The National Academy of Sciences’ principle of “social justice” provides that “prisons

should be instruments of justice” and promote, not undermine, the “fair distribution of rights,

resources, and opportunities.” 76 Justice requires meaningful opportunities for equivalent program

participation by the incarcerated, and not disparate, inferior, and segregated treatment on the

basis of disability. 77 The ADA and the Rehabilitation Act incorporate these principles into their

statutory schemes. 78

          The putative ADA sub-class is at increased risk for inadequate rehabilitation and safety

while incarcerated. 79 Research shows that inmates with disabilities have higher rates of injuries

from violence and unintentional causes as compared to the general population of inmates without

disabilities. 80 Inmates with comorbid mental health conditions, and psycho-social and cognitive

impairments are at a higher risk of being victims of and displaying more violent behaviors

relative to inmates without such disabilities. 81 Prior research shows that incarceration is

generally associated with greater and deteriorating health conditions. 82

          For these and other reasons, the absence of timely and effective reasonable

accommodations (as well as the provision of effective communications and physical

accessibility) significantly increases the likelihood of present and future injury and illness facing

prisoners with disabilities. 83 Absent reasonable accommodations, inmates with disabilities are

less able to engage meaningfully in prison programs, services, and activities as offered to the

general population, and they are more vulnerable to present and future injury, illness,

misunderstanding, and exploitation by other prisoners and correctional staff. Additionally, the



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absence of reasonable accommodations for putative ADA sub-class members with disabilities

(e.g., in educational, vocational, and work release programs), is reasonably expected to be

associated with increased levels of recidivism. Research supports this conclusion, showing the

association between effective accommodations and subsequent academic success of individuals

with disabilities. 84 My findings are in accord with others that have been documented in the

correctional setting:

          given that Section 504 and Title II require all entities that provide public services
          to act affirmatively to ensure that disabled individuals have meaningful access,
          prisons seemingly have even more responsibility in this regard, because inmates
          necessarily rely totally upon corrections departments for all of their needs while in
          custody and do not have the freedom to obtain such services (or the
          accommodations that permit them to access those services) elsewhere. 85

          The provision of ADA accommodations by public entities, such as ADOC, may derive

from a verbal or written request for an accommodation by an inmate with an ADA-related

disability or by that inmate’s actions. ADOC’s knowledge of a qualified individual’s need for an

accommodation may be reasonably evident, such that ADOC is on notice of that individual’s

eligibility to participate equally in benefits, services, and activities offered by the public entity.

Thus, the need for an accommodation may be evident to ADOC even though the inmate with the

disability does not expressly request an accommodation and does not consider him or herself to

be a person with an ADA protected impairment. 86

          Other disabilities may be non-obvious, such a cognitive disability, an intellectual or

mental health disability, a traumatic brain injury, or situations in which inmates cannot

effectively read, write, and understand informational documents, may require as an

accommodation the information to be presented in simpler or alternative formats. In these

instances, in the absence of adequate assessment, monitoring, and training, ADOC staff are not

able to effectively determine and manage the need for and provision of reasonable

accommodations for putative ADA sub-class members. 87


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          Thus, in some instances, ADOC is on notice that putative ADA sub-class members

require accommodations because it knows (or reasonably should know) that these impairments

are apparent and significant, or because the inmate has requested an accommodation. 88

Nonetheless, best practice would not require that an inmate request a specific and particular type

of accommodation when the need is explicit or apparent. That is why, the ADA and best practice

requires an “interactive process” or meaningful discussion among ADOC staff and the inmate to

identify the reasonable accommodation to be provided. This approach is to ensure that putative

ADA sub-class members receive the benefits and services as afforded by ADOC to inmates

without disabilities. 89

          However, because I find that ADOC does not effectively identify, monitor, and track

systematically putative ADA sub-class members, it is not reasonably possible for ADOC staff to

have the sufficient and necessary notice, information, and knowledge required to consider the

provision and granting of accommodations that support meaningful participation in ADOC

programs, services, and activities. For this and other reasons, ADOC’s deficiencies unfairly, and

in a discriminatory fashion, deny and limit putative ADA sub-class members comparable access

to ADOC programs, services, and activities, and as offered to inmates without such conditions. 90

          In my experience, it is also not necessarily the case that the provision of certain

reasonable accommodations (e.g., assistive devices and tapping canes for the blind) to inmates

with disabilities create safety threats because they may be used as weapons. The provision of

such accommodations and assistive devices remain subject to proper use, and appropriate

behavior and standards, as dictated by ADOC. I have not been presented with evidence that

putative ADA sub-class members have systematically misused or used as a weapon an assistive

device that was provided by ADOC as a reasonable accommodation. 91 In addition, I have not




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been presented with information that would suggest that ADOC effectively assesses, tracks, and

monitors such potential outcomes.

          In the absence of effective ADOC system-wide policies, procedures and practices for the

ADA accommodation process, I find that putative ADA class members and other inmates with

disabilities often are forced to rely on individual “coping mechanisms” and self-directed

alternative accommodations. 92 ADOC putative ADA sub-class members and other inmates with

disabilities that I have interviewed reported that they often are required to pay other inmates to

receive basic accommodations (e.g., paying an inmate to push an inmate’s wheelchair), 93 which

ADOC is otherwise obligated to provide under the ADA, and which was reported to lead to

ancillary health and safety risks to putative ADA sub-class members. Moreover, during my site

inspections putative ADA sub-class members reported to me they had been denied meaningful

access on the basis of their disabilities to ADOC programs (e.g., to work-release programs,

emergency evacuation, physical and programmatic activities).

          Nonetheless, however effective such “self-help” strategies may be to aid putative ADA

sub-class members to participate in the programs and services ADOC offers, these ad hoc and

non-systematic approaches to accommodation do not negate ADOC’s continuing responsibilities

under the ADA and Section 504 to offer programs, services, and facilities that are meaningfully

accessible, and to appropriately consider and provide reasonable accommodations and effective

communications, to putative ADA sub-class members. 94

          It also is my opinion that the putative ADA sub-class receiving programs and services

from ADOC are excluded, warehoused and segregated from participation in, and denied the

benefits of, aspects of these programs, services, and activities on the basis of their disabilities.

The negative effects of such denial are exacerbated for the putative ADA sub-class, particularly

in overcrowded and inaccessible conditions, and as compared to the general prison population. In


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2015, ADOC Commissioner Dunn acknowledged that Alabama prison overcrowding and

Correctional Officer understaffing lead to violence within facilities such as St. Clair Prison. 95

          It is further my opinion that ADOC’s centralized and institutional prison-level, policies,

procedures, and practices are not effective in identifying and eliminating potential barriers to

participation in programs, services, and activities for prisoners with mental and physical

disabilities (for example, in programs and services in regard to substance abuse, education, and

faith-based dormitory living), particularly in overcrowded and inaccessible conditions. 96

          ADOC has not implemented centralized and institutional-level policies and procedures

(e.g., an ADA/504 Transition Plan) to implement its obligations under the ADA and Section 504

(e.g., using effective ADA coordinators at the central office and prison facilities). The result is a

systemic failure to effectively monitor ADOC’s methods of administration, at the Departmental

and institutional levels, to ensure that its policies, procedures, and practices do not directly, and

through contract (e.g., with Corizon and MHM, or with state community colleges), have the

effect of defeating or impairing accomplishment of the objectives of ADOC’s programs,

services, and activities with respect to the putative ADA sub-class.

          ADOC’s policies, procedures and practices for the request, provision of, and grievance

concerning, reasonable accommodations are deficient. This failure includes a lack of policies,

procedures, and processes related to identifying individuals with disabilities and their functional

limitations, assessment of reasonable accommodations and possible modifications, and effective

communications needed by individuals with disabilities, as well as in implementing

accommodations and modifications, and monitoring such implementation. 97

          I delineated the above findings into the specific opinions that follow.



          B.     Nature of My Opinions



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          It is my opinion that ADOC fails in significant ways to develop and implement policies,

procedures, and practices to appropriately and systematically address the needs of putative ADA

sub-class members.

          1. ADA/504 Transition Plan and ADA Coordinators

          ADOC has not developed and implemented a comprehensive and coordinated

ADA/Section 504 Transition Plan regarding program and service accessibility for putative ADA

sub-class members, as required and as reflective of acceptable practice in this area. 98 I found that

ADOC does not have in place system-wide policies and procedures to effectively identify, assess

and monitor its services, programs and activities, staff, and third party agents (such as Corizon

and MHM) to ensure meaningful access and nondiscriminatory programs for the putative ADA

sub-class. 99 Given these circumstances, it would be difficult for ADOC to effectively train staff,

and to monitor their activities with accountability, to remedy these deficiencies. 100

          Without an ADA/Section 504 Transition and Self-Evaluation Plan of programs and

services as applied to the putative sub-ADA class, ADOC is not able to effectively plan,

coordinate, communicate, monitor and track its services and programs for putative ADA sub-

class. In the deposition testimony of ADOC ADA Coordinators, there was no meaningful

indication that these ADOC representatives identified areas for needed ADA planning

improvements to ensure that accessibility issues are acknowledged and implemented.

          ADOC uses inmate “profiles” as determined by medical staff to attempt to address the

needs of inmates with disabilities. 101 Nonetheless, ADOC does not have effective (appropriately

trained, monitored, and accountable) ADA coordinators (or an ADA Review Team) at the

departmental and facility levels to appropriately address issues for putative ADA sub-class

members’ accommodation needs and resultant provisions, and timely grievance procedures. This

is a deficiency in program and service planning, identification, and monitoring for putative ADA



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sub-class members. In the absence of effectively trained and accountable ADA coordinators

system-wide and at the facility level who are charged with ensuring program and service

accessibility by ADOC, it is not possible to meaningfully and effectively identify and monitor

the accommodation needs of putative ADA sub-class members.

          The ADA System Coordinator typically is located at the departmental level, has system-

wide responsibility and authority to ensure that policies, procedures, and practices in regard to

ADA-related activities (e.g., reasonable accommodations, effective communications, accessible

housing) are implemented in timely and appropriate ways system-wide and at each prison

facility. 102 This includes responsibility for the prompt identification of disability status and

resolution of ADA-related grievances by inmates.

          An ADA Coordinator typically is responsible for compiling, maintaining timely

information and records regarding the identification and monitoring of inmate accommodations

to help ensure that they are not denied access to ADOC programs, services, and activities

because of their disabilities. The Departmental ADA Coordinator should serve as liaison for and

resource to facility-specific ADA coordinators and relevant staff, and to other state, local, and

government agencies (e.g., education and vocational rehabilitation) engaged with ADOC and its

obligations to putative ADA sub-class inmates.

          The duties and responsibilities of the departmental and facility-specific ADA

coordinators should be detailed in the ADA/504 Transition Report or Plan, which, as found,

ADOC has not developed. It is the facility ADA coordinator who typically is responsible to

ensure that accommodations for putative ADA sub-class members are processed, documented,

implemented, and monitored. 103 The ADA accommodation plans should accompany an inmate

when he or she is transferred to another ADOC facility so that it may be implemented at the new

facility and modified as appropriate given the conditions, programs and services at the new



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facility. I have found with no evidence to document the presence of effective ADA Coordinators

at the departmental level, as well as ADA Coordinator liaisons at facility-specific levels, nor that

a position or individual(s) that has assumed and has conducted the type of activities referenced

above and understood best practices. 104

          2. Identify, Classify, and Monitor Inmates with Disabilities

          I find no indication in the materials that I have reviewed that ADOC has engaged in, and

has plans to engage in, a systematic review of its existing policies, procedures, practices,

resources, structure, and culture with respect to the identification of putative ADA sub-class

members to provide meaningful access to ADOC programs, services, and activities. 105 I find in

the materials that I have reviewed that ADOC has failed to meaningfully assess, both from a

system-wide perspective and in regard to particular prison facilities, the need for and monitoring

of reasonable accommodations for putative ADA sub-class members that they may effectively

participate in the programs, services, and activities that ADOC offers to inmates without such

impairments. 106

          I first considered methods to screen and identify putative ADA sub-class members for

potential impairments. I found no evidence that ADA accommodations at reception and

classification, such as qualified sign language interpreters and Video Remote Interpreting

(“VRI”), were either regularly available or used (or used properly) by ADOC in the materials

that I have reviewed.

          I found no evidence that ADOC systematically and in individual cases that I reviewed

provided accommodations for putative ADA sub-class members to effectively communicate and

understand orientation information programs and activities, which is a complex process that has

immediate and long-term implications for the provision of programs, services, and activities

during incarceration. For example, the Inmate Handbook and other materials presented during



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orientation have not been appropriately communicated, other than orally, for putative ADA sub-

class members. In my site inspections, it was reported to me by inmates that ADOC staff

regularly did not properly evaluate inmate communication needs nor the effectiveness of the

information communicated.

          Further, Defendants responded to plaintiffs First Request for the Production of

Documents as follows, in pertinent part:

          26. DOCUMENTS sufficient to identify ALL PRISONERS with a vision
          DISABLITY.

          RESPONSE: … the State cannot identify a single document or set of documents
          (excluding the medical records for each and every individual ever incarcerated
          within an ADOC facility) from which the requested information could be derived.
          Without waiving the foregoing objections, the State will produce ADOC’s
          policies in effect since January 1, 2012 concerning accommodation of prisoners’
          disabilities for each facility where any named Plaintiff is located and, subject to
          the entry of an appropriate protective order entered by the Court, the named
          Plaintiffs’ inmate files. (emphasis in original).

          In her testimony, ADOC Director of Training Wendy Williams stated that she had no

knowledge that ADOC intake staff receive system-wide training on how to identify various

disabilities. 107 Ms. Williams had no knowledge of whether ADOC intake forms inquired about

an inmate’s specific disabilities. 108

          Given that ADOC intake staff do not receive system-wide training on how to identify

various disabilities, it would not be possible at intake for staff to effectively evaluate putative

ADA sub-class members’ need for accommodations at that time. I find no evidence to suggest

that at the intake process ADOC had effective policies, procedures, and practices in place to

evaluate the need for accommodations by inmates with disabilities. 109

          ADOC AR 400 establishes policies, procedures, and practices for the classification of

inmates at Tutwiler Prison for Women and the Receiving and Classification Center (“RCC”), at

Kilby Prison, and for reclassification at all institutions. 110 AR 400 provides that inmates are to be



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classified by “security level, custody, and program needs” as established in the ADOC

Classification Manual. ADOC establishes a Classification Central Review Board (“CRB”)

comprised of Central Classification Division Classification Supervisors to approve, deny, or

amend inmate security level, custody, and placement recommendations as determined by

institutional classification specialists and supervisors. 111 AR 400 establishes the institutional Job

Board, comprised of the Warden or designee, Institutional Classification Committee (“ICC”)

members (e.g., to review security level, custody, and placement, including a Psychologist or

Psychologist Associate 112) and other staff to consider initial inmate job assignments, inmate job

changes, and other institutional inmate assignments. 113

          I find significant and numerous deficiencies in the implementation of ADOC’s intake

process as set forth in AR 400, which negatively affect the subsequent incarceration of putative

ADA sub-class members on the basis of their impairments. ADOC’s classification process

determines an inmate’s security level, his or her access to and type of housing and programs and

services offered, and his or her degree of safety, security, and program and service options and

related accommodations, which is important to vulnerable populations such as those in the

putative ADA sub-class. Contrary to ADOC’s intake and classification practices, the Vera

Institute finds that: “High-quality [inmate] screenings are key to making sound decisions about

housing, programming, and work assignments.” 114

          Consistent with my findings, research shows that inappropriate, untimely, and cursory

classifications, and the associated lack of accommodations for vulnerable individuals such as

those with disabilities, often exacerbates and creates secondary mental and physical disabilities,

which also is associated with mental health problems, anti-social behavior, decreases in health

and functioning, victimization, negative outcomes for inmate and institutional safety, and

increased risk of recidivism. 115



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          Based on my review of the documents presented to me, such as the inmate medical files

and prison jackets (see Exhibit 2), I have not discerned information and materials that reflect

ADOC’s system-wide and facility-specific policies in effect since January 1, 2012, concerning

the identification of inmates with disabilities. I have been presented with no information and

materials to demonstrate that ADOC has employed its inmate intake and monitoring programs,

using ADOC staff and third party health or disability experts, to systematically and meaningfully

review its programs, services, and activities to assess the efficacy of its methods of

administration and its accommodation and effective communication policies, procedures, and

activities affecting putative ADA sub-class members. 116

          In consideration of the deficiencies that I have identified in ADOC services and programs

for the putative ADA sub-class, there is an absence of systematic, reliable, and centralized means

to identify inmates with disabilities, from intake to incarceration in the prison system, whereby

inmates often are housed at multiple facilities and engaged in varying programs, services, and

activities over time. For example, in the absence of a tracking system in paper or electronic

format, and without training, prison staff are forced to rely on individual observations to

determine whether a prisoner with or claiming a disability had a disability covered by the ADA.

Moreover, in the absence of timely coordination and monitoring with medical and program staff

as to the presence of ADA disabilities, which often are episodic and change with circumstance,

time, and age, ADOC is not able to effectively provide services and accommodations for the

putative ADA sub-class.

          3. Accommodation Requests and Provision for Inmates with Disabilities 117

          I have found no information and materials to corroborate that ADOC, on a system-wide

and a facility-specific basis from intake to release, systematically identifies and monitors the

ongoing need for reasonable accommodations for the putative ADA sub-class. 118 This



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fundamental deficiency in ADOC methods of operation not only is inconsistent with research

and practice in the area, but also has been admonished when employed in other correctional

settings serving individuals with disabilities. 119

          My review of case materials (see Exhibit 2) and my site inspections demonstrate that

there are essentially three ways that ADOC claims that an inmate with a disability may request

an accommodation: (1) using an inmate request slip; (2) making a request to an ADOC staff

member; and/or (3) making a request to a medical staff member. Each of these methods as

presently implemented by ADOC present problems for the provision of accommodations. For

example, the ADOC inmate request slip does not indicate that it may be used as an ADA

accommodation request. In addition, the inmate request slips are not tracked by ADOC and

therefore there is a lack of consistency in the provision of accommodations, for example, when a

prisoner is transferred. Also, the request for accommodations verbally to staff results in a lack of

accountability, follow-up, and consistency in the accommodations requested and provided.

Requests for accommodation to medical staff are not adequate, given the lack of coordination in

regard to such requests between medical staff and ADOC, as reported to me during my site

inspections. In addition, evidence shows that an accommodation request by an inmate to medical

staff requires the inmate to make a “co-pay” for sick call, which is discriminatory surcharge for

an accommodation request.

          ADA accommodation identification and monitoring requires ongoing training for staff,

and especially newer staff, third parties, and agents of the state system (or members of an “ADA

Review Team”) who interact with inmates at all stages of the incarceration and release process.

The provision of accommodations require the development and maintenance of informational

and training materials, and other resources necessary for ADA compliance.

          The identification and monitoring of reasonable accommodations thus requires ADOC



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responsibility and accountability for policies and procedures in regard accommodation provision,

related grievance processes, as well as appropriate record-keeping, monitoring, and periodic

auditing of these practices and their outcomes. I have not found assigned or designated disability

rights contact specialists (social workers, case managers, or ADA Coordinators) who have the

responsibility to facilitate the identification, provision, and monitoring of accommodations for

putative ADA sub-class members. These individuals would be expected to engage with

individual inmates with disabilities to identify their impairments, needed accommodations,

auxiliary and assistive devices (and qualified interpreters), ensure appropriate and accessible

housing and programming, investigate complaints, serve as on-site resources, and implement

ADA-related actions and remedial efforts. 120 I have found no evidence to document the presence

of ADOC ADA staff and/or review teams, nor a position or individual(s) who has assumed and

conducted the type of activities referenced above and understood as best practice in the area.

          A system-wide ADA Coordinator and any facility-based ADA staff must effectively and

collaboratively engage with medical and mental health staff to develop and implement the

identification, provision, and monitoring of reasonable accommodations. In accord with an

ADA/504 Transition Plan, this team would evaluate whether an inmate has an ADA disability

(e.g., hearing, visual, mobility impairments) and implement reasonable accommodations (e.g.,

assistive technology and program modifications) when warranted.

          Information on the identification, provision, and monitoring of reasonable

accommodations should be systematically and centrally documented (preferably electronically),

given that prisoners and staff rotate through facilities and programs, and after release former

inmates may return to prison. This information must be capable of being accessed by staff at any

location, monitored, updated, and tracked. Inmates may be provided access to aspects of this

information in that they often are in the best position to report the need for reasonable



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accommodations and note the ones that are most effective. One strategy, for example, is to

provide putative ADA sub-class members an ADA card and/or accommodation validation form

(e.g., similar to, or as part of, the medication Keep on Person card, “KOP”) to help ensure that

the inmate may provide staff and correctional officers documentation as to the need for and

provision of accommodations (e.g., need for a bottom bunk because of a mobility impairment,

need to have instructions in writing because of a hearing impairment, which are more detailed

than the medical profiles presently issued by Corizon).

          ADA accommodation documentation and tracking systems would enable ADOC staff to

more appropriately identify, interact with, and monitor the needs of putative ADA sub-class

members. It further may help to reduce frustration on the part of inmates who otherwise would

have to persuade ADOC staff that they are individuals with ADA disabilities who are entitled to

the use of approved accommodations. ADOC lacks an ADA accommodation identification,

assessment and provision process for its staff to determine appropriate and nondiscriminatory

programs, services, and activities provided to the putative ADA sub-class, and as guided by a

written ADA/504 Transition Plan and other required policy and planning measures.

          In addition to deficiencies in the reasonable accommodation request process, there are

other deficiencies in the provision of accommodations. I have not been provided with

information that demonstrates that ADOC has centralized (system-wide) and all facility-specific

policies, procedures, and practices to ensure the monitoring of appropriate accommodations for

the putative ADA sub-class. 121 It follows that ADOC lacks documented accessible and timely

interactive processes for putative ADA sub-class members to request and, when appropriate, to

grieve accommodations for their disabilities. 122 The prison ADA Coordinator also would be

responsible for consulting with appropriate ADOC staff, facility staff, and medical professionals

regarding appropriate accommodations for putative ADA sub-class members. This process



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would be documented on an ADA accommodation form, available at the prison, and to ADOC,

and it would be conducted in accord with the ADA.

          The lack of an ADA accommodations process affects both male and female inmates

within ADOC. ADOC Director of Training, Wendy Williams, testified that she was not aware

that ADOC had any type of system-wide policy concerning accommodating female inmates with

disabilities. 123 I find that a timely and functional ADA accommodation request, monitoring, and

grievance system is particularly important to putative ADA sub-class members who may have

impairments that impact their immediate health and safety as well as their ability to participate

equally in ADOC’s services, programs and activities. I also find that ADOC’s general service

and health grievance process is not appropriate to make determinations about ADA physical and

mental disabilities, and accommodation requests, particularly in the absence of consultation with

medical and other professional staff (e.g., social workers, educational). 124

          As part of my review of case materials (see Exhibit 2) and site inspections of ADOC’s

facilities in relation to putative ADA sub-class male inmates, I reviewed Hamilton A&I Prison,

“Americans with Disabilities Act Inmate Grievance Procedure,” which is for “guidance of

initiating grievances and seeking remedies based on the Americans with Disabilities Act for Title

II Discrimination.” 125 The Hamilton A&I ADA procedural documents contained information

inmates with disabilities residing at Hamilton, their associated major life activities (e.g., caring

for one’s self, seeing, hearing, speaking, learning and working) and the nature of auxiliary aids

and effective communication accommodations available to them (e.g., qualified sign language

interpreters and readers). 126

          The Hamilton A&I policies reference an ADOC “Departmental ADA Coordinator”

(located in ADOC Central Office in Montgomery, Alabama), who is responsible for “reviewing

all grievances that are not answered at the institutional level within 30 calendar days or are not



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answered to the satisfaction of the grievant.” 127 In addition, an “Institutional ADA Coordinator”

is identified as responsible for the facility to “review all ADA grievances submitted on the

Institutional Grievance Form concerning ADA grievances.” 128

          In accord with the Hamilton A&I ADA policies, the Tutwiler Prison ADA Grievance

Policy and Procedure stated: “Wardens-will appoint an Institutional ADA Coordinator to

evaluate and respond to all grievances submitted by inmates” at the Tutwiler prison. 129 The ADA

Coordinator: “will ensure this procedure is followed on the issuing, return, retention, and

forwarding of all forms and records. A copy of this procedure and the necessary forms will be

posted and retained in the Inmate Law Library for accessibility.” 130

          The ADOC ADA Grievance Procedures that I have reviewed as implemented at

Hamilton A&I (and as at Tutwiler Prison) require that the ADA accommodation grievance be in

writing and include information about the alleged discrimination and the relief requested. 131

Upon written or verbal request, the Administrative Lieutenant is to provide the grievance forms

to “persons with disabilities.” 132 Within fifteen calendar days after receipt of the grievance, the

ADA grievance procedure requires that the Institutional ADA Coordinator is to acknowledge in

writing receipt of the grievance and, as possible, suggest a resolution. If further investigation is

required, the ADA Coordinator will have an additional fifteen days to meet with the inmate to

advise of the need for further time to resolve the issue: “In the case of a vision and or [sic]

hearing impairment grievant, a meeting may occur with the inmate to express the response.” 133

In cases in which the inmate believes that the ADA Coordinator’s response does not resolve the

issue, the grievant may request an ADA grievance appeal form from the Institutional ADA

Coordinator, or from the designated Captain or Administrative Lieutenant, to file with the

Departmental ADA Coordinator. 134

          The ADA Grievance Procedure further provides that the “safety, security, and health of



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the inmate and the security of the institution will always be an overriding concern.” 135 The ADA

Grievance Procedure provides that where the facility “cannot reasonably accommodate the

individual with the disability consideration may be given to facilities and programming available

at various facilities to accommodate an inmates [sic] particular disability(s).” 136

          I reviewed the actual ADA Grievance Appeal Logs at Hamilton A&I from 2010 to May

2014. 137 These logs provide some information regarding form identification numbers, inmate

names and AIS numbers, dates issued and returned, issues presented to ADOC personnel, and

the dates submitted and sent to the ADA coordinator. As part of this review, I examined the

substance of the inmate grievances for alleged disability discrimination and accommodation at

Hamilton A&I. In contrast to the ADA Grievance Appeal Log entries referenced immediately

above, I was presented with ADA grievance and appeal forms for two inmates Daniel Tooley

and Timothy Sears (each a named plaintiff in this matter) submitted during the calendar years

2009 to 2015. 138 Nowhere in my review of the ADA Grievance processes at Hamilton and

Tutwiler did I find that either facility sufficiently addressed their own procedures for inmates

requests under the ADA.

          Specifically, my review of Daniel Tooley’s ADA grievance experiences provides and an

example of the systemic problems associated with this process. Daniel Tooley, a named plaintiff

in this matter, filed an ADA-related grievance requesting a qualified sign language interpreter.

During my site inspection of Hamilton A&I, I interviewed inmate Tooley. In the absence of an

interpreter, and with difficulty in effective communication due to the absence of auxiliary aids,

Tooley spoke to me in a soft whisper and his speech was generally inaudible. 139 He displayed a

limited vocabulary and inability to handwrite notes. 140

          Tooley’s deposition testimony (which was conducted with the assistance of a certified

sign language interpreter), review of his prison jacket and medical records as well as my in-



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person observations, support my conclusion as to the reasonableness of his disability

accommodation request and subsequent grievance. For example, Tooley testified that he is

requesting an interpreter so that he “can understand. [And that he does] not understand the

written communications.” 141 His request for an interpreter is not made for all interactions in the

prison; “Just for special situations. [For example,] when I would see a doctor.” 142 When asked

why it is important to have an interpreter when communicating with a doctor, Tooley notes that

without an interpreter: “The doctor writes something. I don’t understand. There’s no interpreter.

It’s written. And they leave, and I don’t feel that it’s a complete answer. There’s no in-depth

explanation. And the captain will say, "Come on, it’s time, let’s go." 143

          Tooley testified that a second situation in which he needed an interpreter was during

disciplinary hearings:

          Q Can you tell me other times since you’ve been here at Hamilton that you say a
          sign language interpreter should have been present?

          A Anytime there’s a hearing, anytime there’s some kind of written
          communication, anytime somebody is writing something to me, a disciplinary
          hearing, they should bring an interpreter. I would need that for a disciplinary
          hearing for an interpreter. Just having it written without an interpreter, I don’t
          know what's going on. I can’t—they ask me do I understand what they’re saying.
          I don’t understand what they’re saying. You know, I ask them can they provide an
          interpreter, the thing that happens out in the free world, can they do that, and they
          say say no.

          Q All right. Well, tell me the times this has happened. Tell me what disciplinary
          hearings you have had that you say an interpreter should have been there.

          A Yes, I’ve had a disciplinary hearing without an interpreter.

          Q Has there been one or more than one?

          A Two times. Two times. 144

          Tooley also testified as to problems and limitations in effective communication using the

ADOC facility TTY telephone. 145 He testified: “Sometimes I don’t understand what my

girlfriend says over the TTD [sic]. It’s very difficult to get a clear explanation on what’s being


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said because nothing is being used in sign language. That’s what I’m saying; if it was able to be

seen over a video phone it would be clear communication, but I don’t understand what’s being

talked about over a TTD. It’s difficult to use a TTD.” 146

          Tooley suggested to ADOC that the use of a video phone would be a more effective

communication method than the limitations posed by the TTY system. 147 Tooley testified:

          A Yes. So, right now I use a TTY where I type. With a video phone, it looks just
          like what this interpreter and I are doing. Except for instead of in real life we’d
          each be on a computer screen. But I would see the interpreter and she would see
          me. And then I could talk to somebody else on the telephone who’s hearing, using
          an interpreter instead of typing on the TTY.

          Q … is it correct that you’re saying as far as you’re concerned that that would
          help in a lot of situations where you believe you need a sign language interpreter?

          A The video phone would solve the problem of the difficulty of using a TTY. It
          would definitely solve the problem of typing on the TTY. It’s easier
          communication signing to make a phone call rather than typing to make a phone
          call. Because when I type on the TTY, sometimes it gets garbled. But if I’m
          making a phone call and I'm using an interpreter, I understand clearly because it’s
          a phone call through sign language. 148

          Tooley testified, however, that the video phone would not be effective in a disciplinary

hearing:

           A … You couldn’t use the video phone for that. You’d have to bring in a free-
          world interpreter for the disciplinary hearing. The video phone is to make a phone
          call. For the disciplinary hearing, you’d have to bring in a real person. You’d have
          to bring in an interpreter. The video phone is like if I were calling home, like to
          call, you know, my sister or to call a lawyer, it’s–a telephone communication
          through sign language. But if the disciplinary hearing, you know, that’s here at the
          prison you, you know, when they have a disciplinary meeting, that’s here. So you
          would, you would have to bring an interpreter here into the real—from the free
          world. You’d have to bring them here. It would be a real person. But if I needed
          to call him on the telephone, then I would do that with the video phone. It’s like
          right now when I make a phone call, I use a TTY. And that–I type and it goes into
          an interpreter who reads the transcript of what I’m typing to the hearing person
          that's listening. And the hearing person that listens to her, then says what they
          want to say, and then she types it and then I read what she types. … So, that
          would all happen with an interpreter on a video phone.

          …



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          Q And couldn't the same procedure be used at a disciplinary hearing?

          A No. Like, the interpreters for the disciplinary meeting, no, you couldn’t do that.
          You need a real live free-world interpreter.

          Q … Why do you say that?

          A Well. the video interpreter, they couldn’t see the paper for the disciplinary
          meeting. There’s no way they could see the interpreter. And then I don’t know
          how would they hear the voice because, the interpreter’s voice doesn’t come
          through on the video phone.

          During his time at Bullock Prison, Tooley testified:

          A There was problems with communication at Bullock. They didn’t have a TTY. They
          took forever to get it there. It just took forever to get it. They finally did get it. None of
          the officers signed and they refused to write anything to me at all. And so, I tried to write
          notes to them about needing a TTY. So, it was similar in nature to this with
          communication problems. It just took a lot longer. And so, it was that kind of
          communication problems at Bullock. But when I got here to Hamilton, they had a TTY.

          Q Anything else that happened at Bullock?

          A … There were no interpreters at Bullock. 149

          In Daniel Tooley case records, I have found corroborating documents such as an inmate

request slip identifying problems with TTY phone access. 150 I did not find evidence in Tooley’s

ADOC case records for his classification summary that accommodations were considered,

reviewed, and discussed in regard to his effective communication in the use of the phone and in

other prison interactions (e.g., in doctor’s appointments and in disciplinary proceedings). 151 In

Tooley’s case records, there appear to be inconsistent references in his classification documents

as to the nature of his hearing and speech impairments. 152 Similar inconsistencies and a lack of

accommodations are found in his facility-specific case records. 153

          At ADOC facilities where no formal ADA accommodations process exist, inmates with

disabilities often have to “self-accommodate” or pay for accommodations that would otherwise

be required to be provided by ADOC. For example, Roger Moseley is a named plaintiff in this

matter living at Easterling in a faith-based honor dorm. Moseley testified that his primary ADA


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complaint involves that he has not received physical therapy from ADOC at any time during his

incarceration. 154 Moseley testified: 155

          Q. After you arrived at Bullock, did you request physical therapy?

          A. Yes, sir.

          Q. Who did you request physical therapy from?

          A. Dr. Siddiq.

          …

          Q. Tell me about your conversation with Dr. Siddiq.

          A. I asked Dr. Siddiq about physical therapy, and he kind of smirked and said that
          DOC did not provide physical therapy. That I will not receive physical therapy. 156

          This testimony illustrates ADOC’s failures in the identification and classification of the

putative ADA sub-class members’ ADA impairments for purposes of providing accommodations

to ensure program participation. As a result of such failures by ADOC, Moseley’s only option

was to “self-accommodate” his mobility impairment for program access to ADOC services.

Moseley testified that, in the absence of ADOC physical therapy, his attempt at rehabilitation to

walk again without the use of a wheelchair involved: “A. I took my foot pegs off of my chair and

started using my feet to pedal myself around until I could actually stand up.” 157

          In the absence of accommodations and assistive devices, and related programs and

services, Moseley was left to his own initiative for self-accommodating physical therapy.

Moseley resided in a prison environment that lacked physically accessibility, and when there

were elements of accessible showers and toilets, for instance, those facilities often were used by

non-disabled inmates resulting in further lack of appropriate and timely access. 158 When

Moseley was forced to use his wheelchair due to the lack of appropriate physical therapy, he also

was at the mercy of the availability of inmates who would push his wheelchair for pay, with the

risk of violating prison policy. Moseley further testified:


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          Q. Okay. And what are the reasonable accommodations that you say you were
          denied for your disability?

          A. At the time I was in the wheelchair, I didn’t have adequate access to handicap
          toilets, showers, et cetera, and stuff like that. Doorways were not big enough for
          the wheelchair to go through. Sitting areas and chow halls are not equipped to
          handle wheelchairs, so, at the time I would—my mobility was not as good as it is
          now.

          Q. When you were actually in the wheelchair, how would you get from place to
          place on camps?

          A. Someone would either push me or I might wheel myself through there, down
          the halls and stuff.

          Q. Did you ever have to pay someone to wheel you around?

          A. Yes, sir.

          Q. Okay. And that would have been out of your pocket, correct?

          A. Yes, sir.

          Q. Is there also a rule, to the best of your knowledge, in the ADOC against
          having people help you with movement in your wheelchair?

          A. Yes.

          Q. Now, it’s obvious sitting here today, Roger, you're not in a wheelchair today?

          A. No, sir. 159

          Moseley had no choice but to self-accommodate his mobility impairment due to the

failures of ADOC programs and services, and for which he was subject to ADOC disciplinary

rules (e.g., inmates not allowed to be paid to assist another inmate). This was an untenable

situation made worse by system-wide failures in ADOC’s ADA accommodation policies and

practices. 160

          4. ADOC Staff Are Not Adequately Trained On ADOC’s Obligations under

              the ADA and Section 504

          As a general principle, there is a lack of adequate training of ADOC staff at all levels on



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the ADA and Section 504. ADOC makes some relevant efforts to provide ADA training at the

ADOC Academy and in continuing education and annual in-service training, which is focused

primarily on mental health issues. 161

          I have reviewed the testimony of ADOC Associate Commissioner Grantt Culliver, who is

responsible for departmental oversight of men’s facilities. 162 I have reviewed the testimony of

Wendy Williams, ADOC Director for Training, 163 various ADOC Wardens, facility-specific

designated ADA Coordinators, and ADOC staff whose responsibilities include disability-related

programs and services. 164 Based on my review of the testimony of these individuals in leadership

positions, there is a general lack of knowledge of ADOC’s obligations under the ADA. For

example, there is a lack of knowledge as to who ADOC has appointed at the departmental level

as ADA Coordinators. 165 ADOC has not provided facility staff with adequate training on general

ADA principles and best practices. 166

          I have found the following systemic deficiencies with respect to ADOC’s ADA training:

           No training for staff on how to assist inmates with disabilities at ADOC

             Training Academy. 167

           No mandatory training for staff on interacting with inmates with

             disabilities. 168

           No ADA training for ADOC classification specialists at departmental and

             facility levels. 169

           No knowledge of training and procedures for staff in assisting inmates with

             disabilities in the event of a prison facility emergency. 170

           No staff training on leading, and effectively communicating with, an inmate

             with a visual impairment at ADOC Training Academy and in-service

             training. 171



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           No mandatory staff training on accommodating inmates with disabilities. 172

           No designated ADOC staff to receive and address disability accommodation

             requests from inmates, other than third party healthcare providers. 173

           No knowledge by staff or provided to inmates if there is a written policy,

             consistent procedure, and information in the Prisoner Handbook that addresses

             how an inmate with a disability may request a disability accommodation. 174

           No knowledge by staff whether contract mental health staff have input into

             ADA accommodation request process. 175

           No knowledge by staff of an ADA accommodation grievance process, other

             than via healthcare grievance process. 176

           No basic training for staff on qualified sign language interpreting at the

             ADOC Training Academy and in-service training. 177

           No knowledge by staff of whether ADOC provides a qualified sign language

             interpreter for an inmate who is deaf and subject to a disciplinary hearing. 178

           No continuing education for staff on interacting with inmates with physical

             disabilities. 179

           No continuing education for staff on the use of “people first” language

             (recognizing individuals with disabilities as people and not by their medical

             condition). 180

           No training at the ADOC academy on how to respond when a prisoner cannot

             read or write and the inmate needs services that require a written form to be

             completed.

           No training at the ADOC Academy on how to assist inmates in filling out

             medical call slips. 181



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          In the absence of standardized and system-wide ADA training, ADOC staff are to make

on-the-spot and ad hoc decisions about daily life, safety, and health issues facing putative ADA

sub-class members. These individuals already are at risk in the prison environment and are

placed in further jeopardy by ADOC’s lack of identification, provision, and monitoring of ADA

accommodations. Moreover, with the lack of adequate information and training as to the

identification of an inmate’s disability and appropriate accommodations, it is predictable that

staff would be inclined to not allow accommodations for putative ADA sub-class members. Not

only do the deficiencies in the ADA accommodation and training process negatively affect

ADOC’s system-wide provision of programs and services for putative ADA sub-class members,

but also these failures make it extremely difficult, or impossible, to make determinations with

regard to accommodation provision at the facility level.

          5. ADOC Fails to Adequately Provide the Means for Inmates with

             Disabilities to Communication Effectively

          Research and practice show that hearing individuals often misunderstand the

communications barriers facing individuals with sensory (e.g., hearing and visual) and cognitive

(e.g., intellectual and psych-social) impairments. Hearing individuals, for instance, tend to

overestimate the ability of deaf individuals to interact in the English language. 182 In the

correctional environment, researchers find that prison staff “often believe that deaf offenders can

rely on speech, speech-reading, reading and writing for communication and for obtaining

information. However, they report that most deaf inmates cannot use these English avenues.” 183

Thus, many deaf individuals do not effectively employ note writing and lipreading to

communicate.

          In addition, prison staff “often think that the only problem with deaf inmates is that they

cannot hear,” and they typically ignore the “constellation of unique differences related to



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cognition, background knowledge and experiences, cultural differences, and communication and

language challenges.” 184 Correctional staff frequently believe incorrectly that deaf inmates, and

inmates with cognitive impairments, can appropriately read and understand documents presented

to them, for example, to review and acknowledge by signature. 185 In the absence of the trainings

that I have identified above, prison staff often misunderstand that if they “raise the volume of

their voices, a deaf person will hear them,” and “that all deaf inmates can read lips (speech-read)

and read documents given to them during the booking and intake process, including the inmate

handbook.” 186

          Therefore, particularly with the absence of ADA and accommodations-related trainings,

ADOC staff likely overestimate the English language and reading abilities of putative ADA sub-

class members who are deaf, and they ignore or are not aware of the possibilities for effective

communication with these inmates. ADOC correctional and other staff also likely overestimate

the ability of putative ADA sub-class members with hearing and comorbid impairments (e.g.,

cognitive and mental health disabilities) 187 to read and understand documents presented to them,

and that lip or speech-reading, and exchanging written notes, may alleviate the communication

problems, which also may lead to frustration and tension resulting in unwarranted disciplinary

actions (e.g., failure to follow verbal instructions and announcements, and alerting bells to

emergency circumstances). 188 Examples of such problems are presented in the testimony

described earlier and have been reported to me by inmates with disabilities during my prison site

inspections in this matter.

          Although I found that it does not follow its own regulations, ADOC has Administrative

Regulations for hearing impaired inmates (“AR 705”) “to provide and implement services within

the ADOC for auxiliary aids, hearing assistance and devices for deaf or hearing impaired inmates

when clinically indicated.” 189 AR 705 provides that: “It is the policy of the ADOC to furnish



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appropriate auxiliary aids and services consistent with the Americans with Disabilities Act

(ADA) where necessary to afford deaf or hearing impaired inmates an equal opportunity to

participate in the benefits of services, programs, or activities.” 190

          AR 705 provides ADOC services, programs and activities, by contract or other means,

are to be “in compliance with the ADA as related to the deaf or hearing impaired,” including at

each institution provision of “effective means to ensure that qualified interpreters are available;”

for instance, during intake, provision of health care services, educational classes, and disciplinary

proceedings. 191 Inmates with hearing impairments are to be assigned to facilities “that can

reasonably accommodate access to educational or other programs based on the inmate’s

classification/security level,” subject to valid security and programmatic considerations. 192

          In providing effective communications ADOC is to give “primary consideration” to the

communication preferences of the inmate at issue, 193 and honor that preference unless it is shown

that another adequate means of communication exists or that the means chosen would constitute

an “undue burden.” 194 Thus, ADOC’s regulations mandate that an “interactive process” occur

with respect to the provision of auxiliary aids and services to ensure effective communication. I

found no evidence to support that these regulations were implemented system-wide.

          The U.S. DOJ Guidance on ADA title II regulations further notes that:

          Although in some circumstances a notepad and written materials may be
          sufficient to permit effective communication, in other circumstances they may not
          be sufficient. For example, a qualified interpreter may be necessary when the
          information being communicated is complex, or is exchanged for a lengthy period
          of time. Generally, factors to be considered in determining whether an interpreter
          is required include the context in which the communication is taking place, the
          number of people involved, and the importance of the communication. 195

          Despite the existence of AR 705, in my review I found that rarely, if at all, qualified sign

language interpreters actually were provided for inmates with hearing impairments, or who are

deaf, in important interactions such as those described in AR 705. For example, Bradley Pearson



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is a putative ADA sub-class member who has been incarcerated by ADOC. Pearson has been

deaf his entire life. 196 Pearson communicates in American Sign Language, not English, and he

cannot read English well. 197 He testified, through an interpreter, that “Deaf users have a problem

with words. And expressive sign language is much clearer than the written word.” 198 He can

perform limited lip reading, but this depends on the speaker and his or her enunciation. 199

          Pearson testified about ways in which his deafness precluded him from equal access to

ADOC programs and services: 200 “I couldn’t get my GED or go to vocational training. I had

goals. I wanted to go to the body shop to get training. I wanted to get certificates. I wanted to be

able to get a hands-on job. And they told me, “Well, you’ve got to get your GED before you can

take these voc training classes.” So, I went to the GED classes, but there was no way for me to

communicate.” 201

   On the basis of his deafness and limited English speaking and writing skills, 202 and due to a

lack of a qualified sign language interpreter, Pearson was excluded from numerous ADOC

programs and services, such as in English language and GED classes offered by ADOC to

inmates, as well as some meals. 203 For example, in attempting to take the ADOC Substance

Abuse Program (“SAP”), Pearson testified:

          A Yes. Yeah, I graduated [in prison].

          …

          A Yeah, it helped me. Yeah.

          Q And were you able to take that program even if you--even being deaf?

          A Well, I mean, there was no communication. It was -- there was some writing
          and a friend helped me with some of the signs. I taught my friends some sign
          language when I went in there. They were here and they didn’t know any sign
          language whatsoever, but they were a little motivated. And then they said, after I
          taught them some sign language, they said they were willing to help me do what I
          could do to learn and GED or anywhere, and so I tried to get them to go with me,
          but, I mean, they got transferred and I lost everything. 204



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           At Limestone Prison, Pearson was precluded from going to work release because his

deafness resulted in a higher health code. Pearson testified that “I had tried to ask [ADOC staff]

why I couldn’t go to work release, and she said because of your health code. 205 He stated: “I

could have liked Limestone if I had been given an interpreter, if I could have had the opportunity

to do other things and learn the way other hearing people did. But I didn’t have that opportunity.

It was really hard. There was no opportunity there.” 206

           In regard to prison emergency evacuation, Pearson was put at risk. For example, he

testified: “When they would have training, like fire training, sometimes I would be taking a nap

and they would pound on my bed and say, “Get out.” I would be like, what, what, what? And

that happens. And they’d say, “Get out.” But I didn't know because I couldn’t hear. And the

flashing light wasn’t—they didn’t have that system of flashing lights. … But I never knew it was

training. I didn’t know anything. I didn't know it was training. … [The other inmates] knew, they

were gone. It would be empty. I would be the only one in there and I’d be confused on my bunk.

… [The other inmates had heard it] Over the speaker. Over the loud speaker. They would hear

it.” 207

           Pearson lacked effective and appropriate qualified sign language interpreters to

participate in critical ADOC prison programs and activities:

           I think the interpreter is most important. … because I don't understand [written
           materials]. There are a lot of words, you know, when I see those words, I don't
           know what those words mean. And it’s like, you know, hearing people, I think
           you have a certain level of reading ability. And I think a lot of hearing people are
           at a 12th grade level, and some are at a 7th grade level. But I think for deaf people,
           we’re, you know, at a much lower level, and we don’t learn as fast as hearing
           people. And I think hearing people in general learn more than deaf people. And
           I’m very aware of that, that I am not the same as a hearing person. 208

           He continued:

           I’m asking that I be equal with other hearing prisoners. What hearing can do, deaf
           can do. And they’ve told us no, you can’t. But, yes, all the hearing people can.
           And I want equality. That’s what I want. 209


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This also means not relying on the kindness of other inmates who may happen to know minimal

sign language or finger spelling. 210

          Another putative ADA sub-class member, Donald Turner, cannot hear and speak since

birth and requires the use of two properly working hearing aids to hear. 211 Turner is not

requesting an interpreter for all programs and activities at prison. 212 However, there were no

qualified sign language interpreters available to him. 213 For example, there were no interpreters

at Limestone for any types of classes. 214

          ADOC must ensure that there is effective communication by and to putative ADA sub-

class members with disabilities that affect communication. For this outcome to be realized, the

putative ADA sub-class member must have appropriate proficiency in reading and writing

English. However, as mentioned, many deaf people do not use English as their primary language,

and there is not necessarily an exact correspondence between American Sign Language (“ASL”)

signs and words in the English language.

          Thus, simply because a hearing inmate voluntarily aids a putative ADA sub-class

member who is deaf or who has a hearing impairment does not mean the helping inmate is a

qualified sign language interpreter for purposes of the ADA. Alabama, like other states

subscribes to state and national certification requirements for qualified sign language

interpreters. The requirements are set forth in the Registry of Interpreters for the Deaf

(“RID”), 215 which is the national professional organization for qualified sign language

interpreters in the United States. RID has chapters in almost every state, including Alabama. 216

Independent certification is necessary to ensure the qualifications of those individuals serving as

sign language interpreters for putative ADA sub-class members who are deaf and who use sign

language. A qualified sign language interpreter is required to provide effective communication




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for those putative ADA sub-class members who use sign language to communicate in a range of

circumstances.

          ADOC has not, and does not, regularly provide a qualified sign language interpreter in

critical situations (e.g., during intake, health care appointments, educational and trade school

programs, and disciplinary hearings) when necessary to ensure effective communication. ADOC

consistently has violated its own policies by either not providing qualified interpreters or

providing non-qualified interpreters who are other inmates or untrained ADOC staff. Similarly,

ADOC consistently fails to provide inmates with appropriate auxiliary aids and services

necessary for effective communication, such as hearing aids, visual or vibration signaling

devices in daily life and in emergencies, and closed or open captioning. 217

          ADOC also consistently fails to provide inmates who are deaf and with hearing

impairments reasonable access to telecommunication devices (e.g., TTY phones). Auxiliary aids

such as headphones also are beneficial to putative ADA sub-class members with hearing

impairments to hear the television (even when closed captioning is available in common areas

due to an inmate’s lack of reading comprehension) as are telephone amplifiers to aid in use of the

telephone. 218

          Inmate Pearson complained about a lack of equal access to the telephone:

          I would want to use the phone at a time that I could talk to them [my family], and
          I would be told no. So I’d say. Okay. But then I noticed if hearing prisoners
          wanted to use the phone at a different time, they say, all right, it’s fine. And I
          would say but I want to talk to my family, too. And they said that the phone time
          was from nine to ten for you, and one time a day. There was just one hour, one
          time a day, every day, for me. 219

The phone for deaf inmates was located in the shift office. 220 However, Pearson testified that

prior to the filing of this lawsuit, at Limestone:

          when I came to prison, I didn’t know that they had the TTY until two months
          later, and I was in prison and another prisoner told me that we had a TTD [sic]. I
          was shocked, I was shocked because nobody told me when I first arrived that


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          there was a phone that I could use. So, later on, I noticed that they got more and
          more strict with my time that I could use the TTY and the time that I could get
          into the shift office. And they wouldn’t let me go, like, if there was a certain
          officer there, I would have to ask, and they would say, yes or no. And it was a
          specific lieutenant. And very often he wouldn’t let me use it. And I would say,
          “But it’s there for me to use, why can’t I use it?” And they would often say, once
          I got on the phone and made a connection, they'd say, “Now your time’s up. You
          have to hang up.” 221

          Effective communication is also important for inmates who are blind or who have vision

impairments. ADOC often communicates in written form, for example, using the Inmate

Handbook. However, ADOC generally fails to provide such materials in alternate formats, such

as in large print or Braille. This practice prevents inmates with vision impairments and who are

blind from obtaining needed information.

          Tommie Moore, another named plaintiff in this matter, regularly reported a lack of ADA

accommodations. Moore stated that he was not totally blind upon entering the ADOC this time

(he had been in ADOC custody at least three previous periods), but he is capable of only seeing

vague shadows. 222 While he was at Kilby and Hamilton, Moore requested assistance to learn

Braille but he was told by ADOC that it does not provide that service. 223 Moore requested and

was denied accommodation for his blindness such as large print documents (for when his failing

eyesight), Braille documents, access to a helper or trusted other to read him documents such as

medical information and during disciplinary proceedings, audio books, or other assistive devices

for reading, and assistance from ADOC staff to complete documents such as sick call slips. 224

          6. ADOC Fails to ensure that its programs and services offered to inmates,

             when viewed in their entirety, are accessible to inmates with disabilities in

             accord with the ADA

          ADOC’s system-wide programmatic barriers facing putative ADA sub-class members

results in inappropriate and unequal programs and services that unfairly deny and limit access to

and equal participation. The failures that I find in ADOC services and programs are pervasive,


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and will continue, due to a lack of systemic accountability for policy and procedure

implementation, and the means for determining and remedying these deficiencies.

          There are systemic deficiencies in an array of program and service areas that are

illustrative of ADOC’s failures that act to deny equal participation by putative ADA sub-class

members on the basis of their disabilities. 225 In addition to those deficiencies described earlier,

these include failures in the areas of:

           Housing: lack of systematic means for tracking adequate housing assignments of

             inmates with disabilities, and an inadequate number, if any, of specialized cells such

             as segregation and suicide cells; 226

           Education (GED) and Trade Programs: exclusion from these programs on the basis

             of disability due to inaccessible materials and lack of effective communication; 227

           Work Release Programs: exclusion from work release programs on the basis of

             disability; 228

           Emergency Preparedness and Evacuation: risk of harm from the inability to evacuate

             safety by individuals with mobility and sensory impairments. 229

          Based on an review and analysis of the materials that I have reviewed, as further

informed by my site observations, I conclude that the sum total of ADOC’s policies, procedures,

and practices as affecting and applied to putative ADA sub-class members, and ADOC

correctional and other staff procedures and practices dealing with these inmates, expose

members of the putative ADA sub-class to a substantial risk of harm, indignities, humiliation as

well as inappropriate programs and services, on the basis of their disabilities.

          I assessed the degree to which such ongoing failures and deficiencies by ADOC may be

isolated instances or whether they are reflective of system-wide failures that negatively impact

the putative ADA sub-class on the basis of their disabilities. I concluded that the failures and



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deficiencies that I found are not isolated instances, but rather are evidenced system-wide and at

various ADOC prison facilities. In effect, the sum total of ADOC’s policies, procedures, and

practices as applying to putative ADA sub-class inmates with disabilities expose members of this

putative sub-class to a substantial risk of harm and inappropriate programs and services, on the

basis of their disabilities. Taken together, the system-wide failures that I found in ADOC’s

policies, procedures, and practices as applied to the putative ADA sub-class expose members of

the ADA sub-class to the denial of participation, program access, and reasonable

accommodations, resulting in a substantial risk of present and potential future harm to putative

ADA sub-class members.

          The failures that I found are systemic to ADOC’s existing policies, procedures, and

practices in the provision of programs and services, and accommodations, that separately and

taken together negatively impact the putative ADA sub-class on the basis of their disability

status. I have documented examples of how ADOC lacks significant and well-recognized

features in programs and services for inmates such as in the putative ADA sub-class. These

failures emanate from deficiencies in identifiable system-wide policies and practices, such as an

institutionalized failure to identify, assess, and provide for reasonable accommodations to

numbers of the putative ADA sub-class. They also likely exist for, and will affect, many inmates

as of yet to be identified with similar physical and mental disabilities as they age in prison (e.g.,

ADOC inmates tend to be older as compared to other inmates in national samples), 230 and with

varying types of ascertainable physical and mental disabilities as defined by the ADA and

Section 504.

          Putative ADA sub-class members share the common need for appropriate programs and

services, and reasonable accommodations, in consideration of their disabilities and of other

legitimate prison safety and operational needs. This overarching objective, in large part, may be



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addressed and provided for by ADOC comprehensively, with development and implementation

of uniform and system-wide policies, procedures, and practices to which all sub-class members

are subjected. In the absence of such generally applicable and system-wide operations, putative

ADA sub-class members are exposed to discrimination on the basis of their disabilities and to

substantial harm as a result of ADOC policies, procedures, and practices that govern the

conditions of confinement, programs and services, and accommodations. 231 These system-wide

policies and procedures may be appropriately adapted to address facility-specific operational,

safety, staffing, and other needs.

          In the next section of my Report, I respectfully offer illustrative proposals as to the kinds

of changes in ADOC’s policies, procedures, and practices that help alleviate the deficiencies that

I have found.



          C.     Illustrative Recommendations
          There is no single, immediate solution to remedy the systematic ADA noncompliance

that I have found within ADOC’s prisons. Prisoners with physical and mental disabilities in

ADOC custody are systematically excluded, warehoused, and segregated from participation in,

or denied the benefits of, programs, services, and activities on the basis of their disabilities.

          ADOC’s policies, procedures and practices for the provision of accommodations are

deficient, disjointed, ineffective, and frequently nonexistent in relation to programs, services, and

activities available to putative ADA sub-class members. The lack of system-wide policies,

procedures and planning for the putative ADA sub-class has led to, and will continue to lead to a

vicious cycle of life and death consequences for putative ADA sub-class members on the basis of

disability. The experiences of the putative ADA sub-class highlight the discrimination that ADA

title II was intended to prevent: the provision of programs, services, and activities by ADOC that



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result in unnecessary exclusion, segregation, and isolation on the basis of disability. 232 My

review and analyses demonstrate the harmful and stigmatizing effects of disability

discrimination; that is, treating the putative ADA sub-class negatively and harshly because of

their disabilities.

          In contrast, the provision of ADA-compliant programs, services, and activities likely will

serve to enhance ADOC’s operations for the putative ADA sub-class as well as for the general

prison population. I have documented in my research, and it has been documented by others, the

beneficial “ripple effects” associated with the provision of ADA accommodations. When well-

planned and implemented, the provision of ADA-compliant programs and services neither

should create nor perpetuate undue programmatic and safety burdens for ADOC. To the

contrary, my findings herein are consistent with other social science studies showing the benefits

of ADA-compliant programs and services, and from reasonable accommodations and provision

of effective communications. 233

          I have identified well-recognized principles and practices to begin to address ADOC’s

failures in services and programs for the putative ADA sub-class, whose members are among the

system’s most vulnerable prisoners. ADOC must undertake measures in regard to putative ADA

sub-class members, such as:

          1. ADA Self-evaluation plan: develop and adopt a system-wide and prison facility-

             specific ADA/Section 504 Self-Evaluation (ADA audit) and Transition Plan.

          2. ADA/Section 504 plan implementation and best practice: disseminate ADA/504 Plan

             to all staff and provide training regarding the same. 234

          3. Disability identification, assessment, and monitoring systems: coordinate a system-

             wide and facility-specific electronic information system 235 to identify and track

             inmates with disabilities, their accommodations, and ADA grievances. 236



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          4. ADA accommodation identification, provision, monitoring: document and evaluate

               accommodation requests and grievances, 237 with consideration of the inmate’s

               preferred accommodation. 238

          5. Accommodation implementation: implement an “Inmate Helper and/or Aid”

               certification training program to assist in the provision of accommodations for

               inmates with disabilities. 239

          6. ADA Training and Quality Assurance Systems: provide training at new employee

               orientation and for current staff, 240 and for third party providers, on the identification

               of ADA disabilities and provision of accommodations for inmates with disabilities; 241

          7. ADA Coordinators: designate ADA coordinators centrally and at each facility with

               appropriate backgrounds, certification, training, lines of authority, executive and

               operational oversight, and accountability for monitoring and sustaining ADA-related

               outcomes. 242

          8.   ADA Notice: disseminate to all inmates policies and procedures on the rights of

               inmates with disabilities in postings, brochures, and handbooks in accessible

               formats. 243

          9. ADA Accountability: structure ADOC administrative leadership to create the means

               for operational accountability within the prison system with respect to the rights of

               inmates with disabilities under the ADA. 244

          10. ADA Administrative Regulation: review all Administrative Regulations 245 pertaining

               to inmates with disabilities and revise or draft policies and regulations to comply with

               the ADA, and to implement the ADA/504 Plan. 246

          These measures are important, given the cumulative and escalating effects of individual

disability and chronic health conditions in the context of long-term incarceration, and to reduce



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the possibility of injury and violence while incarcerated. 247 People with disabilities are more

likely to be victims of nonfatal violent crimes than are people without disabilities, and they are

more likely to report rape or sexual assault compared with people without disabilities—women

are victimized more often than men, and people with cognitive disabilities have high rates of

violent victimization. Mental illnesses, such as depression and anxiety, are common concerns for

people with disabilities who are less likely to report receiving adequate social and emotional

supports. 248 In addition, research shows that the inability to attain and retain employment post-

release is associated with an increased risk of re-arrest. 249 Putative ADA sub-class members are

denied equal opportunities and appropriate accommodations to engage in ADOC prison work

release programs because of their disabilities and thus placed at greater risk for recidivism.

          In accord with my prior research and that of others, 250 my review shows that often ADOC

staff may misconstrue and misperceive the behaviors associated with an inmate’s disability (e.g.,

deaf or hard of hearing, blind, epilepsy, intellectual disability, psycho-social disabilities, and

irrational speech or aberrant behaviors), for instance, as violating ADOC disciplinary codes and

prison rules. 251 Punitive consequences and sanctions may be used improperly to address the

behaviors of putative ADA sub-class members with mental illness, for instance, which are the

result of their illness and are exacerbated due to inappropriate or unmodified mental health care

and medication treatment programs and services as well as from a lack of reasonable

accommodations. 252

          Social science research also shows people with disabilities generally are susceptible to

stereotyping and bias in regard to programs and services offered by public and private entities.

Misinformed reliance on biases 253 and stereotypes about people with disabilities, and the

behaviors associated with their disabilities (for example, as to the association between mental

illness and individual violent behavior), 254 often leads to the unnecessary and inappropriate



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actions toward these individuals that may serve to exclude or punish these individuals from

receiving programs and services offered by public entities. 255

          When Congress was examining passage of the ADA, its Committee reports expressly

showed concern for the importance of the “non-discrimination mandate” by public entities such

as ADOC that operate prisons. 256 The changes that are suggested herein, as well as others, are

needed if ADOC is to fulfill its responsibilities to inmates with disabilities. Measurements of

compliance with ADA-mandated approaches are needed in the provision of services, programs,

and activities offered by ADOC to inmates with disabilities. I have offered systemic approaches

to the identification, tracking and monitoring, and evaluation of ADOC ADA-related policies,

procedures and practices. Many of the suggestions and findings I have made have been

successfully implemented in resolving and maintaining sustained and substantial compliance in

similar settings in other states. 257



VI.        CONCLUSION
          It has been said that “[i]ncarceration inherently involves the relinquishment of many

privileges; however, prisoners still retain certain civil rights, including protections against

disability discrimination.” 258 There is no justification in well-recognized research and practice

for continued discrimination, segregation, and suffering by the putative ADA sub-class solely on

the basis of their disabilities while incarcerated in ADOC facilities. 259 In many instances

documented in this report and elsewhere, not only was ADOC aware of its deficiencies in regard

to ADA title II compliance, but also ADOC did not take any or appropriate actions to rectify

these known deficiencies affecting and injuring putative ADA sub-class members. 260

          Although I have been asked to opine on those issues identified herein as affecting the

putative ADA sub-class, in my view system-wide changes at the departmental and institutional



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levels are required for ADOC to address the deficiencies as to this sub-class, and as to those

similarly-situated inmates who may in the future become disabled. Nonetheless, with safety and

rehabilitation as primary objectives of ADOC, system-wide planning, implementation and

monitoring by ADOC may appropriately provide the putative ADA sub-class with equitable and

reasonable access to the programs, services, and activities that ADOC offers to those in the

general prison population.

          Deficiencies in ADOC’s services, programs, and activities towards inmates with

disabilities are not inevitable, and a culture of inaction and acceptance of ADA noncompliance is

not unavoidable. 261 To the contrary, with well-recognized and appropriate planning, procedures,

and accountability, ADOC’s mission for safety and rehabilitation may be accomplished. 262

                                               ***

          The opinions herein reflect my views to date and may be supplemented by additional

information through this matter’s discovery process. I respectfully reserve the right to amend,

add to, or supplement this report based on such new information. I further state the views

contained herein are true and correct to the best of my knowledge and belief.




Dated: March 7, 2016



                                                     Peter Blanck, Ph.D., J.D.




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VII.      APPENDIX OF EXHIBITS


Exhibit 1         Curriculum Vitae of Peter Blanck, Ph.D., J.D.

Exhibit 2         List of Materials Considered




1 I hold other appointments at Syracuse University in the Colleges of Law, Arts and Sciences, Education, and the
Falk College, and the Maxwell School of Citizenship and Public Affairs. I am an honorary professor at the National
University of Ireland, Galway, at the Centre for Disability Law and Policy.
2 BBI, takes its name from the late Burton Blatt, who promoted the civil rights of persons with disabilities. See

http://bbi.syr.edu.
3 For example, I have been retained by the City of Sioux Falls, South Dakota, to review that City’s ADA and Section

504 “Transition Report.” This project includes onsite inspections, reviews of services, programs, and activities as
relevant to persons with disabilities, review of the physical accessibility of facilities and transportation services,
review of website accessibility, and review of effective communications for persons with hearing and visual
impairments. See also Americans with Disabilities Act Title II Regulations, Nondiscrimination on the Basis of
Disability in State and Local Government Services, 28 CFR Part 35 (Sept. 15, 2010) & Appendix A to Part 35—
Guidance to Revisions to ADA Regulations on Nondiscrimination on the Basis of Disability in State and Local
Government Services.
4 See, e.g., Peter Blanck et al., Disability Civil Rights Law and Policy (West, 2003, 2005, 2009, 2014).
5 See, e.g., http://bbi.syr.edu. See also ACA, Working with Special Needs Offenders (Books I, II, III), infra at I-19 -

24.
6 The Job Accommodation Network (JAN) is a leading source of guidance on accommodations and a service of the

U.S. Department of Labor. See, e.g., http://askjan.org/links/about.htm.
7 See, e.g., Disability Case Study Research Consortium, Conducting and Benchmarking Inclusive Employment

Policies, Practices, and Culture (December 19, 2008) (available at:
http://www.dol.gov/odep/research/CorporateCultureFinalReport.pdf); Lisa Schur, Douglas Kruse, & Peter Blanck,
People with Disabilities: Sidelined or Mainstreamed? 75-79 (2013). See also EEOC Policy Guidance on Executive
Order 13164: Establishing Procedures to Facilitate the Provision of Reasonable Accommodation, EEOC Directives
Transmittal, No. 915.003 (Oct. 20, 2000); available at:
http://www.eeoc.gov/policy/docs/accommodation_procedures.html; Peter Blanck et al., Implementing Reasonable
Accommodations Using ADR Under The ADA: A Case of a White Collar Employee With Bipolar Mental Illness,
18 Mental & Physical Disability L. Rep. 458 (1994); Helen Schartz, Kevin Schartz, D.J. Hendricks, & Peter Blanck,
Workplace Accommodations: Empirical Study of Current Employees, 75 Miss. L.J. 917 (2006); Helen Schartz, D.J.
Hendricks, & Peter Blanck, Workplace Accommodations: Evidence-Based Outcomes, 27 Work: A Journal of
Prevention, Assessment and Rehabilitation 4, 345 (2006).
8 See, e.g., Peter Blanck, Americans with Disabilities and their Civil Rights, University of Pittsburgh Law Review,

66, 687-719, at 687-719, 706-707 (2005).
9 I have been involved in research and applied projects on emergency preparedness and response for people with

disabilities. I authored “Disaster Mitigation for Persons with Disabilities: Fostering a New Dialogue” when I was a
senior fellow of the Annenberg Foundation Washington Program.



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10 Compare generally ACA Standards, 4th Ed., infra at xxiii (fundamentals of performance-based standards); ACA
2014 Standards Supplement (2014).
11 See, e.g., Peter Blanck, “The Right to Live in the World”: Disability Yesterday, Today, and Tomorrow, 2008

Jacobus tenBroek Disability Law Symposium, Texas Journal on Civil Liberties and Civil Rights, 13, 367-401
(2008).
12 See, e.g., Peter Blanck, ADA at 25 and People with Cognitive Disabilities: From Voice to Action, Inclusion, 3(2),

46-54 (2015).
13 In my work as an expert on the ADA and related laws, I have inspected state juvenile and adult prison facilities

(e.g., in Wyoming, Oklahoma, and South Carolina). During these visits, I have conducted structured and semi-
structured interviews with state officials, correctional officials and guards, and juveniles and prisoners to assess state
programs and services for individuals with a range of physical, mental, cognitive, visual, hearing, and other
disabilities. Prior to my appointment by the U.S. District Court, I was retained by the Wyoming Attorney General’s
office to aid in resolution of compliance with the ADA and Rehabilitation Act in state programs and services. Before
my work in Wyoming, I conducted similar work for the Governor’s Office in the State of Oklahoma.
14 See, e.g., Peter Blanck, On integrating persons with mental retardation: The ADA and ADR, New Mexico Law

Review, 22(3), 259-76 (1992); Peter Blanck, Empirical study of the employment provisions of the Americans with
Disabilities Act: Methods, preliminary findings and implications, New Mexico Law Review, 22(3), 119-241 (1992);
Peter Blanck, Helen Schartz, & Kevin Schartz, Labor Force Participation and Income of Individuals with
Disabilities in Sheltered and Competitive Employment: Cross-Sectional and Longitudinal Analyses of Seven States
during the 1980s and 1990s, William & Mary Law Review, 44, 1029-1108 (2003). The Americans with Disabilities
Act of 1990 (ADA), and as amended the Americans with Disabilities Act Amendments Act of 2008 (ADAAA), and
Section 504 of the Rehabilitation Act of 1973 (Section 504 or the Rehabilitation Act) prohibit discrimination against
qualified individuals with disabilities in the provision of programs and services provided by public entities such as
that of ADOC. See, e.g., Americans with Disabilities Act of 1990, 42 U.S.C. § 12101 et seq.; Rehabilitation Act of
1973, 29 U.S.C. § 701.
15 See Alexander S. case referenced passim.
16 The Alexander S. Court found (e.g., supra at 785-86). See also Callous and Cruel: Use of Force against Inmates

with Mental Disabilities in U.S. Jails and Prisons, at 1 Mental Health Watch (May 2015) (prison “staff at times have
responded with violence when prisoners engage in behavior that is symptomatic of their mental health problems,
even if it is minor and non-threatening misconduct such as urinating on the floor, using profane language, or
banging on a cell door.”).
17 The Alexander S. Court, supra, at 788, found these laws (and the Individuals with Disabilities Education Act

(IDEA)), apply to the facilities, and programs and services, offered by the state. See also Peter Blanck, Americans
with Disabilities and their Civil Rights: Past, Present, Future, University of Pittsburgh Law Review, 66, 687-719, at
703-04 (2005).
18 See BBI Chairman Peter Blanck to Receive 2015 National Distinguished Disability Service Award; available at:

http://bbi.syr.edu.
19 My document and materials review, site inspections and interviews, and activities conducted in this matter are

subject to the Consent Protective Order, and its confidentiality provisions, which was filed by the parties on
November 24, 2014 (Doc. No. 68). The named ADA sub-class plaintiffs in this matter include: Alex Ball, Augustus
Smith, Bradley Pearson, Brandon Johnson, Brian Sellers, Charlie Henderson, Cherry Baker, Christopher Gilbert,
Christopher Jackson, Daletrick Hardy, Daniel Tooley, Donald Turner, Dwight Hagood, Edward Braggs, Gary
Broyles, Howard Carter, Hubert Tollar, Jamie Wallace, Jermaine Mitchell, John Maner, Jonathan Sanford, Joseph
Torres, Joshua Dunn, Kenneth Moncrief, Leviticus Pruitt, Matthew Mork, Quang Bui, Richard Businelle, Richard
Terrell, Rick Martin, Robert “Myniasha” Williams, Robert Dillard, Roger McCoy, Roger Moseley, Sylvester
Hartley, Tedrick Brooks, Timothy Sears, Tommie Moore, Turner Rogers, William Villar, Willie McClendon.
20 See Dunn et al., v. Sharp, et al., Second Amended Complaint: Class Action Complaint for Declaratory and

Injunctive Relief, at 110, para 369, para 433 & passim (filed Feb. 20, 2015) [hereinafter “Second Amended
Complaint” or “Complaint as amended”] (“a sub-class of prisoners (hereinafter “ADA Subclass”) who are now, or
will be in the future, persons with disabilities as that term is used in the ADA and § 504 and are in custody of
DEFENDANT ADOC.”). See also Blanck et al., Disability Civil Rights Law and Policy, supra at 69 (2014) (“an
individual with a [ADA] disability if he or she falls into one of the following categories: An individual with an



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actual disability; An individual with a record of a disability; or An individual who is regarded or treated as if he or
she has a disability (“regarded as”). 42 U.S.C. § 12102(1)(A)-(C).”).
21 See Henderson et al. v. Thomas et al., 913 F. Supp.2d 1267, 1287, n.14 (M.D. Ala., 2012) (ADA and Section 504

of Rehabilitation Act “clearly apply to Alabama’s state prisons.”). Id. at 1287-88 (“[ADA] Title II provides that “no
qualified individual with a disability shall, by reason of such disability, be excluded from participation in or be
denied the benefits of the services, programs, or activities of a public entity.” 42 U.S.C. § 12132. Section 504
provides that, “No otherwise qualified individual with a disability ... shall, solely by reason of her or his disability,
be excluded from the participation in, be denied the benefits of, or be subjected to discrimination under any program
or activity receiving Federal financial assistance.” 29 U.S.C. §794(a). Claims under both statutes are governed by
the same standards. … To state a claim under either statute, the plaintiffs must show: “(1) that [they are] qualified
individual[s] with a disability; (2) that [they were] either excluded from participation in or denied the benefits of a
public entity’s services, programs, or activities, or [were] otherwise discriminated against by the public entity; and
(3) that the exclusion, denial of benefit, or discrimination was by reason of the plaintiff[s'] disability.” … Because
the same standards govern claims under both statutes, in the interest of brevity, the court will refer to both as “the
ADA.” … Among the regulations promulgated under Title II of the ADA is the “integration regulation,” which
provides that, “A public entity shall administer services, programs, and activities in the most integrated setting
appropriate to the needs of qualified individuals with disabilities.” “[T]he most integrated setting appropriate” is
defined as “a setting that enables individuals with disabilities to interact with non-disabled persons to the fullest
extent possible.” Consonant with the integration mandate, the Supreme Court has concluded that, “Unjustified
isolation ... is properly regarded as discrimination based on disability.”)” (emphasis added, citations and endnotes
omitted). Id. at 1287, n.15 (“The ADA and the Rehabilitation Act define disability as (among other things) “a
physical or mental impairment that substantially limits one or more major life activities of such individual.” … The
ADA Amendments Act of 2008 clarifies that “major life activities” includes “the operation of a major bodily
function[s] … .”) (citations omitted).
22 I use the term “disability” to refer to an inmate who meets the definition of disability as set forth in the ADA, 42

U.S.C. § 12102. This Complaint was initiated after amendments to 42 U.S.C. § 12102 were in effect (ADA
Amendments Act of 2008, Pub.L. 110–325, §§ 4(a), 8, 122 Stat. 3555 (2008). The ADA Amendments Act in new
subsection (1)(C) provides: “(3) Regarded as having such an impairment. For purposes of paragraph (1)(C): (A) An
individual meets the requirement of “being regarded as having such an impairment” if the individual establishes that
he or she has been subjected to an action prohibited under this Act because of an actual or perceived physical or
mental impairment whether or not the impairment limits or is perceived to limit a major life activity.” (emphasis
added). The Congressional Committee Report states this language “restores Congress's original intent by making
clear that an individual meets the requirement of “being regarded as having such an impairment” if the individual
shows that an action (e.g. disqualification from a job, program, or service) was taken because of an actual or
perceived impairment, whether or not that impairment actually limits or is believed to limit a major life activity.
H.R.Rep. No. 110–730, pt. 1, at 14 (2008). Putative ADA sub-class members, therefore, only are required to raise a
genuine issue of material fact about whether defendants regarded them as having a mental or physical impairment,
and are not required to present evidence of how, or to what degree, defendants believed the impairment affected a
putative ADA sub-class member. Moreover, regulations promulgated by the U.S. DOJ include drug addiction
among conditions qualifying as a “physical or mental impairment,” 28 C.F.R. § 35.104(1)(ii) (2011). For discussion
of these points, see Hilton et al. v. Wright, 673 F.3d 120, at 128-30 (2d Cir. 2014). For purposes of my analyses and
report, I consider putative ADA sub-class members as defined by the ADA and Section 504 (see supra definition of
ADA disability). See also Settlement Agreement between the United States of America and Erie County, New York,
Regarding the Erie County Holding Center and the Erie County Correctional Facility Under the Americans with
Disabilities Act: DJ # 204-53-125 (Dec. 17, 2014); available at: http://www.justice.gov/sites/default/files/opa/press-
releases/attachments/2014/12/23/erie_county_settlement_agreement.pdf [hereinafter “Erie County Settlement”]
(United States compliance review of Erie County Holding Center and the Erie County Correctional Facility to
determine compliance with ADA Title II (42 U.S.C. §§ 12131-12134, and DOJ’s regulation at 28 C.F.R. Part 35).
The review was conducted under Section 504 of the Rehabilitation Act, 29 U.S.C. § 794, and DOJ’s implementing
regulation, 28 C.F.R. Part 42, Subpart G. DOJ concluded the facility contained architectural barriers to access for
persons with disabilities and its programs, services, and activities were not fully accessible to persons with
disabilities in violation of the ADA.



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23 Compare State of North Carolina Department of Public Safety Prisons, Policy and Procedure, Chapter: E, Section:
.2600, Reasonable Accommodation for Inmates with Disabilities, at 4 (Sept. 5, 2013) (“(p) Program–A structured
intervention designed to achieve specific goals, values, and objectives. Programs have a curriculum and are typically
targeted towards a particular criminogenic need. Programs are made available by Prisons to inmates for the purpose
of changing inmates’ behavior patterns, aiding in inmates’ rehabilitation, enhancing inmates’ quality of life, or
improving inmates’ physical and mental well being. (q) Activity–A planned offering for inmates that provides
productive interaction among themselves, staff, and the community. (r) Service–A method of providing inmates with
information and resources that are mandated by law or court order, or otherwise provided as a benefit or privilege to
the inmates. Services shall also include job and program related activities for inmates, such as inmate orientation,
intramural recreations, religious services and visitation or other legitimate Prisons approved services for inmate.”).
24 For a recent overview of the legal cases addressing ADOC’s deficiencies in the provision of programs, services,

and activities to inmates with and without disabilities, see Stefan J. Bachman, An Intersection of Law and Order:
Federal Courts, Overcrowded Conditions inside Alabama's Prison System, and the Scope of Possible Remedial
Relief After Brown v. Plata, Cumberland Law Review, 45, 91-211, at 138 (2014) (“Inhumane prisoner treatment has
been a black mark on Alabama's image for a long time. Indeed, it is difficult to find a time period in Alabama's penal
history when some level of mistreatment within the State's prison system was not prevalent. Overcrowding,
understaffing, and underfunding have been pervasive over the years, and these factors have continually fostered a
prison system forged from oppression rather than rehabilitation.”).
25 See, e.g., Henderson et al. v. Thomas et al., 913 F. Supp.2d 1267, 1276 (M.D. Ala., 2012).
26 ADOC is an instrumentality of the state of Alabama and receives federal funding. See, e.g., Henderson et al. v.

Thomas et al., 913 F. Supp.2d 1267, 1287 (M.D. Ala., 2012). I was asked to examine whether and, if so to what
extent, ADOC’s alleged system-wide and programmatic barriers facing plaintiffs, as individuals with disabilities
housed at the fifteen major correctional facilities, results in inappropriate and unequal programs and services that
unfairly deny and limit access to and equal participation in programs such as work camps and work release centers.
27 Compare Jennifer Bronson, Laura M. Maruschak, & Marcus Berzofsky, Disabilities Among Prison and

Jail Inmates, 2011–12, U.S. DOJ, Bureau of Justice Statistics, at 1 (Dec. 2015) (prevalence estimates and
characteristics of disabilities among prison inmates reporting six disability types: hearing, vision, cognitive,
ambulatory, self-care, and independent living; finding 32% of prisoners reported having at least one disability;
prisoners nearly 3 times more likely than general population to report at least one disability; 2 in 10 prisoners
reported cognitive disability, which was most common reported disability; female prisoners more likely than males
to report cognitive disability, but equally likely to report having other five disabilities; 54% of prisoners with a
disability reported a co-occurring chronic condition; compared to those without a disability, prisoners with a
disability were 4 times more likely to report past 30-day serious psychological distress; 33% of prisoners with a
cognitive disability reported past 30-day serious psychological distress, compared to 11% of prisoners with
disability other than cognitive). See also Laura M. Maruschak, Medical problems of inmates, Learning 21, 20.8: 21-
5 (2006) (U.S. DOJ, Bureau of Justice Statistics Special Report, 2002 survey of inmates randomly selected from
nationally representative sample of facilities finding: estimated 229,000 inmates reported having current medical
problem, reporting: arthritis (13%), hypertension (11%), asthma (10%), heart problems (6%); cancer, paralysis,
stroke, diabetes, kidney problems, liver problems, hepatitis, sexually transmitted diseases, tuberculosis (TB), human
immunodeficiency virus (HIV) (less than 5%); learning impairment such as dyslexia, attention (22%); mobility
impairment requiring cane, walker, wheelchair, aids for daily activities (2%); mental health condition (8%); hearing
(6%) and vision (11%) impairments); two or more impairments (15%); medical problems highest among female and
older inmates; inmates with impairments had higher rates of injuries, especially inmates with mental impairments).
28 For purposes herein, I refer to ADOC residents as “prisoners” or “inmates.”
29 Compare Pierce v. District of Columbia, 2015 WL 5330369, at *11 (Dist. Colum. 2015) (“Significantly for

present purposes, because Congress was concerned that “[d]iscrimination against the handicapped was ... most often
the product, not of invidious animus, but rather of thoughtlessness and indifference–of benign neglect[,]”…, the
express prohibitions against disability-based discrimination in Section 504 and Title II include an affirmative
obligation to make benefits, services, and programs accessible to disabled people. That is, an entity that provides
services to the public cannot stand idly by while people with disabilities attempt to utilize programs and services
designed for the able-bodied; instead, to satisfy Section 504 and Title II, such entities may very well need to act
affirmatively to modify, supplement, or tailor their programs and services to make them accessible to persons with
disabilities.”) (emphasis in original, citations omitted).


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30 See, e.g., Blanck et al. (2014), supra at 364-65 & passim.
31 See, e.g., Henderson et al. v. Thomas et al., 913 F.Supp.2d 1267, 1310 (2012) (“In addition to the integration
mandate, the ADA prohibits the unnecessary exclusion of disabled individuals. The implementing regulations to the
ADA state: “A public entity shall not impose or apply eligibility criteria that screen out or tend to screen out an
individual with a disability or any class of individuals with disabilities from fully and equally enjoying any service,
program, or activity, unless such criteria can be shown to be necessary for the provision of the service, program, or
activity being offered.” ... “[L]egitimate safety requirements” may be imposed, but only when they are
“necessary for safe operation” and “based on actual risks and not mere speculation, stereotypes, or generalizations
about individuals with disabilities.” ”) (citations omitted). Id. at 1318 (“how prisoners should be treated based on
their [ADA disability] status must depend upon an individual-by-individual assessment of these prisoners that
honors each prisoner's rights under the ADA, … . The essential thrust of this court’s opinion today is simply that the
ADOC must look at each [ADA disabled] prisoner separately and individually based upon that prisoner's particular
circumstances.”). See also Hecker et al., v. California Department of Corrections and Rehabilitation et al., Order for
Final Approval of Settlement Agreement, No. 2:05-CV-02441 KJM-DAD (D. Ct. E.D. CA, Sac. Div., Mar. 2,
2015), at 2 (class action approved “with an injunctive relief settlement class consisting of all present and future
CDCR inmates with psychiatric conditions that are disabilities as defined by the Americans with Disability Act
(ADA) and the Rehabilitation Act, and who are allegedly excluded and/or screened out from any prison program,
service, or activity on the basis of their psychiatric disability status.”). Id. at 4 (court to resolve disputes “regarding
allegations of disability discrimination against class members or the exclusion of class members from Defendants’
programs and services on the basis of disability” and “address whether the specific systemic policies, practices and
procedures identified … violate the ADA and Rehabilitation Act, and if so what prospective relief is appropriate.”).
Id. at Appendix A, at 7-9 (policies, practices, and procedures such as reasonable accommodations and modified
policies during heat alerts, for participation in prison programs for jobs and education, housing, and ADA grievance
process and requests for accommodations, to provide meaningful access to equivalent programs and services).
32 For instance, putative ADA sub-class members allege they lack appropriate diagnoses of medical conditions, that

some have died from a failure to treat medical conditions such as cancer, diabetes and hepatitis, that some have
required emergency surgery, lost use of legs, arms and eyes, from untreated symptoms, some with mental illnesses
and serious psychological problems denied mental health care, and have been provided little or no medication
management, and mental health care is deficient, and prisoners inappropriately forced to take medication. See
Complaint as amended, passim.
33 See, e.g., Larry Edward Spencer, A State of Emergency in Alabama: Prison Overcrowding, SAGE Open 2(3), 1-5,

at 1 (July-Sept. 2012) (compounding ADOC overcrowding “is the fact that prisons are suffering from a lack of
adequate funding and staffing.”). Id. at 2 (“not uncommon for a single correctional officer to supervise up to 250 to
300 medium to higher security inmates for an extended period of time (Fiscal Year, 2008).”). For related media
stories concerning Alabama’s overcrowded prison system and proposed reforms by the Alabama Prison Reform
Task Force, Chairman State Senator Cam Ward of Alabaster, Alabama, and possible actions during the 2015
Alabama State legislative session, see Alabama's Prison Reform Task Force Readies Bill For 2015 Legislative
Session, Radio Interview with State Senator Cam Ward (Feb. 24, 2015); available at:
https://www.wbhm.org/News/2015/camwardprisonbill (discussing the need to reduce overcapacity over a five-year
period and for new prison construction). See also ADOC Commissioner Kim Thomas Resigns, Fox News (Feb. 3,
2015); available at: http://www.myfoxal.com/story/27955393/adoc-commissioner-kim-thomas-resigns; Ala. DOC
shuffles leadership to make room for reform The state's prisons have long been troubled by overcrowding, currently
standing at about 186 percent capacity, CorrectionsOne.com (Feb. 21, 2015) (ADOC “announced this week they
will be shuffling key leadership positions in response to the continued criticism of overcrowding and reported
violence. The state’s prisons have long been troubled by overcrowding, currently standing at about 186 percent
capacity. … Ten prison wardens and deputy wardens will be relocated to oversee different correctional facilities
within the state effective March 1. The change follows the departure of former Alabama Department of Corrections
Commissioner Kim Thomas in January, allowing for reform to move forward and a new leader to take his place.
Gov. Robert Bentley announced that Col. Jefferson Dunn, …, would become DOC commissioner after retiring from
the Air Force in March. Acting ADOC Commissioner William Sharp said the realignment of DOC wardens is meant
to provide new insight into correcting prison procedures. … Sharp said. ‘Each correctional facility is unique in day-
to-day operations, so it's important for wardens to gain the internal insights throughout the department from safety
practices, security operations to inmate classification, treatment programs and support services.’”); available at:


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http://www.correctionsone.com/alabama/articles/8319598-Ala-DOC-shuffles-leadership-to-make-room-for-reform/.
See also Editorial, Justice Reform in the Deep South, NY Times (May 18, 2015) (“Alabama prisons are stuffed to
nearly double capacity, endangering the health and lives of the inmates, and the cost of mass imprisonment is
crippling the state budget at no discernible benefit to public safety.”).
34 I further reviewed related public material about Corizon and MHM. See, e.g., Michael Wineripjune, Rikers Island

Health Care Provider May Lose Deal With New York, NY Times (June 1, 2015); available at:
http://www.nytimes.com/2015/06/02/nyregion/contract-with-rikers-island-health-care-provider-is-to-be-
terminated.html?smprod=nytcore-iphone&smid=nytcore-iphone-share&_r=0 (“A private health care company that
has been criticized for doing such a poor job at the Rikers Island jail complex that its medical performance
contributed to several inmate deaths is expected to lose its contract with New York City, according to two high-
ranking city officials. Corizon, a for-profit company based in Brentwood, Tenn., with a three-year, $126 million
contract to run the jails, has been accused by state investigators of repeatedly neglecting and improperly treating
inmates, playing a role in at least a dozen deaths at Rikers. In one case that the State Commission of Correction
found to “shock the conscience,” an inmate was left dying untreated for six days while uniformed officers, doctors,
mental health clinicians and nurses made 57 visits to his cell without assisting him.”).
35 ADOC OHS, Manual of Policies and Procedures (Jan. 20, 2012; revised index pending, Sept. 2014), at

ADOC000774, et seq. Id. at ADOC000774, -84 (AR 700, Health Services—Nov. 8, 2010—IX. Performance
requirements, D. and E., adopting NCCHC and ACA standards). See also AR 024, Operations—May, 2, 2005—I.
General requirements for a standardized system for operation manuals, at ADOC000786; ADOC OHS Services
Goals (“Permit an on-going system-wide analysis of inmate health needs.”); at ADOC000790. See generally ADOC
AR; available at: http://www.doc.state.al.us/Regulations.aspx. See also
http://www.doc.state.al.us/ExecutiveBios.aspx (“Commissioner Naglich is responsible for the administration of
medical and mental health services to over 26,000 incarcerated individuals with the ADOC's 30 correctional
institutions. Commissioner Naglich has more than 21 years of healthcare administration and clinical experience,
with 17 years specific to the medical specialty of correctional healthcare. Commissioner Naglich's background
includes business development, education and training, public health, and correctional healthcare administration.”).
36 See also Dunn v. Dunn, Plaintiffs’ Objection to the Magistrate Judge’s Order Granting Plaintiffs’ Motion to

Compel Production of Documents Relating to Non-Plaintiffs (Opposed), Exhibit 3: Declaration of Peter Blanck,
Ph.D. J.D., at 9 (M.D. Ala., Apr. 21, 2015) (“Random sampling of the files of prisoners with various disabilities who
are not named plaintiffs will provide a further robust basis for analysis of ADOC’s treatment of prisoners with
disabilities.”). Compare Justice Reinvestment in Alabama, Justice Center Presentation (Sept. 30, 2014) (examining
ADOC records finding prison overcrowding, one in three inmates currently eligible for parole, parole release rate
declining). See also PARCA Quarterly, at 8 (Public Affairs Research Council of Alabama) (Fall 2014) (“Alabama
has the highest level of prison over-crowding in the U.S.”); Justice Reinvestment in Alabama, Justice Center:
Council of State Governments, 1 (March 12, 2015) (“Alabama’s correctional system is in crisis. … The state’s
incarceration rate is the nation’s fourth highest and, as of September 2014, Alabama’s prisons—the most crowded in
the country—were operating at 195 percent of capacity, with 26,029 people in a system designed to hold 13,318.”)
(citations omitted); available at: http://csgjusticecenter.org/jr/alabama/publications/justice-reinvestment-in-alabama-
analysis-and-policy-framework/.
37 See, e.g., Corizon Highest Acuity Reports, listed infra Exhibit 2. These reports are labeled as “Alabama Monthly

Special Needs and 30 Sickest [Month and Year] High Acuity Reports.” (reports reviewed dated from January 2010
to March 2015).
38 The twenty-five inmate case file review was generated randomly from Corizon’s High Acuity List to choose

inmates in accord with the stratifying methods identified in the body of this report; that is, making the selections first
from de-identified listings (i.e., without inmate names) and thereafter from identified listings, and from choosing
randomly among the remaining listings, and in consideration of sample sizes within the categories of interest, and
not including inmates who have been transferred and/or released from ADOC custody, and/or sent to ADOC Work
Release Programs.
39 The resulting 25 inmates selected were as follows: Johnson Woods (Bibb), Luran Harrell (Bibb), Dale Pfalsgraf

(Bullock), James George (Donaldson), David Campbell (Draper), Greg Maggard (Draper), Michael Thomas
(Easterling), Daniel Weed (Fountain), James Pate (Fountain), Farris Burrell (Hamilton), Randal Kimble (Hamilton),
James Gilbert (Hamilton), Jack Henson (Holman), Billy Johnson (Holman), Edward Favor (Holman), Robert Allen
(Kilby), Scott Reed (Kilby), Jason Riley (Limestone), Eugene Underwood (St. Clair), Jerry Youngblood (St. Clair),


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Charles Hunt (Staton), Dewaun Patt (Staton), Billie Lipscomb (Tutwiler), Connie Johnson (Tutwiler), Mark
Loveless (Ventress). See also Exhibit 7 (Review Notes of 25 Case Files of ADOC Inmates Randomly Chosen from
Corizon’s High Acuity Lists). This case file review is in process and will be discussed in any subsequent reports as
appropriate.
40 See, e.g., ADOC AR 8, Research and Planning, at 1 (Mar. 29, 2005) (“establishes responsibilities, policies, and

procedures for publication and distribution of the ADOC Monthly and Annual Statistical Report. … [and] to collect
statistical data.”).
41 See Standards for Health Services in Prisons, infra at 10 (National Commission on Correctional Health Care,

2014—NCCHC). See, e.g., id. at 3 (standards for access to health care, and avoidance of “unreasonable barriers” to
access to health services such as deterring and punishing inmates for seeking health care, and understaffed and
poorly organized health care systems). Similar provisions are presented in Standards for Mental Health Services in
Correctional Facilities, infra (National Commission on Correctional Health Care, 2008—NCCHC).
42 See Standards for Health Services in Prisons, infra at 10 (NCCHC, 2014).
43 See Standards for Health Services in Prisons, infra at 12 (NCCHC, 2014) (need for continuous quality

improvement through monitoring of programs and services).
44 See, e.g., Medical Services Agreement between ADOC and Corizon Health, Inc. (Sept. 12, 2013) (Article III

Standard, 3.1 Obligation of Corizon, Corizon’s services provided in accordance with ACA and NCCHC health
standards); Mental Health Services Agreement between ADOC and MHM Correctional Services, Inc. (Nov. 8,
2012) (Article III Standard, 3.1 Obligation of MHM, MHM’s services provided in accordance with ACA and
NCCHC health standards). Corizon is a provider of correctional healthcare in the United States. See, e.g., About
Corizon Health; available at: http://www.corizonhealth.com/About-Corizon/Accreditations-and-Industry-Partners
Information on MHM Services Inc.; available at: http://www.mhm-services.com/about/index.html.
45 See Standards for Health Services in Prisons, infra at xii-xiii (NCCHC, 2014).
46 Compare, e.g., Erie County Settlement, supra; California Department of Corrections & Rehabilitation, Inmates

with Disabilities Resource Page (e.g., forms for Notice and Request for Assistance at Parole Proceeding, Request for
Reasonable Accommodation–Grievance Process, Developmental Disability Program Screening Results, Disability
Placement Program Verification (DPPV), Authorization for Release of Information, Comprehensive
Accommodation Chrono (CDCR) Form, Reasonable Modification or Accommodation Request); available at:
http://www.cdcr.ca.gov/BOPH/Inmates_w_Disabilities_Resource.html; Florida Department of Corrections
Reasonable Modification or Accommodation Request; available at: https://www.flrules.org/.../readRefFile.asp;
Commonwealth of Pennsylvania, Department of Corrections Policy, Inmate Grievance System, DC-ADM 006,
Reasonable Accommodations for Inmates with Disabilities; available at:
http://www.cor.pa.gov/Administration/General%20Information/Documents/DOC%20Policies/804%20Inmate%20G
rievances.pdf; State of North Carolina Department of Public Safety & Prisons, Reasonable Accommodation for
Inmates with Disabilities; available at: http://www.doc.state.nc.us/dop/policy_procedure_manual/e2600.pdf.
47 See, e.g., U.S. Department of Justice, National Institute of Corrections, Jail Standards and Inspection Programs:

Resource and Implementation Guide, at 2-7 (April 207) (“Why Jail Standards are Important”); Id., at 39-44
(Appendix A: “Topics of Litigation”); Id., at 45-46 (“Summary of State Standards and Inspection Programs,” noting
Alabama ADOC has semiannual mandatory standards and inspection programs under enabling statute AL Title 14
[available at: http://alisondb.legislature.state.al.us/acas/codeofalabama/1975/coatoc.htm]). U.S. Department of
Justice, National Institute of Corrections, Jail Inspection Basics: Supervisors Guide (2d ed., March 207) (Chapter 2:
Standards; Chapter 3: The Inspection Process; Chapter 4: Facility Design; Chapter 5: Communication; Chapter 6:
Government Structures and Processes; Standards; Chapter 7: Resources (e.g., noting: NIC: National Institute of
Corrections, NCJRS: National Criminal Justice Reference Service; ACA: American Correctional Association; AJA:
American Jail Association; NSA: National Sheriffs’ Association). Core Jail Standards, American Correctional
Association; available at:
http://www.aca.org/ACA_PROD_IMIS/Docs/Standards%20and%20Accreditation/CoreJailStandards.pdf, at 1
(presentation: Certification: Excellence in Detention—“The entire process has further enhanced our overall
operations and is an endeavor I would highly recommend to any local detention center” - Scott Hassell, PhD, Chief
of Corrections, Etowah County, Alabama); Id. (Standards “Compliance: Indicates complete compliance with the
standard at all times and written documentation provides evidence to support the compliance measure”);
http://www.bia.gov/cs/groups/public/documents/text/idc012203.pdf (e.g., Core Jail Standards for care, programs and
activities, disabled inmates [at 49]); ACA Course: Working with Special Needs Offenders; available at:


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http://www.aca.org/ACA_Prod_IMIS/ItemDetail?iProductCode=175&Category=PUBS-
COURS&WebsiteKey=139f6b09-e150-4c56-9c66-284b92f21e51; available at:
http://www.aca.org/ACA_Prod_IMIS/ACA_Member/Standards___Accreditation/Standards/Updates/ACA_Member
/Standards_and_Accreditation/Updates_and_Interpretations.aspx?hkey=d8193dbf-92dc-4dfb-b45a-d3152a3843fe
(Revisions to 2012 Standards Supplement). ACA, Working with Special Needs Offenders (Books I, II, III) (ACA,
1998); National Commission on Correctional Health Care; available at: http://www.ncchc.org/standards-guidelines
(e.g., Standards for Health Services in Prisons, Standards for Mental Health Services in Correctional Facilities). But
compare, e.g., Elizabeth Alexander, What’s Wrong with the ACA, The National Prison Project, A Project of the
American Civil Liberties Union Foundation, 15(1), at 1 (Summer/Fall 2001) (“The American Correctional
Association (ACA) is the largest and best-known organization of correctional staff in the country. It offers higher
education programs designed to train correctional professionals and, like a traditional professional association, it
certifies persons as members in good standing of the profession. Of course, the major organizational function of the
ACA is accreditation of prisons, jails, and juvenile facilities on the basis of published standards that the ACA has
promulgated. Unfortunately, the ACA’s actual performance of this function does not assure that minimum
professional standards are observed. In fact, the ACA’s process substitutes the standards and accreditation process
for any form of more meaningful corrections oversight. The ACA appears to embrace the deployment of their
standards and accreditation process to protect facilities from outside scrutiny.”). For my analyses herein, among
other documents, I reviewed: ACA’s Standards for Adult Correctional Institutions (4th edition), 2014 Standards
Supplement, Mental Health in Corrections, and Working with Special Needs Offenders (“ACA Standards, 4th Ed.”).
See also American Bar Association (ABA), Standards for Criminal Justice: Treatment of Prisoners (3d ed. 2011)
(“ABA Standards”) (tracking ACA, ADA, Section 504 requirements); Society of Correctional Physicians; available
at: http://societyofcorrectionalphysicians.org/resources/position-statements/restricted-housing-of-mentally-ill-
inmates (e.g., position statement on problematic aspects of restricted housing for inmates on the basis of mental
health disabilities).
48 See, e.g., U.S. DOJ, National Institute of Corrections, Jail Standards and Inspection Programs, supra at 21, 63

(principles and Appendix F illustrative inspection task list); U.S. DOJ, National Institute of Corrections, Jail
Inspection Basics: Supervisors Guide, supra at 25. See also United States Department of State, A Practical Guide to
Understanding and Evaluating Prison Systems, at VIII. Appendix, 38-50, Prison Evaluation Form (May 2012). Id. at
45 (“10. Are accommodations made for a person with a physical or mental disability? Mentally disabled prisoners
are given more latitude by line staff. Physically disabled prisoners have no ramp access to the recreation yard or
cafeteria and must be carried. Showers do not accommodate wheel chairs.”).
49 See ADOC, Kilby Correctional Facility; available at: http://www.doc.state.al.us/facility.aspx?loc=36 (Kilby, with

capacity for 440 inmates, designed as receiving center for all male inmates, with dormitories, 100 two-man cells,
hospital unit, and is a maximum-security prison because all inmates receive evaluation, classification, and
assignment to ADOC correctional facilities; Kilby furnishes ADOC system with Hospital Services, including
medical and mental health treatment that “provide comprehensive health care,” including dental services, mental
health care, and medical treatment, “which includes free world specialty care, and all related support services.” …
“On-site employee training programs are conducted at Kilby for local security and support personnel within the
Montgomery area. Inmate programs offered by Kilby includes anger management, NA/AA, a chapter of the
Volunteers in Corrections, sex offenders therapy, GED/ABE educational classes; 12-Step alcohol/drug counseling,
chaplaincy services, and individual and group therapy offered as part of an on-going mental health program. Kilby
also has a correctional industry plant for printing and graphic arts, and maintains an institutional garden for fresh
produce.”).
50 See also Spencer, supra at 2 (statistics showing highest incidence of prison violence (excluding sexual assaults)

per 100 inmates in 2011 occurred at Bullock Mental Health Facility).
51 See Ventress Correctional Facility, ADOC; at: http://www.doc.state.al.us/facility.aspx?loc=38 (“opened in August

of 1990 with a primary mission to provide alcohol and drug treatment to the Department’s growing inmate
population. Located in Clayton, the campus-designed Ventress maintains medium or below custody inmates in: One
of the six on-going eight-week treatment classes. One of the two 15-week programs for inmates with dual disorders.
An 18-month (minimum) Therapeutic Community. A six-month program, which was funded by a crime bill. One of
two structured aftercare dormitories. Ventress offers academic and vocation educational programs, which are
provided by the nearby Sparks Technical College. In addition, Ventress provides community services to localized
city, county and state agencies.”).


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52 See, e.g., Kilby Correctional Facility; available at: http://www.doc.state.al.us/facility.aspx?loc=36 (“Inmate
programs offered by Kilby includes anger management, NA/AA, a chapter of the Volunteers in Corrections, sex
offenders therapy, GED/ABE educational classes; 12-Step alcohol/drug counseling, chaplaincy services, and
individual and group therapy offered as part of an on-going mental health program. Kilby also has a correctional
industry plant for printing and graphic arts, and maintains an institutional garden for fresh produce.”).
53 Prior to and after my site inspections and interviews I reviewed these putative class member medical files, prison

jackets, and other relevant information available such as that provided at: ADOC Search for Inmates; available at:
http://www.doc.state.al.us/InmateSearch.aspx.
54 See Henderson v. Thomas, 891 F.Supp.2d 1296, 1301 (2012) (“Alabama has five levels of prisoner classification:

close-custody, medium, minimum-in, minimum-out, and minimum-community. Security classification is a
multifactor analysis that includes an individual's criminal history, past convictions, past violence, length of sentence,
and pendency of unresolved charges. … Close-custody is “reserved for prisoners who have demonstrated severe
behavioral problems, some prisoners sentenced to life without parole, and some detainees awaiting trial or
sentencing for capital offenses.” Medium-custody prisoners are held at medium- or close-security institutions and
are housed in double-occupancy cells or dormitories. Medium custody prisoners may receive work assignments
inside a secure facility. The “minimum” classification includes three subparts, all of which permit some type of
work outside a secure facility. … only minimum-out and minimum-community inmates may transfer to a work-
release center.”) (citations omitted). See also Henderson et al. v. Thomas et al., 289 F.R.D. 506, 508-09 (M.D. Ala.,
2012); Henderson et al. v. Thomas et al., 913 F. Supp.2d 1267, (2012) (“The classification team also evaluates the
prisoner's need for educational programs, trade school, substance-abuse treatment, and certain mental-health
programs. … this impacts the department's placement decisions. If, for example, a prisoner “needed to participate in
a substance abuse program,” the classification team would “approve a group of institutions that offered substance
abuse treatment, and whichever one had the space available, that’s the one he would go to.” Finally, each prisoner is
subject to a medical and mental assessment, which can further limit the number of facilities for which he is
eligible.”). Id. at 1280 (“any prisoner with a mental-health code that requires special housing is sent to Bullock
Correctional Facility (which can house codes three though six) or Donaldson Correctional Facility (which can house
codes three and four).”). Id. at 1281 (“Limestone has, for instance, a Senior Dorm, which provides a safer and
calmer environment. There is also a Faith–Based Honor Dorm, whose prisoners enjoy occasional (though rare)
benefits such as a family night, during which family members can visit and bring food. Limestone also offers a Pre–
Release Dorm for prisoners who are within 120 days of their end-of sentence dates. This dorm is designed to
provide a supportive atmosphere for prisoners who will soon transition back into the free world. [There also is a]
Substance Abuse Program (SAP). … which can last either eight weeks or six months, prisoners live together in a
special dorm, take classes together, and eat their meals together. … this “milieu environment” is often “extremely
effective” because the “minute-by-minute interaction in the bathroom, in the dorms or in their housing units, [and] at
meals” creates an “ongoing dialogue about the sort of issues that are taught” in the program.”).
55 See, e.g., ADOC Monthly Statistical Report for December 2014, Fiscal Year 2015 (Inmate population by custody

level: Close 2%, Medium 51%); available at: http://www.doc.state.al.us/docs/MonthlyRpts/2014-12.pdf. See
generally ADOC Statistical Reports (Annual and Monthly); available at:
http://www.doc.state.al.us/StatReports.aspx.
56 See, e.g., Angela Browne, Allison Hastings, & Kaitlin Kall, Keeping Vulnerable Populations Safe under PREA:

Alternative Strategies to the Use of Segregation in Prisons and Jails, at 11-12 (Vera Institute, PREA Resource
Center, 2015) (Prison Rape Elimination Act (PREA) (“women are more likely to screen as high-risk for sexual
abuse related to past histories of child and adult trauma. For example, women in the criminal justice system report
more extensive victimization histories—including lifetime histories of sexual and physical abuse—than women who
have not been incarcerated or men who have been incarcerated. … Confined women are less likely to be in jail or
prison for violent offenses than men and more likely to suffer from mental health problems.”) (citations omitted).
57 I visited a range of ADOC facilities to corroborate my findings herein. I conducted site inspections and interviews

at Kilby and Tutwiler to examine the in-take and evaluation process. As mentioned, Kilby is the receiving and
classification center for male inmates. See http://www.doc.alabama.gov/facility.aspx?loc=36 (inmate programs
offered by Kilby include anger management, GED/ABE educational classes, alcohol/drug counseling, chaplaincy
services, individual and group therapy as part of an on-going mental health program; correctional industry plant for
printing and graphic arts, and institutional garden for fresh produce). For a related review and site inspection of
ADOC prisons in regard to the provision of mental health services, see Kathryn Burns, M.D., M.P.H. & Jane


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Haddad, Psy.D., Expert Report Mental Health Care in the Alabama Department of Corrections: Bradley v.
Hightower, at 2 (2000) (conducting site visits of Kilby Correctional Facility, St. Clair Correctional Facility,
Donaldson Correctional Facility, Holman Correctional Facility, Bullock Correctional Facility, Easterling
Correctional Facility, and Limestone Correctional Facility). Id. at 3 (“Site visits are essential for determining the
inmates’ awareness of how to obtain mental health assistance as well as for ascertaining whether adequate treatment
is provided.”). Additionally, as referenced in Exhibit 2, I reviewed deposition testimony given by the Wardens of
several of these facilities involved in inmate intake and classification for incoming inmates and in the provision of
mental health services (e.g., prisons with Rehabilitation Treatment Units (RTUs) and Stabilization Units (SUs)).
58 In the course of my site inspections and interviews, and at my direction, plaintiffs’ counsel and ADOC staff

photographed various facility areas and services. These photographs are referenced infra (and subject to privacy
considerations) and serve as an additional reference used in the development of my opinions in this matter. See also
Dunn et al., v. Dunn et al., Order (M.D. Ala., June 10, 2015) (experts are to speak with prisoners in a manner
prescribed in prior Agreement of the parties in this matter signed on May 13, 3015, experts may pose general
questions to ADOC employees and healthcare personnel regarding identification and location of items and/or areas
in a facility, experts may not pose probing questions to ADOC employees and healthcare personnel during the site
inspections, and parties shall continue to conduct site visits in the manner set forth in sections 10 and 14 of the prior
Agreement).
59 The National Health Interview Survey (NHIS) monitors the health of the nation on a range of health topics are

collected through personal household interviews by the U.S. Census Bureau. See National Health Survey; available
at: http://www.cdc.gov/nchs/nhis.htm. Compare with local information, such as
60 Travis et al., supra at 210 (“prevalence of almost all chronic conditions is higher among both prison and jail

inmates than in the general population”). Id. (“Since not all inmates receive medical screening for chronic
conditions, however, these conditions may have been underreported among prisoners.”). See also David Cloud, On
Life Support: Public Health in the Age of Mass Incarceration, at 12 (Vera Institute of Justice Nov. 18, 2014)
(“Cognitive impairments and physical disabilities make older prisoners extremely vulnerable in correctional
environments, putting them at an increased risk of injury, victimization, and cognitive and emotional
decompensation.”). Id. at 11 (disproportionately high rates of chronic physical conditions among correctional
populations; nationally representative survey found higher rates of hypertension, asthma, arthritis, cancer, and
cervical cancer among correctional populations compared to the general population, even after controlling for a
range of socioeconomic factors—citing Ingrid A Binswanger, Patrick M. Krueger, & John F. Steiner, Prevalence of
Chronic Medical Conditions Among Jail and Prison Inmates in the United States Compared with the General
Population, Journal of Epidemiology and Community Health (2009)). Id. at 5 (conditions of confinement inside jails
and prisons, such as overcrowding, violence, sexual victimization, use of solitary confinement, and lower standards
of medical care harmful to physical and mental health of incarcerated individuals).
61 Travis et al., supra at 210-11 (citing studies in support). Id. at 211-12 (“Older inmates also may have high rates of

additional geriatric syndromes, such as cognitive impairment or dementia, and disabilities or impaired ability to
perform ADLs. Like inmates with disabilities, older inmates may not be able to drop to the floor as instructed in
response to an alarm or, worse, be unable to get back up again after the alarm is over, or have difficulty climbing on
or off their assigned bunk.”). Id. at 212 (“The rapidly increasing population of older adults in correctional facilities
underscores the importance of screening and, more important, rescreening, for cognitive impairment, dementia, and
disability. Currently, a disability assessment generally is performed only at intake, even if an individual is
incarcerated for decades. Older prisoners will best serve their time if placed in correctional housing appropriate to
their cognitive and physical abilities.”).
62 For the scientific and methodological rationale for random case sampling and review, see, e.g., Thomas D. Cook

& Donald T. Campbell, Quasi-Experimentation: Design & Analysis Issues for Field Settings, at 37-38, 70-80, 341-
83 (1979). See also Robert Rosenthal & Peter Blanck, Science and ethics in conducting, analyzing, and reporting
social science research: Implications for social scientists, judges and lawyers, Indiana Law J., 68(4), 1209-28
(1993).
63 Compare Notice of Proposed Class Action Settlement Regarding Mobility Impaired Inmates in Los Angeles

County Jails (Nov. 24, 2014); available at: http://www.disabilityrightslegalcenter.org/class-action-settlement-
between-sheriffs-department-and-inmates-disabilities-la-county-jails-moves (federal court approved settlement of a
class action lawsuit against Los Angeles County Sheriff’s Department involving the ADA in which inmates with
mobility impairments denied access to programs and services available to inmates without mobility impairments and


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not provided reasonable accommodations for alleged disabilities, and remedy to provide for mobility aids such as
wheelchairs, walkers, crutches and prostheses, same access to jail programs, services, and activities offered to
inmates who did not have mobility impairments, reasonable accommodations, and upgrading medical records to
track medical issues facing inmates with mobility impairments).
64 See, e.g., Jessie L. Krienert, Martha L. Henderson, & Donna V. Vandiver, Inmates with physical disabilities:

Establishing a knowledge base, Southwest Journal of Criminal Justice 1, 1: 13-23, at 13 (2003) (“prisons contain the
most vulnerable members of outside society in relation to race, ethnicity and social class. Add a physical disability
to that snapshot and a truly vulnerable population emerges. In 1997, approximately 26 percent of state inmates
reported a hearing, vision or physical disability”). Id. at 15 (estimated that 35-40 percent of inmates have degree of
hearing loss, and 13-20 percent have significant hearing loss). See also N. R. Schneider & Bruce D. Sales, Deaf or
hard of hearing inmates in prison, Disability & Society 19, 1: 77-89, at 79-84 (2004) (inaccessibility of prison
programs and services place inmates with hearing impairments at physical, mental, and social risk). Id. at 84-85
(accommodations and services for hearing impaired inmates).
65 Soderstrom, supra at 7 (inmates with cognitive and intellective disabilities overrepresented in prison population).

See also Jennifer Bronson, Laura M. Maruschak, & Marcus Berzofsky, Disabilities Among Prison and
Jail Inmates, 2011–12, U.S. DOJ, Bureau of Justice Statistics, at 3 (Dec. 2015) (“A cognitive disability is a broad
term used to describe a variety of medical conditions affecting different types of mental tasks, such as problem
solving, reading comprehension, attention, and remembering. A cognitive disability is not the same as a mental
disorder, although they often co-occur and a mental disorder can be considered a disability as well. The main
differences are: symptoms of a mental disorder may be cyclical, temporary, or episodic whereas symptoms of a
cognitive disability are constant and permanent; symptoms of a mental disorder may be controlled or eliminated by
medications, and a person can usually live a normal life with the proper mental health care, but medications cannot
fully restore, repair, or alleviate cognitive limitations; symptoms of a mental disorder may include disturbances in
perceptions, emotions, and thought processes such as hallucinations or delusions, which are not symptoms
associated with most cognitive disabilities. Examples of cognitive disabilities include Down syndrome, autism,
dementia, attention deficit disorder, learning disorders, intellectual disabilities, or traumatic brain injury. Examples
of mental disorders include depression, anxiety disorders, and schizophrenia.”).
66 See, e.g., John J. Gibbons & Nicholas de B. Katzenbach, Confronting Confinement—A Report of the Commission

on Safety and Abuse in America's Prisons, Washington University Journal Law & Policy 22: 385 [at 13 in report]
(2006) (high rates of disease and illness among prisoners, and inadequate services and programs for health care,
endanger prisoners and staff). Id. at 59 (psycho-social conditions such as schizophrenia and depression “can make it
impossible for a person to cope with the conditions of segregation,” particularly for those with suicidal tendencies).
67 See, e.g., Gloria L. Krahn, Deborah Klein Walker, & Rosaly Correa-De-Araujo, Persons With Disabilities as an

Unrecognized Health Disparity Population, American Journal of Public Health, Supplement 2, 105(S2), S198-206,
at S201 (Feb. 17, 2015) (people with cognitive disabilities significantly more likely to have diabetes than general
population; citing studies in support; e.g., Amanda Reichard & Hayley Stolzle, Diabetes among adults with
cognitive limitations compared to individuals with no cognitive disabilities, Intellectual and Developmental
Disabilities, 49(3), 141-154, at 146 (2011)); Houser & Belenko, supra at 25 (for mental illness and co-occurring
conditions important distinction between singular and dual disorders, simultaneous occurrence and implied
interaction affect course and prognosis of individual disorders and often intensifying the symptom severity of each,
which may help explain increasing presence of mentally ill in the criminal justice system) (citations omitted).
68 ADOC Annual Report (2013), at 6; available at:

http://www.doc.state.al.us/docs/AnnualRpts/2014AnnualReport.pdf. Id. (ADOC stated values include: “We value
the dignity of every human being”). In accordance with this mission, and to become a Correctional Officer with
ADOC, among other requirements, candidates must complete requirements of the ADOC Alabama Peace Officers’
Standard and Training Commission (APOSTC) and attend a 12-week ADOC Training Academy. See Correctional
Officer Requirements for Alabama; available at: http://www.correctionalofficertraininghq.com/correctional-officer-
requirements-for-alabama/ (“The first week you will receive on the job training at an ADOC facility, and eleven
weeks at the ADOC Training Academy. You will learn various communication techniques, and receive firearms
training; self-defense lessons, and pepper spray/Taser certification. There are academic, physical, and regulatory
requirements to meet in order to satisfactorily complete the training, and you will receive APOSTC Certification as
a Correctional Officer.”). See also Williams Deposition, at 14 (“Q. … I believe that you said that the ADOC has a



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Correctional Academy; is that correct? A. Yes. Q. Who attends that academy? A. The primary mission for the
Alabama Corrections Academy is to train new correctional officer trainees to become certified correctional officers.
Q. So is it primarily new correctional officers that attend the academy? A. Yes.”). Id. at 26-27 (“… do correctional
officers have any continuing education requirements? A. Yes. Q. Can you describe those? A. The Peace Officer
Standards and Training Commission for Alabama requires a minimum of twelve continuing education units
annually. … A. In addition, the Peace Officer Standards and Training Commission requires annual handgun
requalification. And separate from POST, our agency requires thirty-six to forty hours of annual in-service training,
refresher training, for correctional officers.”). Id. at 29 (referring to ADOC regional training centers).
69 See also supra, noting that: Americans with Disabilities Act of 1990 (ADA), and as amended Americans with

Disabilities Act Amendments Act of 2008 (ADAAA), and Section 504 of the Rehabilitation Act of 1973 (Section
504 or the Rehabilitation Act) prohibit discrimination against “qualified” individuals with disabilities in provision of
programs and services provided by public entities, such as ADOC. See, e.g., Americans with Disabilities Act of
1990, 42 U.S.C. § 12101 et seq.; Rehabilitation Act of 1973, 29 U.S.C. § 701.
70 See, e.g., ABA Standards, supra at 203-05 (“Standard 23-7.2 Prisoners with disabilities and other special needs (a)

If a prisoner with a disability is otherwise qualified to use a correctional facility, program, service, or activity,
correctional authorities should provide such a prisoner ready access to and use of the facility, program, service, or
activity, and should make reasonable modifications to existing policies, procedures, and facilities if such
modifications are necessary. Modifications are not required if they would pose an undue burden to the facility, cause
a fundamental alteration to a program, or pose a direct threat of substantial harm to the health and safety of the
prisoner or others. Disabled prisoners’ access to facilities, programs, services, or activities should be provided in the
most integrated setting appropriate. (b) To the extent practicable, a prisoner who does not have a disability but does
have special needs that affect the prisoner’s ability to participate in a prison program, service, or activity should
receive programs, services, and activities comparable to those available to other prisoners. Correctional authorities
should assess and make appropriate accommodations in housing placement, medical services, work assignments,
food services, and treatment, exercise, and rehabilitation programs for such a prisoner. (c) A prisoner has the right to
refuse proffered accommodations related to a disability or other special needs, provided that the refusal does not
pose a security or safety risk. (d) There should be no adverse consequences, such as loss of sentencing credit for
good conduct, discipline, or denial of parole, for a prisoner who is unable to participate in employment, educational
opportunities, or programming due to a disability or other special needs that cannot be accommodated. Such a
prisoner should have the opportunity to earn an equal amount of good conduct time credit for participating in
alternative activities. (e) Correctional authorities should communicate effectively with prisoners who have disabling
speech, hearing, or vision impairments by providing, at a minimum: (i) hearing and communication devices, or
qualified sign language interpretation by a non-prisoner, or other communication services, as needed, including for
disciplinary proceedings or other hearings, processes by which a prisoner may make requests or lodge a complaint,
and during provision of programming and health care; (ii) closed captioning on any televisions accessible to
prisoners with hearing impairments; (iii) readers, taped texts, Braille or large print materials, or other necessary
assistance for effective written communication between correctional authorities and prisoners with vision
impairments, and when a prisoner with a vision impairment is permitted to review prison records, as in preparation
for a disciplinary or other hearing; and (iv) fire alarms and other forms of emergency notification that communicate
effectively with prisoners with hearing or vision impairments. (f) Correctional authorities should make reasonable
attempts to communicate effectively with prisoners who do not read, speak, or understand English. This requirement
includes: (i) to the extent practicable, the translation of official documents typically provided to prisoners into a
language understood by each prisoner who receives them; (ii) staff who can interpret at all times in any language
understood by a significant number of non-English speaking prisoners; and (iii) necessary interpretive services
during disciplinary proceedings or other hearings, for processes by which a prisoner may lodge a complaint about
staff misconduct or concerns about safety, and during provision of health care.”).
71 Compare Holmes v. Godinez, --- F.R.D. ---- (ND ED IL, 2015) (2015 WL 5920750), at 75 (“The vast majority of

services and programs that [Plaintiffs with disabilities] complain about do not appear to require any special
qualification. For example, all inmates are permitted to participate in the grievance process, all inmates would have
the right to be notified of emergency situations, and all inmates would have the right to receive proper medical
treatment.”) (citations omitted). Id. (“Moreover, although inmates may be subject to occasional disciplinary or safety
restrictions that could limit their right to use certain services at certain times, these temporary restrictions would not
impact their right to seek future injunctive relief since there is a high likelihood that the restriction would be lifted at


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some time during their incarceration. We recognize that inmates may be truly ineligible for a program in a handful
of cases, but we believe these instances are few and do not defeat typicality where named Plaintiffs' and putative
class members share the same legal claims based on the same conduct.”) (citations omitted).
72 Travis et al., supra at 8 (“Even under the best conditions, incarceration can do great harm—not only to those who

are imprisoned, but also more broadly to families, communities, and society as a whole. Moreover, the forcible
deprivation of liberty through incarceration is vulnerable to misuse, threatening the basic principles that underpin the
legitimacy of prisons. The jurisprudence of punishment and theories of social policy have sought to limit public
harm by appealing to long-standing principles of fairness and shared social membership.”).
73 Travis et al., supra at 326. Id. at 8 (noting related principle of “Parsimony: The period of confinement should be

sufficient but not greater than necessary to achieve the goals of sentencing policy.”).
74 Travis et al., supra at 341.
75 Travis et al., supra at 350.
76 Travis et al., supra at 8.
77 Travis et al., supra at 330.
78 See, e.g., Blanck et al., 2014, Treatise and Casebooks on the ADA (cited in Exhibit 1).
79 For instance, those inmates who evidence a range of health impairments and general health problems in addition

to their primary disabilities (e.g., comorbidity of physical, sensory, and mental health).
80 See, e.g., Xiuquan Shi, Krista K. Wheeler, Junxin Shi, Lorann Stallones, Shanthi Ameratunga, Tom Shakespeare,

& Huiyun Xiang, Increased risk of unintentional injuries in adults with disabilities: A systematic review and meta-
analysis, Disability & Health Journal (2014).
81 See generally Shi et al., supra; Houser & Belenko, supra at 25 (interactive and additive nature of co-morbidity

may intensify behavioral problems more than singular disorders, and inmates with co-morbid conditions limited in
their capacity to operate independently in the correctional setting, and difficult to treat with severe and persistent
mental health disorders and often display symptoms of delusions and hallucinations that create disruptive and erratic
behaviors). See also Michael Winerip & Michael Schwirtz, Even as Many Eyes Watch, Brutality at Rikers Island
Persists, NY Times (Feb. 21, 2015) (“case typifies the Correction Department’s struggle in dealing with inmates
who have mental illnesses, a group that now accounts for nearly 40 percent of the jail population. It is these
inmates—particularly ill suited to the jail’s regimen—who tend to behave the most erratically, bringing out some of
the worst abuses by guards.”); available at: http://www.nytimes.com/2015/02/22/nyregion/even-as-many-eyes-
watch-brutality-at-rikers-island-persists.html?smprod=nytcore-iphone&smid=nytcore-iphone-share&_r=0.
82 See, e.g., Emma G. Thomas, Matthew J. Spittal, Faye S. Taxman, & Stuart A. Kinner, Health-related factors

predict return to custody in a large cohort of ex-prisoners: new approaches to predicting re-incarceration, Health &
Justice, 3(1), 1-13, at 1 (2015) (citing studies in support); Lauren Brinkley-Rubinstein, Incarceration as a catalyst for
worsening health, Health & Justice, 1(1), 3 (2013); doi:10.1186/2194-7899-1-3 (incarceration environment
negatively affects inmate health).
83 In a different context, Professor Bagenstos writes: “A single step in front of a store may not immediately call to

mind images of Lester Maddox standing in the door of his restaurant to keep blacks out. But in a crucial respect they
are the same, for a step can exclude a person who uses a wheelchair just as surely as a no blacks-allowed rule can
exclude a class of people.” Samuel Bagenstos, The perversity of limited civil rights remedies: The case of “Abusive”
ADA litigation, UCLA Law Review, 54, 1-38, at 25 (2006), cited on other grounds by Antoninetti v. Chipotle
Mexican Grill, Inc. (9th Cir. 2010) 643 F.3d 1165, 1175 [41 NDLR P 224, 10 Cal. Daily Op. Serv. 12331, 2010
Daily Journal D.A.R. 14868, 2010 WL 3665525].
84 Won Ho Kim & Juyoung Lee, The Effect of Accommodation on Academic Performance of College Students

With Disabilities, Rehabilitation Counseling Bulletin (2015): 0034355215605259 (showing relationship between
accommodations and academic outcomes).
85 Pierce, 2015 WL 5330369 at *13 (emphasis in original). Id. (“The District does not explain how inmates with

known communications-related difficulties … are supposed to communicate a need for accommodations, or, for that
matter, why the protections of Section 504 and Title II should be construed to be unavailable to such disabled
persons unless they somehow manage to overcome their communications-related disability sufficiently enough to
convey their need for accommodations effectively. … it would appear that only a specific request for a wheelchair
would trigger any duty to accommodate an inmate who cannot walk, and a blind inmate would need to make a
specific request for a cane or a guide if he desired to move about the prison grounds; meanwhile, prison officials
could sit idly by, taking no affirmative steps to accommodate such disabled prisoners and expecting to be able to


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wield the inmate’s failure to request accommodation like some sort of talisman that wards off Section 504 and Title
II liability in any future legal action. This imagined state of affairs is unquestionably inconsistent with the text and
purpose of the Rehabilitation Act and the ADA.”).
86 See, e.g., Robertson v. Las Animas County Sheriff’s Dept., 500 F.3d 1185, 1194 (10th Cir. 2007). Id. at 1197, n.10

(“Whether the public entity's knowledge derives from an individual's request for an accommodation or an
individual’s obvious need for an accommodation, the critical component of the entity’s knowledge is that it is aware
not just that the individual is disabled, but that the individual's disability affects his ability to receive the benefits of
the entity’s services.”).
87 See, e.g., Robertson, 500 F.3d at 1196 (“A public entity cannot know that a modification to its services under the

ADA is necessary if it does not first understand that an individual requires such modification because he is
disabled.”); Pierce, WL 5330369 at *14 (public entities like ADOC must take “affirmative steps to ascertain what
accommodations might be needed, … [and not have] reliance on guesswork and happenstance with respect to the
provision of accommodations, when the law clearly requires otherwise.”) (emphasis in original).
88 Robertson, 500 F.3d at 1197-98.
89 Robertson, 500 F.3d at 1199 (“Moreover, even if an action, such as obtaining a TTY or TDD, would result in an

undue administrative burden, the public entity must “take any other action that would not result in ... such burdens
but would nevertheless ensure that, to the maximum extent possible, individuals with disabilities receive the benefits
or services provided by the public entity. … Here, the facility took no action.” (emphasis in original and citations
omitted)).
90 See also Robertson, 500 F.3d at 1197 (“Once a public entity has knowledge of an individual’s disability, the entity

must also have knowledge that an individual requires an accommodation of some kind to participate in or receive
the benefits of its services. In other words, the entity must have knowledge that an individual’s disability limits her
ability to participate in or receive the benefits of its services.” (citations omitted)).
91 See, e.g., Brie A. Williams, James S. Goodwin, Jacques Baillargeon, Cyrus Ahalt, & Louise C. Walter,

Addressing the aging crisis in US criminal justice health care, Journal of the American Geriatrics Society, 60(6),
1150-1156, at 1153 (2012) (need for evidence-based practices and not reliance on outdated stigma about disability
accommodations).
92 During my site inspections, several ADOC inmates reported using self-directed accommodations and/or having to

pay other inmates to provide basic accommodations.
93 See, e.g., Gary Lee Broyles, AIS: 00152470 (named plaintiff).
94 Compare American Council of the Blind v. Paulson, 525 F.3d 1256, at 1269-70 (2008) (ADA title II case on

meaningful access to U.S. government currency programs); Mason v. Correctional Medical Services, Inc., 559 F.3d
880, at 886 (2009) (“public entity is required to make reasonable accommodations where necessary to give
“meaningful access” to programs or benefits”) (emphasis added). Id. at 887 (prison “has a continuing obligation
under the ADA to make reasonable accommodations for [inmate], and the substitution of an assistant who is
illiterate or not reasonably available, or the failure to procure requested audio materials, would raise different issues
[that could violate the ADA and Rehabilitation Act). Thus, ADOC’s blanket practice requiring putative ADA sub-
class members to rely on other inmates for the provision of potential accommodations is not consistent with research
and best practice to afford effective and meaningful accommodations on an individualized basis and with
appropriate consideration of undue and safety burdens they may present. Id. 888 (“it would be unduly burdensome
to require [prison] to furnish [inmate] with a trained handler from outside the prison, because such a person would
not be trained in safety and security matters, and would require the escort of a prison guard at all times.”). Id. at
(“Cf. Chisolm v. McManimon, 275 F.3d 315, 328 (3d Cir. 2001) (“holding that a reasonable trier of fact could infer
that a deaf inmate whose primary form of communication was American Sign Language required an assistant
trained in American Sign Language at critical points.”).
95 See Lauren Walsh, “ADOC Commissioner: Overcrowding, understaffing breeding violence at St. Clair Prison,”

ABC 33/40 (Dec. 10, 2015) (“One of the most violent [Alabama] prisons is St. Clair Correctional Facility in
Springville, where the security officers are outnumbered. The prison houses 130 percent of the inmates it was
designed to hold. It only has 57 percent of the security staff it is authorized for. Department of Corrections
Commissioner Jeff Dunn admits St. Clair is a dangerous situation. … Dunn says the problems at St. Clair are
indicative of the struggle throughout his department.”); available at: http://abc3340.com/news/local/adoc-
commissioner-overcrowding-understaffing-breeding-violence-at-st-clair-prison. Id. (“Dunn says with the resources
he has for security, a serious situation may not be avoided next time. “And I can't pinpoint it on a map or on a


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calendar, but at some point in the future, I believe something significant will happen and it will be because we
haven't made the investment that we need to make now to prevent something like that from happening in the future,"
said Dunn. St Clair has 57 percent of the security staff it’s authorized for. Dunn says the problem is not about
recruiting, but about retention.”).
96 See, e.g., ADOC Male Inmate Handbook, at 1 (Aug. 1, 2013) (“There are rules and regulations for inmates

committed to the custody of the Alabama Department of Corrections. They are designed to help the inmate
population live together as safely and as comfortable as possible. These rules apply to all inmates regardless of the
institution to which assigned. Each institution, however, will have additional specific rules and policies that apply
only to that institution. You will be made aware of those rules during orientation shortly after your arrival at the
institution. You are required to follow the rules in this handbook and the rules of the institution. You can expect that
any violation of the rules will result in disciplinary action.”).
97 I note that ADOC AR 222, OPR: Personnel, “Individuals with Disabilities,” (Nov. 26, 2003), establishes

responsibilities, policies, and procedures for complying with ADA and the Rehabilitation Act of 1973 as applied to
ADOC “[e]mployees, contractors, volunteers, vendors, job applicants, customers, visitors, and other persons
involved with the Alabama Department of Corrections.” AR 222 would not apply to ADOC inmates,
98 See, e.g., ADOC042868, -2757 (Corizon May, April 2014 Reports) (“re-educate the staff on management of

Diabetes”).
99 Compare Mark G. Peters, New York City Department of Investigation: Investigation Finds Significant

Breakdowns by Corizon Health Inc., the City-Contracted Health Care Provider in the City's Jails, and a Lack of
Oversight by the City Correction and Health Departments, at 1-3, n.1, & passim (June 2015) (Corizon’s “failures
should not be seen in isolation. Rather, they have occurred in the context of the failure to engage in proper screening
and supervision of staff. Given the huge number of factors that contribute to the delivery of medical and mental
health care for inmates, it is difficult, if not impossible, to conclusively demonstrate a direct causal link between
poor hiring and quality of care. Nonetheless, DOI reviewed 137 Corizon Mental Health Clinician (MHC) and 48
Mental Health Treatment Aide (MHTA) personnel files. In light of DOI’s findings, we have significant concerns
about permitting Corizon to continue, on a long term basis, to provide health care services at Rikers Island.”).
100 Compare ADOC AR 18, Institutional Standard Operating Procedures, at 1 (Mar. 29, 2005) (“A. Office of

Primary Responsibility (OPR): The Office of Primary Responsibility is that Warden/Director, Deputy Commissioner
staff unit, office, or activity having functional responsibility for the program, procedure, law, rule, or regulation
matter. B. Staff Accountability Log: A record indicating an officer has read, and understands the SOPs for a security
assignment. C. Standard Operating Procedure (SOP): Policies and procedures set forth by local orders and
implemented by the Warden/Director of each institution/facility.”). Id. at 3 (SOPs to be updated annually). See also
ADOC AR, Development of Manuals for Division Operations, at 1-2 (May 2, 2005) (“All ADOC employees shall
be required to review the contents of the applicable division manual when assigned to the area. Employees shall be
responsible for developing an understanding of assigned tasks and their relationship to the rest of the division.”).
101 See, e.g., Moseley Deposition at 41-44 (“Q. What profiles do you have? A. Knee brace profile. Bottom bunk

profile. I believe that's it. Q. Now, a profile is a specific document that's approved by a physician, right? A.
Correct. Q. And profiles in the ADOC system are given to inmates by the physician, and those profiles allow the
inmates to deviate from kind of the standardized rules and regulations inside a prison, right? A. Yes, sir. Q. So,
for example, a bottom bunk profile, that means that the ADOC should assign you to a bottom bunk, right? A.
Correct. Q. And the profile for your knee allows you to use a knee brace, right? A. Yes, sir. Q. Have you ever had
any other profiles? A. Yes, sir. Q. What other profiles have you had? A. Wellness. Wheelchair. Cane. I think
that's about it. Q. When was the last time you had a cane profile? A. Bullock. It's been -- I don't know, it had to be
three, four -- three or four years ago. Q. When is the last time you had a wheelchair profile? A. Bullock. Q. When
is the last time you had a wellness profile? A. It just run out. Q. What is a wellness profile? A. Where you can eat
dietary food. Q. Why were you placed on a wellness profile? A. Lose weight.”).
102 Compare City of New York Department of Correction, Directive, Reasonable Accommodation for Inmates with

Disabilities, at 4 (Dec. 15, 2005); available at: http://www.nyc.gov/html/doc/downloads/pdf/3802.pdf.
103 Compare Holmes v. Godinez, --- F.R.D. ---- (ND ED IL, 2015) (2015 WL 5920750), at 15 (inmates keep a copy

of their ADA accommodation plan “to show it to prison staff to demonstrate that they are entitled to
accommodations” to ensure nondiscrimination in access to ADOC programs, services, and activities).
104 As presented in Exhibit 2, infra, I have reviewed the deposition testimony and related materials of ADOC’s

designated ADA coordinators and ADA-relevant staff system-wide and at ADOC’s prison facilities. See, e.g.,


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Deposition testimony and related materials of Ernest Claybon, Sergeant at Staton/ADA Coordinator; Michelle
Ellington, Captain at Kilby/ADA Coordinator; Aaron Billups, ADA Coordinator at Elmore; Timothy Holcomb,
Interim Warden at Hamilton/ADA Coordinator; Guy Noe, ADA Coordinator at Limestone; Kenneth Peters, ADA
Coordinator at St. Clair; Joel Gilbert, ADA Coordinator at Donaldson; Veronica Moore, Responsible for TTY/TDD
at Limestone; Adrienne Givens, ADA Coordinator at Tutwiler; Wendy Williams, ADOC Director of Training,
Manager of women’s facility operations Ruth Naglich, Named Defendant/Associate Commissioner of Health
Services/ADOC 30(b)(6) representative.
105 Compare Mason v. Correctional Medical Services, Inc., supra 559 F.3d 880, at 888 (inmate cited “no authority

for the proposition that he is entitled to a general “disability assessment”.”). Based on my experience, research, and
practice, and that of others, the adequate identification and monitoring of inmates with disabilities is necessary for
the appropriate assessment and provision of equivalent accessible programs, services, and activities offered by
ADOC to putative ADA sub-class members, as well as for the provision of effective reasonable accommodations.
My recommendations discussed infra herein illustrate ways in which ADOC may effectively achieve meaningful
access to its programs, services and activities for putative ADA sub-class members, for example, through an
interactive and individualized accommodation provision and grieving process.
106 Compare Pierce v. District of Columbia, 2015 WL 5330369, at 1 (Dist. Colum. 2015).
107 Williams Deposition, supra at 153.
108 Williams Deposition, supra at 154 (with regard to the identification of female inmates with disabilities at the

intake process, Ms. Williams testified: “Q. With respect to female prisoners, does ADOC make any effort to identify
prisoners with disabilities when they first come into the ADOC system? A. Through healthcare provider
examinations and then also through the interaction that the intake officer has just while verbally observing the
inmate. Not verbally, but just by observing the inmate.”).
109 I also note that in regard to ADOC new employee orientation, ADOC AR 204 establishes responsibilities,

policies, and procedures for administering orientation programs for new employees to ensure that they understand
the department’s mission and their responsibilities in the correctional system. See ADOC AR 204, New Employee
Orientation, at 1 (Feb. 16, 2005). See also ADOC AR 222, INDIVIDUALS WITH DISABILITIES (Nov. 26, 2003)
(providing detailed awareness of ADA and the Rehabilitation Act provisions and accommodation process in the
context of public employment, such as: nondiscrimination on the basis of disability, consideration of reasonable
accommodations and of facility physical accessibility; consideration of effective communication and provision of
auxiliary aides and services such as providing qualified readers or interpreters, that Wardens and Division Directors
are responsible for ensuring compliance with the ADA and Rehabilitation Act, with forms annexed to for physician
to complete and an “Essential Functions Checklist.”). This information shows that ADOC has available information
about the operation of the ADA and the Rehabilitation Act in its Administrative Regulations at least for employment
purposes, but it has not applied this information to the provision of services, programs, and activities for inmates.
AR 204 provides that prison Wardens and Division Directors are responsible for implementing an orientation
program for their units, with information providing by the Personnel Division Director: “All orientation programs
shall include: 1. A discussion of the new employee’s task and responsibility statements with him/her. … 4.
Providing a copy to and discussion of the ADOC Mission and Vision Statements with the employee. … D. Each
institution/division shall develop and conduct an orientation program that fulfills that institution/division’s unique
needs.
110 ADOC AR, 400 Classification of Inmates, at 1 (Nov. 10, 2004).
111 ADOC AR, 400 Classification of Inmates, at 1.
112 ADOC AR, 400 Classification of Inmates, at 3 (“3. The Psychologist or Psychologist Associate are responsible

for the following: a. Performing psychometric evaluation of inmates. b. Conducting interviews as appropriate. c.
Assembling relevant information to the inmate’s probable adjustment. d. Providing recommendations for assignment
and treatment. e. Serving as a member of the institutional classification committee.”).
113 ADOC AR, 400 Classification of Inmates, at 2 (“F. Classification: The process of sorting inmates into groups by

security level, custody, and program needs using interviews, tests, scoring instruments, and behavior records as well
as official court documents and reports from police and other criminal justice agencies. G. Reclassification: The
process of periodically reviewing the progress of inmates to determine what, if any, revisions should be made to the
placement of inmates within a particular group as to security level, custody, and/or program. H. Security Levels: The
rating assigned to the various institutions and placement options within the ADOC and to inmates through
classification procedures for the purpose of placement within the ADOC. I. Custody Levels: A level of supervision


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required for an inmate at the institution, within the ADOC, where the inmate is confined. An inmate can be assigned
a custody level of maximum, close, medium, minimum-in, minimum-out, or community.”). See also Bradley
Pearson, at ADOC024284 (no apparent reference to disability or possible need for accommodation on classification
summary).
114 See Angela Browne, Allison Hastings, & Kaitlin Kall, Keeping Vulnerable Populations Safe under PREA:

Alternative Strategies to the Use of Segregation in Prisons and Jails, at 3-4 (Vera Institute, PREA Resource Center,
2015) (Prison Rape Elimination Act (PREA). Id. at 10 (“Mission specific housing” targeted to special needs
populations (e.g., those with mental illness, developmental and intellectual disabilities, physical disabilities) has also
proven successful in an increasing number of jurisdictions. These housing units have out-of-cell programming and
provide individuals with special needs daily opportunities to interact with other inmates and staff during meals,
recreation, dayroom, and work activities. Scheduled activities (e.g., recreation) occur on the unit and disciplinary
violations are handled on the unit whenever possible to avoid the circulation of inmates through disciplinary
segregation. Housing that meets the needs of these populations reduces the number of vulnerable people held in
segregation. For maximum effectiveness, these units should be located where it is easiest to hire and retain mental
health and social work staff.”) (citations omitted). Mission specific housing also would provide accommodations to
inmates with disabilities who may, for example, be housed in RTU or SU units.
115 See, e.g., Angela Browne, Allison Hastings, & Kaitlin Kall, Keeping Vulnerable Populations Safe under PREA:

Alternative Strategies to the Use of Segregation in Prisons and Jails, at 6, Vera Institute, PREA Resource Center,
supra at 6 (citing research findings in support).
116 See, e.g., ADOC Male Inmate Handbook, supra at 2 (“RECEPTION PROCESS: Upon arriving at your admitting

institution, you will be photographed and finger-printed. You will receive a complete physical and dental
examination by medical and dental professionals. Psychological testing and interviews will also be conducted. You
will then be interviewed by Classification Specialists who will make the initial custody and placement
recommendations based on all information gathered through the interviews and from their research. You will be
asked about your criminal history, prior drug or alcohol abuse, education, employment program needs, and other
areas. It is important that you respond truthfully and completely in order to ensure that your needs can be met. Any
information given by you will be checked for accuracy.”). Compare MHM’s Monthly Operations Report (Feb.
2012), supra at ADOC043633-34 (Report of Robert Hunter, M.D., Medical Director, MHM Alabama) (“The CQI
study looking at the base rate data of major Axis I and Axis II diagnosis in ADOC was completed and the results are
interesting. The prevalence of major Axis I illnesses in our system was fairly congruent with that seen in the
correctional setting at large, with mood disorders being the most prevalent (49%), followed by psychotic disorders
(32 %) , anxiety disorders (9%), adjustment disorders (7%) and cognitive/other disorders (3%). In terms of where
these diagnoses are---Tutwiler, Limestone, Staton and Ventress have a high rate of mood disorder diagnosis while
the high max camps Holman, Donaldson and St Clair have a low rate of mood disorder diagnoses. A similar pattern
is noted for anxiety disorder diagnosis. Donaldson and Bullock inpatient and outpatient camps have a high rate of
psychotic disorder diagnosis. Holman, Kilby and Easterling have a high rate of Adjustment disorder diagnosis.
Hamilton, Staton and Bullock have the highest number of Cognitive disorder diagnosis. There is additional data
available from our CQI program subcategorizing each diagnostic category for the interested reader, but in summary
this is very useful in seeing what we have and where they are. This in turn will assist in how we allocate resources
and programming needs. Our next phase in looking at diagnostic Refinement will focus on psychiatric target
symptoms and their importance in driving diagnosis and treatment.”).
117 See, e.g., ABA Standards, supra at 91 (citing “ACA requires meals to last at least 20 minutes, ACA, Jail

Standards 4-ALDF-2A-01, ACA, Prison Standards 4-4158, which is a reasonable general rule. But if more time is
needed by prisoners who are frail or have a disability that slows their eating, that would be a reasonable
modification of the meal policy.”).
118 Compare Pierce, 2015 WL 5330369 at 1.
119 See, e.g., Pierce, 2015 WL 5330369 at 1-2 (emphasis added) (“when the inmate who was deaf “first arrived at the

prison facility, the District’s employees and contractors did nothing to evaluate [his] need for accommodation,
despite their knowledge that he was disabled. They did not ask [] what type of auxiliary aids he needed. They did not
hire an expert to assess [his] ability to communicate through written notes or lipreading as opposed to sign language.
They did not even consult the Department of Corrections’ own policies to figure out what types of accommodations
are ordinarily provided to inmates with hearing disabilities. Instead, they figuratively shrugged and effectively sat on
their hands with respect to this plainly hearing-disabled person in their custody, presumably content to rely on their


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own uninformed beliefs about how best to handle him and certainly failing to engage in any meaningful assessment
of his needs. … in so doing, the District denied [him] meaningful access to prison services and intentionally
discriminated against him on the basis of his disability in violation of Title II of the Americans with Disabilities Act
and Section 504 of the Rehabilitation Act.”).
120 Compare State of North Carolina Department of Public Safety Prisons, Policy and Procedure, infra at 3-4

(discussing prison system ADA Coordinator, prison ADA Compliance Specialists and Certified ADA Specialist,
Facility ADA Coordinator, Facility Disability Case Managers–Correctional Case Managers).
121 See infra Discussion of accommodation request logs and grievance practices at Hamilton A&I prison.
122 Compare Holmes v. Godinez, --- F.R.D. ---- (ND ED IL, 2015) (2015 WL 5920750), at 13-14.
123 Williams Deposition, supra at 180. Id. at 181 (warden authorized to develop standard operating procedures

(“SOPS”) that may address accommodations for inmates with disabilities). Id. at 182-185 (no standard SOPS for
accommodating female inmate with blindness or low vision, mobility impairment, deafness (see also infra facility
examples such as red stencil lettering and laminated card), intellectual disabilities, traumatic brain injury; but for
mental illness pertain to mental health provider provisions).
124 Compare ADOC Male Inmate Handbook, supra at 31 (“During the new arrival medical, dental, and mental

health intake process at the ADOC reception institution, you will be provided an ADOC Health Services Inmate
Handbook which will address inmate medical, dental, and mental health services in greater detail. Items such; as
how to file a health services grievance or grievance appeal form if necessary, how to request routine sick call
services, chronic care clinics conducted, periodic physical examinations completed, etc.”).
125 I also have been presented with information regarding Tutwiler Prison for Women; at ADOC033369 (Tutwiler

Prison: Standard operating Procedure, Number 13-15, Jan. 25, 2013) (II. Policy. This Grievance Procedure is
established to meet the requirements of the Americans with Disabilities Act. It may be used by Inmates who under
the Americans with Disabilities Act [sic] and who are alleging discrimination on the basis of their qualified
disability at Tutwiler Prison for Women.”). At ADOC033373 et seq. (ADA Grievance Forms and Appeal Forms;
ADA Complaint (Grievance) Log). The Hamilton A&I Prison ADA Inmate Grievance Procedure (April 10, 2007;
SOP HAIC #222-01), tracks the ADA Grievance Policy and Procedure established at Tutwiler Prison); see
ADOC033359 et seq. (Captain at Hamilton A&I assigned as Institutional ADA Coordinator; grievance forms and
logs not provided for my review).
126 At ADOC033369-70.
127 At ADOC033370.
128 At ADOC033370.
129 At ADOC033370.
130 At ADOC033371. Id. (“It is the responsibility of all [Tutwiler Prison] employees to ensure compliance with this

Standard operating Procedure. … (CMS) Correction [sic; Corizon] Medical Services and (MHM) Mental Health
Management Staff [sic; MHM Services] will forward all grievances to the Institutional ADA Coordinator.”).
131 At ADOC033371.
132 At ADOC033371. Id. (“The grievance should be submitted by the grievant and or her designee as soon as

possible, but no later than 30 calendar days after the alleged violation. The grievance must sate the disability the
inmate believes is not being reasonable accommodated. The grievance must also specify the accommodation or
service that the inmate needs. The grievance must be signed in front of a Administrative Lieutenant who will …
forward [it] to the Institutional ADA Coordinator.”).
133 At ADOC033371 (“The written and or verbal response will [sic] explain the position of the facility and offer

options for substantive resolution of the grievance.”).
134 At ADOC033371-72.
135 At ADOC033372. Id. (records of inmate disability and accommodations are to be transferred with the inmate

when transferred to another ADOC facility, with proposed discussion among the Wardens; possible accommodation
to convey procedures for inmates with vision and hearing impairments through assistance of staff or inmate law
library staff). Id. (policy may be suspended during an emergency by Warden for a specific period of time).
136 At ADOC033362.
137 See ADOC054024 - 025; 026 – 031 (portions were redacted). I initially reviewed these documents during my

Hamilton A&I site inspection.
138 Tooley filed one grievance and Timothy Sears filed two grievances.




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139 See also Tooley Depo at 33-34 (“Q And are you also unable to speak today? A Just a little bit. Not much. I don't
have much use of my voice. Not a hundred, not like you can, not like you hearing people can. I can say a word here
and there. … I was born deaf.”).
140 See, e.g., Tooley Depo at 108-09 (“I need help understanding the [grievance] form.”).
141 Tooley Depo at 8-9.
142 Tooley Depo at 8-9. Id. at 9 (“It’s best to have the interpreter so I can understand instead of writing back and

forth with a written communication.”).
143 Tooley Depo at 10-11. Id. at 23-24, 32. Id. at 11-12 (“Q Can you write? A Not well, not in complete sentences. I

prefer to communicate in American Sign Language. Q But can you write well enough to tell a doctor what is wrong
with you? A No. No. Q Why not? A My skills are poor to fair. I don't understand written English. I communicate in
American Sign Language. Q Can you read what others have written? A No. There are words that I don't understand.
I need explanation. It would depend on the sentence. I would have to all—I would have to ask what does it mean. I
would need an interpreter to clearly understand what the message was.”).
144 Tooley Depo at Depo at 88-89. See also Tooley Depo at 112 (“Q What specifically were you saying you wanted

a sign language interpreter for, and what specifically did you complain about in your grievance, when you said you
wanted a sign language interpreter? A To either have the disciplinary meeting or go to the doctor.”).
145 Tooley Depo at 13 (“I can use American Sign Language to communicate with her [girlfriend] instead of reading.

So, and then I'll use a TTY, but occasionally there's problems with that, but I prefer to have a video phone where I
could sign, use my native language. We could see each other.”).
146 Tooley Depo at 14.
147 Tooley Depo at 114-16, 118 (“Q Are you asking for anything in the lawsuit that does not have anything to do

with sign language interpreters? In other words, are you asking for other things? And tell me if you don't understand
my question. A I’m asking for a video phone to be able to have sign communications on the telephone instead of the
TTY. That way I can use an interpreter on the telephone. Q So, you’re saying that if there were a video phone here
at Hamilton that you would be able to communicate via the video phone with a sign language interpreter? A Right.
Q And you’re thinking about a situation where you could see the sign language interpreter on the video phone, and
the sign language interpreter could see you; is that correct?”).
148 Tooley Depo at 114-16, 118.
149 Tooley Depo at 122-24.
150 See, e.g., Inmate request Slip; at ADOC029967-969 (problems with access to TDD phone).
151 See, e.g., State Department of Corrections: “Classification Summary–“Special Needs: Communication

Comments: Subject deaf/mute; Communications Needs: [none listed].” At ADOC029974. Undated. Compare
ADOC029999. Classification Summary – “Special Needs: Communication Comments: Subject deaf/mute;
Communications Needs: Yes.” 5/18/2010. Id. at ADOC030030; ADOC030046. 5/24/2010; ADOC030062.
7/1/2014; ADOC030085. 6/26/2012; ADOC030096. 6/14/11. Inmate Classification Security Level: “Subject is
deaf/mute reports he had special education services as a child.” At ADOC029977. See also at ADOC029981 [form
to sign]. “By your signature below you acknowledge that you have received orientation regarding rules and
regulations of this facility. You have received a copy of the orientation, phone list, visiting and funds list form. You
were also given the opportunity to ask questions concerning the ADA procedure. By your signature below you
acknowledge that you were informed that a copy of this orientation is in the law library for your use.” INMATE
ORIENTATION TO MENTAL HEALTH SERVICES form; at ADOC029982. “The information on this form has
been explained to me and I have received a copy of this information for my future reference.” Reference ADOC AR:
604.611.612; ADOC Form MH-002 – November 4, 2005. ORIENTATION FORM: “I attended orientation on [5-1-
08-] and was given the opportunity to ask questions regarding the following: Canteen Procedures, Laundry
Procedures, Phone Calls, Visitation Procedures, Mail Room Procedures, Funds, Pill Call/Sick Call Procedures, Job
Assignments, Classification, Education Programs, Substance Abuse Programs, Psychological Services, Religious
Services, Dining Procedures, Law Library Hours, and HIV/AIDS, Wristbands, Smoke Free Institution, and "Hot
Dorm".” At ADOC029983.
152 See, e.g., INMATE IDENTFICATION FORM [no reference to disability]. At ADOC029983. Classification

Summary: INMATE CLASSIFICATION RISK ASSESSMENT· (CLAS011). At ADOC029302. ADOC
EASTERLING CORR FACILITY. PERSONAL DATA REPORT FOR TRANSFERRED INMATE. At
ADOC029329. Bullock. Inmate Food Service Worker Clearance. At. ADOC030095. “This Inmate’s Medical
Record has been reviewed and he/she has been examined: … He/she IS NOT medically cleared for duty as a food
service worker … due to hearing impaired deaf/mute.” (emphasis in original; italicized means handwritten). 4-30-
08. INMATE VISITING/FUNDS FORM. At. ADOC030106. Student Class Transcript for Tooley, all A+. Job


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Review Board. Job Placement and Management Level. At ADOC030198. “Job Skills: None on File.” ADOC
RECEIPT OF MEDICAL EQUIPMENT/APPLIANCE FORM. At MR014607 (“acknowledge receipt of the
following medical equipment or appliance: ( ) Splint ( ) Eyeglasses ( ) Dentures ( ) Prothesis [sic] ( ) Wheelchair ( )
Cane ( ) Crutches (Other) orthotic ankle book.” 4-7-14. [italicized is handwritten]. Id. at MR014609, 611, 612, 618,
620, etc. [crutches; bottom bunk 60 days, wheelchair as needed; report to pill call]. Id. at MR014627 [related inmate
request slip]. See also MR014636 (Harold Bragg, inmate with one arm requesting, Velcro fastening shoes).
SPECIAL NEEDS COMMUNICATION F'ORM; at MR014608 (Naproxen medicine). Corizon. Nursing Encounter
Tool. Musculoskeletal; at MR014673 (bottom bunk profile). Id. at MR014675 (bottom bunk request: “I am deaf. I
need to get profile bottom bunk for my ankle problem and deaf balance.” 2.14.15. Sick Call Request; at MR014676
(“I need to get interpreter sign language from Freeworld.”). Id. at MR014684, 685 (“I’m deaf.”). Id. at MR014696
(handwritten notes to communicate medical and program questions).
153 See also MENTAL HEALTH SERVICES. Pyschological Evaluation. “f. Easily victimized. Deaf/Mute”. At

ADOC030041. Id. at ADOC030039. “MMPI Welsh Code: deaf/mute.” [Welch Code/Grid to visualize results of
MMPI.]. Id. at ADOC030042. “Is deaf/mute and requires interpreter to communicate with sign language.” Dated:
4/23/08. INMATE AWARENESS ACKNOWLEDGEMENT. Acknowledge that I received an orientation on the
prevention, self-protection, reporting, treatment and counseling, relating to Inmate Sexual Offenses and Custodial
Sexual Misconduct. At ADOC030052. 6/30/11. Id. at ADOC030069. 9/9/2008; ADOC030091. 4/9/08 Kilby.
ADOC: SPECIAL NEEDS COMMUNICATION FORM. At ADOC030053. 1/31/11.
154 Moseley Depo at 15.
155 Compare Moseley Depo at 20 (Q. Have you identified a sick call request form you submitted in which

you requested physical therapy? A. No, sir.) Id. at 21-23 (Q. Have you at any time during your
incarceration requested physical therapy? A. Yes, sir. Q. When was the first time that you requested
physical therapy during your incarceration in the ADOC system? A. Speaking with the doctor at Kilby. …
Q. So, in July of 2007 you first requested physical therapy, correct? A. Yes, sir. Q. Were you relying on
any medical devices at that time like a wheelchair? A. Yes, sir. Q. What were you utilizing? A.
Wheelchair. Q. How many hours out of the day were you relying on a wheelchair? A. 24. Q. Were you
able to walk at all? A. No, sir. Q. Did you have any casts or splints on any portion of your body? A. No, sir.
… Q. And you said you spoke with the physician at Kilby, correct? A. Yes, sir. Q. And that was in July of
2007, correct? A. Yes, sir. Q. Tell me about that conversation. A. He told me that—I asked him about
physical therapy. He told me to talk to the doctor at my permanent housing unit. Q. What do you mean your
permanent housing unit? A. He said I would be going to another facility.
156 Moseley Depo at 24-25. Id. at 26 (Q. After this conversation with Dr. Siddiq, did you file a medical

grievance? A. No, sir. Q. After this conversation with Dr. Siddiq, did you fill out any sick call request
forms requesting physical therapy? A. No, sir. Q. Have you at any time requested physical therapy during
your incarceration at Easterling? A. No, sir. Q. And how long have you been incarcerated at Easterling? A.
Four years. Id. at 85-87 (Q. So, when you first arrived at Easterling you were notified of the existence of a
grievance process, correct? A. Correct. Q. Have you ever completed a medical grievance? A. Yes, sir. Q.
Do you remember where you were incarcerated when you completed a medical grievance? A. Bullock. Q.
Since arriving at Easterling, have you completed a medical grievance? A. No, sir. Q. What did you fill out a
medical grievance regarding at Bullock? A. Use of the handicap bathroom. Q. And did you receive a
response to that grievance at Bullock? A. No, sir. … Q. Have you ever submitted a grievance related to any
request for physical therapy? A. No, sir. Q. So, you weren't even aware of a grievance process before you
arrived at Easterling, correct? A. Yes, sir. Q. Are you aware that other inmates at Easterling had filed
medical grievances? A. I’ve heard of it.).
157 Moseley Depo at 107-08.
158 Moseley Depo at 137 (Q. If you had a choice between being housed at Bullock and Easterling, where would you

prefer to be housed? A. Bullock. Q. Why is that? A. It’s a lot more accessible than here. Q. What do you mean it’s a
lot more accessible? A. The showers, the urinals, toilets, they're all basically pretty much handicapped. They got
rails on each side. Pill call line is indoors. You don't have to wait out in the weather. From one housing unit like the
dormitory to the chow hall, you don't have to walk two or three miles. It's just right there. It's all close together.). Id.
at 139-40 (Q. Now, here [at Easterling], right now, do you have trouble using, you know, getting to the toilet? A.
No. Q. And using it? A. In our dorm, H dorm, you have two handicap toilets. You have two handicap showers. And
you have two handicap urinals. But the—any inmate uses them. It’s not just for handicapped, so, yes, it’s kind of
hard to use one that is being used or you have to wait, like if you have to use the bathroom and both of them is being
used, you just have to wait. The rest of them are low to the ground as far as the toilets. And trying to get up off of
them without a way to pull up off of them is hard. So, yes, it's, it’s pretty hard to get a hold of one whenever you

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need to. Q. What about urinals? A. Urinals? Urinals are not quite as bad. I mean, you don’t have any handrails on
them to hold yourself up or anything like that, but you have—their handicap urinals are shorter, they’re down further
on the wall. The rest of them are up higher. They are a little easier to use, but you have no way of holding yourself
there if you have to. There’s no rails or nothing on them. Q. Do you have any trouble getting to the handicap
showers in your dorm? A. Sometimes. Not all the time. Q. Is that because others are using them? A. Others are using
it, or they are being—someone in front of it using another shower pole.).
159 Moseley Depo at 146-47.
160 In Moseley’s case records, I have found illustrative documents such as: CMS Health Services Request Form; at

MR017629 (4-6-10; “inmates confined to w/c”), MR017630 (ADOC Special Needs Accommodation Form, medical
profiles, 4-6-10; e.g., shower in infirmary). Medical Coding Assessment Form; at MR011229 (4-25-11; “wheelchair
dependent”). RECEIPT OF MEDICAL EQUIPMENT/APPLIANCE FORM; at MR011248-49 (2-4-14; 5-23-14;
knee stabilizing brace).
161 Williams Deposition, supra at 33-34, 38. Id. at 59 (for continuing education courses, correctional officers, non-

correctional officers, and support staff receive the same courses). Id. at 61 (ADOC requires on the job training for a
correctional officer that transfers from one facility to another).
162 Williams Deposition, supra at 125-126. See also http://www.doc.state.al.us/ExecutiveBios.aspx (“Commissioner

Culliver is responsible for ensuring the effective daily operations of male correctional facilities. He supervises the
Transfer Division, Institutional Coordinators and the Emergency Response Teams. Mr. Culliver began his career
with the Department in 1981 as a Correctional Officer. He was Warden at Atmore CBF, Fountain CF and Holman
CF over a 10 year period. He was promoted to Correctional Institutional Coordinator in November of 2009. Culliver
has worked as a Technical Resource Provider (TRP) with the National Institute of Corrections. He was promoted to
his current position June 1, 2015.”).
163 Williams Deposition, supra at 99, 100-101 (Director of ADOC Training Division, oversees ADOC Training

Academy and in-service training to ADOC correctional officers, non-uniform and supervisory staff). See also
http://www.doc.state.al.us/ExecutiveBios.aspx (“Dr. Williams is responsible for ensuring the effective daily
operations of Women's Services and the Training Division. Dr. Williams began her career with the Department in
1987 as a Correctional Officer and worked her way through the ranks to Captain at Limestone Correctional Facility
and was later appointed to Director of Training for the department in September 2002. Dr. Williams was appointed
Deputy Commissioner for Women's Services on April 16, 2014.”). Named plaintiffs include female ADOC inmate
Cherry Baker, housed at the Tutwiler, with history of heart disease and medical problems, and uses a cane for her
condition rheumatoid arthritis, which causes pain, swelling, stiffness, and loss of physical function in her hands. See
Plaintiffs’ Second Amended Complaint, at 5, para. 11.
164 See, e.g., Deposition Testimony of Veronica Moore, CO at Limestone Prison who is responsible for TTY phone

systems at that facility.
165 Williams Deposition, supra at 109. Id. at 109-110 (no knowledge of ADA coordinators at ADOC women’s

facilities).
166 Williams Deposition, supra at 109. Id. at 142.
167 Williams Deposition, supra at 94. Id. (“Q. At the academy, are there topics, as part of the training, that are

specific to prisoners with disabilities? A. There are topics that educate 9 correctional officer trainees on responding
to inmates who exhibit unusual or out-of-the-ordinary needs or inabilities to perform functions or get from point A
to point B, and then they are instructed on how to follow up and make reports of that to supervision staff, and in
cases of medical or mental health.”).
168 Williams Deposition, supra at 127-128. Id. at 130-131 (“Q. … Does DOC require any training for correctional

officers regarding DOC's policies with respect to inmates with disabilities? A. What I do have knowledge of is the
on-the-job training provided to correctional officers at the facility, which includes a review of administrative
regulations and standard operating procedures specific to the facility that the employee works at. Q. … And when
you say at the facility, do you mean both male and female facilities? A. Yes. The OJT is required for both male and
female facilities. Q. So you have some knowledge of the OJT at the male facilities? A. The topic areas that are
required by training policy are listed on the OJT form that we provided.”).
169 Williams Deposition, supra at 123 (“Q. All right. Do you know if ADOC requires any ADA training for

classification specialists? A. Not to my knowledge, unless it is provided at the facility level by someone other than
training division employees.”). Id. at 124-125 (“Q. Does staff at Kilby receive any ADA training, other than the
training that you have discussed? A. I do not know. Q. And who would know the answer to that question? A. The


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Associate Commissioner for Health Services could possibly respond, if there's training provided other than what's
provided by the training division.”). Id. at 145. Id. at 146-151 (discussion of intake process and notifications to
medical staff of possible inmate impairments). Id. at 151 (no knowledge of ADA training to intake staff). Id. at 153
(no knowledge if intake staff receive training on how to identify various disabilities).
170 Williams Deposition, supra at 136.
171 Williams Deposition, supra at 95-96, 103.
172 Williams Deposition, supra at 143. Compare id. at 156-157 (ADOC accommodates women prisoners with

disabilities primarily by contacting medical staff).
173 Williams Deposition, supra at 185-186. Id. at 187 (ADOC staff not overrule a health care provider

accommodation decision).
174 Williams Deposition, supra at 157-158, 158. Id. at 159 (bottom bunk assignment as example of accommodation

for inmate with a disability, by contacting medical personnel). Id. at 161, 164-65 (no knowledge of accommodation
request process for female inmates).
175 Williams Deposition, supra at 159-160.
176 Williams Deposition, supra at 164-168, 170.
177 Williams Deposition, supra at 96, 103. Id. at 104-105 (At ADOC women’s facilities, training on communicating

with inmates with hearing disability include “red stencil” uniforms, versus regular black stencil, and laminated card
to inform others the inmate has a hearing impairment; sign language interpreters have been provided for inmates).
178 Williams Deposition, supra at 180.
179 Williams Deposition, supra at 97. Id. (“Q. Are correctional officers – do they receive continuing education

training on interacting with prisoners with physical disabilities? A. Correctional officers, during in-service training
and continuing education refresher courses, are reminded of their responsibility to be observant. And anything that
they recognize that's unusual about an inmate that might compromise his or her safety, they are required to report
that through supervision channels and, if necessary, to healthcare providers.”). Id. at 173 (housing accommodations
considered for female inmates with mobility impairments by health care provider). Id. at 175 (“Q. Do you know
whether there are any accessible segregation cells at Tutwiler? A. I just can't say for sure. I feel certain there are.”).
180 Williams Deposition, supra at 98, 100, 102, 103-104.
181 Williams Deposition, supra at 63.
182 Compare Tom Holcomb & Joy Kreeft Peyton, ESL Literacy for a Linguistic Minority: The Deaf Experience (July

1992); available at: http://www.ericdigests.org/1993/deaf.htm (“In spite of concerted efforts by educators to
facilitate the development of literacy skills in deaf individuals, most deaf high school graduates read English at
roughly a third or fourth grade level as determined by standardized reading assessments. In their writing, they often
make vocabulary and structural errors that include omitting or confusing articles, prepositions, and verb tense
markers, and they have difficulty with complex structures such as complements and relative clauses.”) (citations
omitted).
183 Jean F. Andrews, Cultural and Linguistic Challenges and Comprehending the Inmate Handbook, 36 Corrections

Compendium 1, 2 (Spring 2011). Id. at (citing research finding an overrepresentation of inmates with hearing
impairments in state prisons, with approximately 35 to 40 percent of inmates having some hearing impairment).
184 Jean F. Andrews, Cultural and Linguistic Challenges and Comprehending the Inmate Handbook, 36 Corrections

Compendium 1, 2 (Spring 2011). Compare Holmes v. Godinez, --- F.R.D. ---- (ND ED IL, 2015) (2015 WL
5920750), at 19 (Illinois prison staff inadequately trained to accommodate, understand, and communicate with deaf
and hearing impaired offenders; inmate “recalls an incident when he first entered [prison] in which he told
correction officers that he was deaf but they nonetheless expected him to answer when they called his name out loud
in a group. … [prison] employees often assume that he can hear because he does not know American Sign Language
(“ASL”) well, and thus they do not take the time to effectively communicate with him.”) (citations omitted).
185 Compare Pierce, 2015 WL 5330369, at *6 (given communicate deficiencies and lack of accommodations, deaf

inmate believed he had no choice but to sign documents presented to him by correctional staff).
186 Jean F. Andrews, Cultural and Linguistic Challenges and Comprehending the Inmate Handbook, 36 Corrections

Compendium 1, 2 (Spring 2011) (citations omitted).
187 Jean F. Andrews, Cultural and Linguistic Challenges and Comprehending the Inmate Handbook, 36 Corrections

Compendium 4 (Spring 2011) (for example, increasing comorbidity of hearing disability and cognitive learning and
mental health impairments).



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188 See also Notice of Proposed Rulemaking regarding ADA Title II regulations, 73 Fed. Reg. 34466, 34476 (June
17, 2008) (exchanging written notes may be an example of an auxiliary aid or service, however, it must be
appropriate to the situations). The ADA’s legislative history states: “technological advances can be expected to
further enhance options for making meaningful and effective opportunities available to individuals with disabilities.
Such advances may require public accommodations to provide auxiliary aids and services in the future which today
they would not be required because they would be held to impose undue burdens on such entities. …Indeed, the
Committee intends that the types of accommodations and services provided to individuals with disabilities, under all
of the titles of this bill, should keep pace with the rapidly changing technology of the times.” Id. at 1164, citing H.R.
Rep. 101–485(II), at 108 (1990), reprinted in 1990 U.S.C.C.A.N. 303, 391.
189 ADOC AR 705, Hearing Impaired Inmates (Nov. 4, 2005), available at:

http://www.doc.state.al.us/Regulations.aspx. AR 705 references AR 602, Mental Health Definitions, for definition
of terms such as “Deaf or Hearing-Impaired Person” and “Qualified Interpreter.” See ADOC AR 602, Mental Health
Definitions and Acronyms (Jan. 3, 2007), at ADOC; available at: http://www.doc.state.al.us/Regulations.aspx.
190 Compare Texas Department of Criminal Justice, Parole Division, Accommodations for Offenders with

Disabilities, PD/POP-3.2.16 (Aug. 30, 2011) (implications of ADA for supervision of offenders and procedures to
ensure the availability of effective communications with individuals with disabilities, such as acceptable reception,
interview, and conversation etiquette, and guidelines for compliance issues, local resources, and interpreter
services). Id. at 6 (American Sign Language Interpreters (“ASL”) has own syntax and grammatical structure, and
level III interpreter is “qualified interpreter” and “is necessary when the information being communicated is
complex, is exchanged for a lengthy period of time, or is related to a legal matter. A qualified interpreter is able to
interpret effectively, accurately, and impartially, as well as receptively and expressively, using any necessary
specialized vocabulary. … factors to be considered in determining whether an interpreter is required include the
context in which the communication is taking place, the number of people involved, and the importance of the
communication. … It is not the offender’s responsibility to provide an ASL interpreter for parole contacts.”).
191 See also ADOC AR 431, Inmate Phone System (providing for Telecommunication Device for the

Deaf/Teletypewriter (TDD/TTY) services; visual alarms for emergency services, closed-captioned television
programming). Id. at 1 (“It is the policy of the ADOC to provide an inmate telephone system at each institution to
maintain constructive family and community ties, and for controlling unauthorized use of the telephones by
inmates.”) (emphasis added); at 2 (Warden responsible for developing their institutional SOPs to implement AR
431and “for making accommodations for the deaf or hearing impaired inmates as required by AR 705, Hearing
Impaired Inmates.”) (emphasis in original); at 2 (institution will distribute the ADOC Form 431 to inmates when
received into institution; at 3 (Warden will establish telephone schedule to coincide in accordance with General
Population inmates, such that telephones will operate from 8:00 a.m. until 10:00 p.m. Sunday through Thursday.
Telephones will operate from 8:00 a.m. until 12:00 p.m. on Friday and Saturday. Duration of call will be 15 minutes.
Honor Dorm/Faith Based Programs may be allowed extra time as determined by the Warden.); at 4 (“Calls by deaf
or hearing impaired inmates using TDD/TTY equipment shall be allowed four times the duration allowed for voice
telephone calls as directed by AR 705, Hearing Impaired.”) (emphasis in original).
192 But see ADOC Male Inmate Handbook, supra at 7-8 (“During classification, you will also be given a score on a

risk assessment instrument to determine the security level of the institution you may be assigned. … Your placement
at a specific facility will also depend on your educational and treatment needs and medical/mental health
requirements.”) (emphasis added). In instances where classification and placement are based on a putative ADA
class-member’s disability-status, such determinations would violate the ADA and best practice in the area.
193 28 C.F.R. § 35.160(b)(2) (“35.160 General. (a) A public entity shall take appropriate steps to ensure that

 communications with applicants, participants, and members of the public with disabilities are as effective as
communications with others. (b)(1) A public entity shall furnish appropriate auxiliary aids and services where
necessary to afford an individual with a disability an equal opportunity to participate in, and enjoy the benefits of, a
 service, program, or activity conducted by a public entity. (2) In determining what type of auxiliary aid and service
is necessary, a public entity shall give primary consideration to the requests of the individual with disabilities.”).
194 See generally Guidance on ADA Regulation on Nondiscrimination on the Basis of Disability in State and Local

Government Services Originally Published July 26, 1991 (“DOJ Guidance on Original Title II Regulations”), 28
C.F.R. pt. 35, app. B (2011) at 205; available at:
http://www.ada.gov/regs2010/titleII_2010/titleII_2010_regulations.pdf) (e.g., “public entity shall honor the choice



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[of auxiliary aid] unless it can demonstrate that another effective means of communication exists or that use of the
means chosen would not be required under § 35.164.”).
195 DOJ Guidance on Original Title II Regulations, supra at 205. See also U.S. Department of Justice,

Communicating with People Who are Deaf or Hard of Hearing: ADA Guide for Law Enforcement Officers;
available at: http://www.ada.gov/lawenfcomm.pdf. See also DOJ Guidance on Original Title II Regulations, supra
at 72.
196 Deposed Nov. 13, 2015, with sign language interpreters (3/20-21). Pearson Depo at 9/4-7 (deaf whole life); at

9/14-16 (learned sign language at Alabama School for the Deaf in Talladega).
197 Pearson Depo at 10/16-18; 10/19-22.
198 Pearson Depo at 11/10-12. See also Pearson Depo at 37/6-10 (“there was no one to help me as a deaf person [in

prison]”; id. at 39/7-9 (other than being deaf, considers himself a normal person).
199 Pearson Depo at 33/23, 34/1-3 (Can read lips “A little bit. It depends on who. If a person enunciates and opens

their mouth wide, sometimes I can understand.”).
200 In regard to the lack of effective hearing aids provided by ADOC, Pearson testified (“I did apply for another

replacement hearing aid. And they said, okay, we'll look into it. And so about a year went by. And then finally I
asked again, and they said soon. And I said, "But I'm getting out in a month." And that's when they finally sent me a
new hearing aid and I got one, but I waited a long time. And I think it was about two weeks before I actually went
home that I got it, even though I had been asking and asking before. … I can’t really use it [a hearing aid] to
communicate. I would like to learn.” Pearson Depo at 59/22-23, 60/1-9; 61/2-3. Id. at 63/10-19 (“Q Well, was there
a particular reason that you wanted to have a hearing aid when you were in prison this last time, given what you've
just told me? A So, I could hear what was going on. Because I was trying to learn for the future to do better. I
wanted to get a job when I got out. And I kept asking for a hearing aid to help me and they turned me down.”). Id. at
64/17-20 (“Q When you are wearing your hearing aid, can you understand people speaking to you in the English
language? A No.”).
201 Pearson Depo at: 49/18-23, 50/1-6.
202 Pearson Depo at 156/5-15.
203 Pearson Depo at 65/18-23. See also Pearson Depo at 71/23, 72/1-10; 93/16-23, 94/1-5, 94/10-20, 99/19-23,

100/1-18.
204 Pearson Depo at 82/18-23, 83/1-23, 84/1. Pearson Depo at: 146/11-23.
205 Pearson Depo at 130/23, 131/1-15; Pearson Depo at 136/10-23, 137/1-21. Note AR 431, ADOC Grievance

Procedure for Inmates: signed by Pearson (Pearson Depo at: 139/19-23, 1-9).
206 Pearson Depo at 148/19-23, 149/1-2; Pearson Depo at 150-56.
207 Pearson Depo at 163/7-20, 164/10-23.
208 Pearson Depo at: 168/22-23, 169/1-19. See also Pearson Depo at 177/3-23, 178/1-5; Pearson Depo at 181/23,

182/1-23.
209 Pearson Depo at: 184/8-20.
210 Pearson Depo at 200-218.
211 Turner Depo at 19, 20-21, 30. Id. at 87 (Turner cannot read proficiently). Id. at 97 (Turner also is diagnosed with

hypertension and diabetes).
212 Turner Depo at 48. Id. at 77-78.
213 Turner Depo at 113-14.
214 Turner Depo at 119. Id. at 138-39.
215 See, e.g., Alabama Department of Mental Health and Mental Retardation Administrative Code, Chapter 580-3-24

Certification of Mental Health Interpreters for Persons Who are Deaf, Code of Ala. 1975, 22-50-11; Alabama
Licensure for Interpreters and Transliterators Act (ALBIT Licensure Law Section 34 Chapter 16), id. at Section 34-
16-3. See also Dennis Cokely, Interpreting Culturally Rich Realities: Research Implications for Successful
Interpretation, Journal of Interpretation: Millennial Edition 1-46 (2001) (not necessarily one-to-one correspondence
between English words and sign language signs for the deaf).
216 See RID website; available at: http://www.rid.org; ALRID; available at: http://www.alrid.org.
217 See 28 C.F.R. 35.104 (Qualified Reader who may take notes and write for others).
218 Compare Holmes v. Godinez, --- F.R.D. ---- (ND ED IL, 2015) (2015 WL 5920750), at 22 (parties agree that in

the past some inmates required to purchase their auxiliary aids and contest whether that remains Illinois prison’s
current policy).
219 See Pearson Depo at 52/19-23, 53/1-9. See also Pearson Depo at 91/5-23, 92/1-3; 92/8-23, 93/1-12.




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220 Pearson Depo at 53/11-15 (phone for deaf inmates located in the shift office).
221 Pearson Depo at 53/20-23, 54/1-23, 55/1-8, 55/20-21. Id. at 55/18-23, 56/1-2. Id. at 56/14-23. Id. at 57/22-23,
58/1-2, 58/3-23, 59/1-8. See also Pearson Depo at 94/21-23, 95/1-23, 96/1; at 96/16-19; at 112/7-22.
222 See Moore Depo at 6.
223 See also Moore Depo at 15.
224 Deposition Transcript of Tommie Lee Moore, at 42-44, 115 (June 24, 2015). Id. at 141-44.
225 Compare Armstrong, supra at 960 (“prison “violations are systemwide and extensive. They involve the

widespread denial of mobility-assistance devices to persons unable to physically function without them, the denial
of hearing devices to deaf class members, and the denial of accessibility devices, such as tapping canes, to blind
class members. These denials forced disabled class members into the vulnerable position of being dependent on
other inmates to enable them to obtain basic services, such as meals, mail, showers, and toilets.”).
226 See, e.g., Deposition of Adrienne Givens, at 92 (ADA coordinator did not know if Tutwiler death row cells were

accessible to persons with disabilities).
227 See, e.g., Deposition Testimony of Kenneth Peters (ADA Coordinator for St. Clair not know if GED program is

accessible to prisoners with disabilities); Deposition Testimony of Ernest Claybon (ADA Coordinator at Staton not
know if in GED classes materials provided in Braille for prisoners with vision impairments or if qualified sign
language interpreters were ever available).
228 See, e.g., Blanck observations at Easterling site inspection (inmate reported he was disallowed from attending

Work Release due to his mobility impairment).
229 See, e.g., Testimony of Ernst Claybon (ADA Coordinator at Staton testified that a deaf person would know there

is a fire alarm by “Either the inmate would tell them, an officer would tell them, or they would just kind of [follow
the crowd].”).
230 Greenberg, E., Dunleavy, E., & Kutner, M. (2007). Literacy Behind Bars: Results from the 2003 National

Assessment of Adult Literacy Prison Survey (NCES 2007-473), U.S. Department of Education, Washington, DC:
National Center for Education Statistics).
231 See, e.g., Parsons, 754 F.3d at 678 (inmates should not be housed in administrative segregation on the basis of

their disabilities alone); Hernandez, supra at 43; Hernandez et al. v. County of Monterey, Order granting Motion for
Preliminary Injunction (Case No.: 5:13-cv-2354-PSG, ND CA, San Jose Div., Apr. 14, 2015).
232 Compare Court’s opinion in Wyatt ex rel Rawlins v. Sawyer, 219 F.R.D. 529, 531 (2004) (“principles of humane

treatment of people with mental illness and mental retardation embodied in this litigation have become part of the
fabric of law in this country and, indeed, international law.”). Id. at 532 (“Patients were housed in inhumane
conditions in “barn-like” dormitories plagued by overcrowding, extreme ventilation problems, and fire and other
emergency hazards. Wyatt v. Stickney, 334 F.Supp. 1341, 1343 (M.D. Ala., 1971). Hospital staff was under-
qualified and stretched thin, and patients did not have individualized treatment plans. Id. at 1343–44. “Also
contributing to the poor psychological environment [were] the shoddy wearing apparel furnished the patients, the
non-therapeutic work assigned the patients ... and the degrading and humiliating admissions procedure which
create[d] in the patient an impression of the hospital as a prison or as a ‘crazy house.’ ” Id. at 1343.)” Id. at 533
(“Wyatt heightened public awareness of the needs of institutionalized people and people with mental illness and
mental retardation.”).
233 See, e.g., Lisa Schur, Lisa Nishii, Meera Adya, Douglas Kruse, Susan M. Bruyere, & Peter Blanck,

Accommodating Employees With and Without Disabilities, Human Resource Management, 53(4), 593-621 (2014).
234 See, e.g., Tutwiler Settlement 2015, supra, at 4. ADOC has endorsed that to implement, revise, update, and

comply with policies and procedures, such as in Administrative Regulations, in practice means: “the policy has been
drafted and disseminated to all staff responsible for following or applying the policy; all relevant staff have been
trained on the policy; compliance with the policy is monitored and tracked through compliance tools; the policy is
consistently applied and followed, as demonstrated by the compliance tools; and there are corrective action
measures to address lapses in application of the policy.”
235 Compare Holmes v. Godinez, --- F.R.D. ---- (ND ED IL, 2015) (2015 WL 5920750), at 12 (use of central

database and/or document system to identify and monitor inmates with disabilities and potential accommodations).
236 Compare Tutwiler Settlement 2015, supra at 22-25 (e.g., quality improvement systems and data collection

requirements to include, for example, information on standard instruments, methods of data collection). Id. at 23
(“ADOC and Tutwiler shall ensure that grievance forms are available on all units. ADOC and Tutwiler shall assist
inmates … in accessing the grievance system.”). Id. at 17 (Tutwiler educational and training materials are “conveyed



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and made available in formats accessible to all inmates”) Id. at 19 (requirement risk assessment procedures at intake
screening to include whether inmate has a mental, physical, or developmental disability).
237 Compare Tutwiler Settlement 2015, supra at 22-25 (e.g., confidentiality, education, lack of retaliation).
238 Tutwiler Settlement 2015, supra at 19 (compare with ADOC risk assessment procedures that screen for risk of

victimization and abusiveness, … victims … inmates shall be assessed during an intake screening within 72 hours of
arrival. … The intake screening shall include, at a minimum, the following criteria to assess inmates for risk of
sexual victimization: 1. Whether the inmate has a mental, physical, or developmental disability.”). Compare
Hernandez et al., v. County of Monterey et al., Settlement Agreement, supra at 11-12.
239 Compare Holmes v. Godinez, --- F.R.D. ---- (ND ED IL, 2015) (2015 WL 5920750), at 43 (Illinois prisoners

contend “hearing impaired inmates, who cannot hear the auditory announcements, are often forced to rely on the
goodwill of fellow inmates, and in some cases miss meals, visitors, church services, medical appointments,” with
anecdotal examples provided by inmates and prison officials).
240 Compare State of North Carolina Department of Public Safety Prisons, Policy and Procedure, supra at 13 (“(j)

Training. (1) ADA Training will be provided to all current Department of Public Safety Prisons staff on the policy
and procedure regarding the ADA Process for inmates. New employees will be provided ADA Training as part of
new employees Orientation. (2) All Department of Public Safety Prisons staff are mandated to annually attend ADA
for Inmates Training. (3) All Department of Public Safety Prisons staff will be trained through use of audio and
visual methods and will be provided printed educational information on the ADA Policy and Procedures regarding
the ADA and inmates.”).
241 Compare Commonwealth of Pennsylvania Department of Corrections, Reasonable Accommodations for Inmates

with Disabilities, supra at 1-2 (“Housing Unit Staff who have primary supervisory responsibility for an affected
inmate may obtain out-service training to learn methods of communicating with the inmate and/or managing his/her
specific disability in accordance with Department policy 5.1.1, “Staff Development and Training.”).
242 Compare Tutwiler Settlement 2015, supra at 2. Compare also State of North Carolina Department of Public

Safety Prisons, Policy and Procedure, supra at 3-4 (“(j) Prisons ADA Coordinator–A position at the Prisons
Administration level who is responsible for overseeing the implementation and coordination of this policy within
Prisons. For purposes of this policy and program that person will be the Social Work Program Director/designee. (k)
Prisons ADA Compliance Specialists–Certified ADA Specialist positions at the Prisons Administration level who
will assist the Prisons implementation and coordination of this policy and who will be responsible for ensuring that
all facilities comply with the ADA law when developing, maintaining and implementing inmate jobs, programs,
activities and services. This responsibility will also involve identifying and correcting any non-compliance and/or
barriers to compliance. (l) Facility ADA Coordinator–A position designated by the Director of Prisons to ensure
compliance and implementation of this policy within a prison facility. For purposes of this policy and program, that
position shall be the Assistant Superintendent for Programs at each facility. In the absence of an Assistant
Superintendent of Programs, the Facility ADA Coordinator shall be the facility’s highest ranking Program staff
member under the Facility Head. (m) Facility Disability Case Managers–Correctional Case Managers who have
been trained to assist inmates with disabilities that have been identified under the American Disability Act (ADA).
Each facility will designate one or more Case Managers as their Disability Case Manager. Although this Case
Manager can have other inmates assigned to his or her caseload, all ADA inmates housed at the facility will be
assigned to this Case Manager. An inmate who has been flagged as an ADA inmate will be assigned to the case load
of a Disability Case Manager. These Case Managers have received specialized training in assisting qualified inmates
with disabilities. The Disability Case Manager will document their bi-monthly contact with the ADA inmate on the
IP60/61 OPUS screen using case management note type 73 (ADA Offender Management). The Disability Case
Manager will document their once a month contact with the DD inmate on the IP60/61 OPUS screen using case
management note type 52 (Developmental Disability). When an inmate has been flagged “yes” for both DD and
ADA, the rules and practices for DD will be used in providing case management Services for the inmate. (n) Mental
Health Social Worker–Mental Health social workers are those social workers in Health Services assigned
organizationally under the Director of Mental Health and the Director of Social Work Services.”). See also Callous
and Cruel: Use of Force against Inmates with Mental Disabilities in U.S. Jails and Prisons, supra at 15 (“symptoms
of some individuals with mental health conditions may be subtle, discernible only to clinicians. Prisoners with
serious depression, for example, may appear merely withdrawn and unsociable. The conditions of others may be
readily evident: they are agitated, cannot talk coherently, bite themselves aggressively, repeatedly bang their heads



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against walls, or call out for help against unseen persecutors. Some live in a world constructed around their
delusions.”).
243 Tutwiler Agreement 2015, supra at 8. Compare Commonwealth of Pennsylvania Department of Corrections,

Reasonable Accommodations for Inmates with Disabilities, supra at 3-1 – 3-2 (“Section 3 – Specific Disabilities.
An inmate who is diagnosed as having a qualified disability will receive accommodations so that he/she can
properly communicate/participate in the Department’s facilities. An inmate will not be denied services solely for
reason of his/her disability(ies). A. Local Procedures. Each Facility Manager/designee is to ensure that local
procedures are developed, if needed, and maintained to ensure compliance with this policy. Each facility shall also
be in compliance with Management Directive 205.32, Hiring Sign Language Interpreters and Transliterators. B.
Accommodations for the Deaf and Hard of Hearing. The following is a mandatory list of services that must be
provided for an inmate who is qualified as deaf or hard of hearing during emergency evacuation procedures. 1. Fire
Alarm/Emergency Notification Systems. Areas housing a deaf or hard of hearing inmate must have a flashing alarm
and/or vibrating system and written procedures that direct staff to physically notify the inmate in case of an
emergency. Areas such as bathrooms, Security Level 5 Housing Units, and medical isolation cells must be included
in the procedures. All facilities shall comply with the National Fire Protection Association Life Safety Code, No.
101. 2. Announcements. Any procedures or directions to an inmate that rely on a loudspeaker system must be
modified to alert a deaf or hard of hearing inmate; written procedures must include these provisions. C.
Accommodations for the Visually Impaired. A facility shall have proper evacuation procedures to include an audible
emergency alarm system and provide a qualified visually impaired inmate with the proper evacuation procedures
upon assignment to a facility. A copy of an inmate roster shall be maintained in the control room and used by staff to
alert a qualified visually impaired inmate of an emergency. A facility housing qualified visually impaired inmates
shall have Braille signage that identifies rooms, spaces, instructions, etc. D. Accommodations for the Mentally
and/or Physically Impaired. The Department shall provide an inmate diagnosed with a qualified mental and/or
physical impairment assignment to a facility or Special Needs Unit that provides reasonable accommodations for
this impairment. However, the Department may refuse access to recreation if participation by the qualified disabled
inmate would alter the nature of the program or activity or if it presents a valid safety concern, an undue financial
burden or if the inmate is unable to perform the basic function of the activity.”) (citations omitted). Compare
Holmes v. Godinez, --- F.R.D. ---- (ND ED IL, 2015) (2015 WL 5920750), at 7 (need for ADA inserts into inmate
orientation handbooks).
244 Compare Callous and Cruel: Use of Force against Inmates with Mental Disabilities in U.S. Jails and Prisons,

supra at 6 (“Effective leadership is required to ensure policies are reflected in practice. Leadership is essential in any
institution, but is particularly important in jails and prisons because they are operated as hierarchical organizations
subject to a quasi-militaristic chain of command and there is little external pressure for the humane treatment of
prisoners.”). See also Angela Browne, Allison Hastings, & Kaitlin Kall, Keeping Vulnerable Populations Safe under
PREA: Alternative Strategies to the Use of Segregation in Prisons and Jails, supra at 19 (Vera Institute, PREA
Resource Center, 2015) (creating and monitoring a zero-tolerance culture that takes verbal and physical harassment
seriously towards vulnerable inmates, such as putative ADA sub-class members).
245 See http://www.doc.state.al.us/Regulations.aspx.
246 Compare Holmes v. Godinez, --- F.R.D. ---- (ND ED IL, 2015) (2015 WL 5920750), at 7 (Illinois prison system

“ADA Directive,” which among other areas is “to provide instructions to staff for providing
accommodations to offenders with disabilities.”). Id. (“The purpose of the ADA Directive is ‘to provide instructions
to staff for providing accommodations to offenders with disabilities.’”).
247 See, e.g., Gloria L. Krahn, Deborah Klein Walker, & Rosaly Correa-De-Araujo, Persons With Disabilities as an

Unrecognized Health Disparity Population, American Journal of Public Health, Supplement 2, 105(S2), S198-206,
at S201 (Feb. 17, 2015) (adults with disabilities four times more likely to report their health to be fair or poor than
people with no disabilities; citing studies in support; using the National Health Interview Survey, United States,
2010, finding cumulative impact of experiences over the life course result in prevalence rates of disability as a
proportion of population that increase with age, and majority of people with disabilities are younger than 65 years
with one third at ages 44 to 65 years).
248 See, e.g., Krahn, et al., supra (citations omitted).
249 See, e.g., Thomas et al., supra at 2 (citing studies in support). Id. at 9-10 (finding positive association among

substance abuse, mental health conditions, and recidivism, and between intellectual disability and recidivism).



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250 See, e.g., Mollie W. Marti & Peter Blanck, Attitudes, Behavior, and the ADA, in Peter Blanck (ed.), Employment,
Disability, and the Americans with Disabilities Act: Issues in Law, Public Policy, and Research, 356-84 (2000)
(citations omitted) (“Persons with physical and mental disabilities are among those minority groups most
stigmatized by society”). See also Peter Blanck & Mollie W. Marti, Attitudes, Behavior, and the Employment
Provisions of the Americans with Disabilities Act, Villanova Law Review, 42(2), 345-408 (1997).
251 See, e.g., Jennifer Skeem & Lynne Bibeau, How Does Violence Potential Relate to Crisis Intervention Team

Responses to Emergencies?, Psychiatric Services, 58(2), 201-04, at 203 (Feb. 2008) (officers trained in crisis
intervention tended to use “force conservatively, even with subjects who posed an extreme risk of violence.”).
252 See, e.g., O’Keefe et al., supra at 86 (detrimental effects of medication noncompliance worsened by prison

environment, such as lack of accessibility, overcrowding, excessive noise and uncomfortable temperatures).
253 See generally Linda Krieger, The contents of our categories: A cognitive bias approach to discrimination and

equal employment opportunity, Stanford Law Review, 47, 1161-248 (1995).
254 See, e.g., Amy C. Watson, Patrick W. Corrigan, & Victor Ottati, Police officers’ attitudes toward and decisions

about persons with mental illness, Psychiatric Services, 55(1), 49-53, at 52 (2004) (schizophrenia label associated
with increased perceptions of dangerousness, although may also be reflection of experience with a person
with mental illness who became violent). Id. at 53 (although persons with mental illness, particularly who
are experiencing psychotic symptoms and those abusing drugs and alcohol, have increased rates of violent behavior,
most are not violent”). Id. (“Skills training in the recognition of mental illness coupled with effective
communication and deescalation strategies will assist officers in successfully resolving contacts with persons with
mental illness who are in crisis.”).
255 Research, my own and by others, shows bias towards people with disabilities may be mitigated when decision

makers are held accountable for their decisions through clear policies, procedures, and best practices. See, e.g.,
Leonard Sandler & Peter Blanck, Accessibility as a Corporate Article of Faith at Microsoft: Case Study of Corporate
Culture and Human Resource Dimensions, Behavioral Sciences & the Law, 23(1), 39-64 (2005).
256 See House Comm. Judiciary, H.R. Rep. No. 101-485, pt. 3, at 50 (1990), reprinted in 1990 U.S.C.C.A.N. 445,

473.
257 See, e.g., Tutwiler Settlement 2015, supra at 3. See also Hernandez et al., v. County of Monterey et al.,

Settlement Agreement, at 2 (N.D. Cal., Case No. CV 13 2354 PSG, Sept. 8, 2015) (definition of “substantial
compliance with settlement agreement and implementation plan).
258 Pierce, 2015 WL 5330369 at 1 (citations omitted).
259 The U.S. Department of Justice has noted why regulations are needed in this regard: “Historically, individuals

with disabilities have been excluded from [prison] programs [that] are not located in accessible locations, [and]
inmates with disabilities have been segregated in units without equivalent programs. In light of the Supreme Court's
decision in Yeskey and the requirements of [ADA] title II, however, it is critical that public entities provide these
opportunities to inmates with disabilities. In proposed § 35.152, the Department sought to clarify that title II
required equal access for inmates with disabilities to participate in programs offered to inmates without disabilities.”
Discussion of 28 C.F.R. Pt. 35, App. A., as revised § 35.152 in Fed. Reg., 75(178), at 56222 (Sept. 15, 2010).
260 See, e.g., Robertson, 500 F.3d at 1199 (“because the [Department of Corrections] facility makes the activity

available to detainees in general, it must do so on nondiscriminatory terms.”).
261 Compare Holmes v. Godinez, --- F.R.D. ---- (ND ED IL, 2015) (2015 WL 5920750), at 69 (Plaintiffs’ expert

concluded that Illinois prison “has instilled a culture of accepting non-compliance with the ADA’s requirement to
provide deaf and hard of hearing inmates with effective communication.” …) (citations omitted).
262 See, e.g., ABA Standards, supra at 77 & n.94 (citing U.S. DOJ that “[a]ccessible cells do not compromise the

security of prison personnel. In fact, having accessible cells increases security because they allow inmates with
mobility disabilities to function independently, minimizing the need for assistance from guards.”; quoting U.S.
Dep’t of Justice, Civil Rights Division, Disability Rights Section, ADA/Section 504 Design Guide: Accessible Cells
in Correctional Facilities (Feb. 2005); available at: http://www.ada.gov/accessiblecells.htm).




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                                                          VITA

                                                     PETER BLANCK


Birth: 27 August 1957. Elmont, New York, U.S.A.
Married, Wendy; four children, Jason, Daniel, Albert, & Caroline; Harry (dog)

EDUCATION

1983-1986                      STANFORD UNIVERSITY SCHOOL OF LAW, Stanford, CA. J.D.
                               President, Volume 38, STANFORD LAW REVIEW.

1982-1983                      HARVARD UNIVERSITY, Department of Psychology and Social Relations,
                               Cambridge, MA. Post-Doctoral Fellow.

1979-1982                      HARVARD UNIVERSITY, Cambridge, MA. Ph.D., Social Psychology.

                               Doctoral Thesis: “Children’s ability to decode discrepant and consistent social
                               communications: Learning how, when, and who to decode.”

                               Minor field: Organizational Behavior—“Field research in organizations.”

1975-1979                      UNIVERSITY OF ROCHESTER, Rochester, N.Y.

                               B.A. Magna cum laude, Psychology.

EMPLOYMENT

2005-current                   University Professor, Syracuse University–highest faculty rank granted to eight prior
                               individuals in the history of the University, “honors faculty whose exceptional scholarly
                               and other professional accomplishments merit recognition by peers in the U.S. and
                               abroad.” The late U.S. Senator Daniel P. Moynihan was University Professor at Syracuse.

                               In addition, appointments as professor in the Syracuse University Colleges of Law and of
                               Arts and Sciences, School of Education, Falk College, and the Maxwell School of
                               Citizenship and Public Affairs.

2005-current                   Chairman, Burton Blatt Institute, Syracuse University

2002-2006                      Charles M. and Marion Kierscht Professor of Law, University of Iowa, College of Law

2000-2006                      Director, Law, Health Policy & Disability Center, University of Iowa, College of Law

1999-2006                      University of Iowa, College of Public Health, Department of Occupational Medicine and
                               Environmental Health, Professor (by Courtesy)

1997-2006                      University of Iowa, College of Medicine, Department of Preventive Medicine and
                               Environmental Health, Professor (by Courtesy)



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1994-1995                      Princeton University, Woodrow Wilson School of Public and International Affairs,
                               Center of Domestic and Comparative Policy, Fellow

1994-2006                      University of Iowa, Department of Psychology, Professor

1993-2006                      University of Iowa, College of Law, Professor of Law

1990-1993                      University of Iowa, College of Law, Associate Professor of Law

1987-1990                      Covington & Burling. Associate, Washington, D.C.

1986-1987                      Law Clerk, Judge Carl McGowan, United States Court of Appeals, D.C. Circuit.

1982-1983                      Harvard University, Graduate School of Business. Research Associate and faculty.

RESEARCH GRANTS, CONTRACTS, AND MAJOR GIFTS (Illustrative)

For a detailed listing of awards to LHPDC and BBI, see bbi.syr.edu; total more than $65 million.

2015                           From the National Institute on Disability, Independent Living, and Rehabilitation
                               Research (NIDILRR), U.S. Department of Education, Understanding and Increasing
                               Supported Decision-Making’s Positive Impact on Community Living and Participation
                               Outcomes, PI, 5 year grant.

2015                           From YMCA Greater Grand Rapids, Mary Free Bed YMCA, Universal by Design, PI.

2014                           From Quality Trust for Persons with Disabilities, Administration on Community Living
                               (HHS), National Resource Center for Supported Decision-Making (NRC-SDM), PI, 5-
                               year agreement.

2014                           From Onondaga Community College, U.S. Dept. Labor, Office of Disability &
                               Employment Policy, Onondaga Pathways to Careers (OPC) Demonstration Project, BBI,
                               3-year grant.

2013                           From Quality Trust for Persons with Disabilities, Supported Decision-Making as an
                               Alternative to Guardianship, PI, 4-year agreement.

2013                           From Tresness Family, Gift to BBI for Communication, Hope and Assistive Technology
                               (CHAT) Program.

2013                           From Olinsky Law Group, Social Security disability supports, Kelley Bunch and Diana
                               Foote, Project Leads, 5-year agreement.

2012                           From Rehabilitation Engineering and Assistive Technology Society of North America
                               (RESNA), Accessible Technology Action Center (ATAC), Office of Disability
                               Employment Policy (ODEP), U.S. Department of Labor.

2012                           From IMPAQ, Evaluation of One-stop Career Centers’ Accessibility to Persons with
                               Disabilities, U.S. Department of Labor, PI, 2 year grant.



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2012                           From Institute for Rehabilitation and Research, National Institute on Disability Research
                               and Rehabilitation (NIDRR), U.S. Department of Education, Community and Work
                               Participating Disparities: A program of the ADA Participatory Action Research
                               Consortium (ADA-PARC), Katherine McDonald BBI PI, 5 year grant.

2011                           From the National Institute on Disability Research and Rehabilitation (NIDRR), U.S.
                               Department of Education, Southeast ADA Center, PI, 5 year grant.

2011                           From the U.S. Department of Veterans Affairs, Veteran Employees in Large U.S.
                               Business, BBI PI, 1 year contract with second year option.

2010                           From the U.S. Department of Labor/Veterans (DOL/VETS), Homeless Veterans
                               Reintegration Project Technical Assistance Center, Gary Shaheen BBI PI, 3 year grant.

2009                           From the National Institute on Disability Research and Rehabilitation (NIDRR), U.S.
                               Department of Education, Center on Effective Delivery of Rehabilitation Technology
                               (CERT) by Vocational Rehabilitation Agencies, 5 year grant.

2009-2011                      From New York State, Office Mental Health, Medicaid Infrastructure Grant (MIG)

2008                           From Rehabilitation Services Administration (RSA), U.S. Department of Education,
                               Southeast Technical Assistance and Continuing Education (TACE) Learning Consortium,
                               5 year grant.

2008                           Syracuse University Kauffman Foundation Enitiative Grant, Entrepreneurship Bootcamp
                               for Veterans with Disabilities, 2 year grant.

2008                           From the National Institute on Disability Research and Rehabilitation (NIDRR), U.S.
                               Department of Education, Asset Accumulation and Economic Self-Sufficiency for People
                               with Disabilities, 3 year grant.

2007                           From POETA (Partnership in Opportunities for Employment in Technology for the
                               Americas), of The Organization of American States (OAS), for disability research in
                               Latin America.

2007                           From the World Bank, for Global Partnership for Disability and Development (GPDD).

2007                           From YAI/National Disability Institute, for study on corporate attitudes and disability.

2007                           From the Israeli Ministry of Social Welfare, for the BBI/Israel Projects.

2006                           From the National Institute on Disability Research and Rehabilitation (NIDRR), U.S.
                               Department of Education, Southeast Disability Business & Technical Assistance Center
                               (SE DBTAC), 5 year grant.

2006                           From the U.S. Department of Labor, Office of Disability Employment Policy (ODEP),
                               for national consortium on “Disability Case Study Research Consortium on Employer
                               Organizational Practices In Employing People With Disabilities.”




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2006                           From U.S. Department of Labor, Employment Training Administration (ETA), to
                               evaluate emergency preparedness policies in gulf coast.

2006                           From the U.S. Department of Labor, Office of Disability Employment Policy (ODEP), to
                               study Self-Employment with Onondaga County, New York.

2006                           From the Center for International Rehabilitation (CIR), to study international disability
                               rights developments.

2006                           From the U.S. National Institute on Disability Research and Rehabilitation (NIDRR),
                               U.S. Depart. Education, Demand-Side Employment Placement Models for Persons with
                               Disabilities.

2006                           From Destiny Corporation, BBI Project Gift.

2005                           From the Hammerman Family Foundation, BBI Endowment Gift.

2005                           Appropriation in FY 2005 Omnibus Appropriations Bill – Rehabilitation Research and
                               Training Center (RRTC) on Workforce Investment and Employment Policy.

2004                           From the U.S. Dept. Labor and Social Security Administration–research on Workforce
                               Investment Act One-Stops, and Disability Program Navigators.

2004                           From Stan and Gail Richards, LHPDC Endowment Gift.

2003                           From NIDRR, U.S. Dept. Education, Asset Accumulation and Tax Policy for Persons
                               with Disabilities.

2003                           From Merrill Lynch Global Philanthropy, “Corporate Culture and Disability.”

2003-2005                      From the Nellie Ball Trust Research Grant, “Stigma and Mental Disability.”

2003                           From Guardsmark LLC, gift to establish the Alan Ross Hawley Lecture Series at the Law
                               Health Policy & Disability Center.

2002                           From NIDRR, Technology for Independence: A Community-Based Resource Center.

2002-2007                      From the Job Accommodation Network (JAN), U.S. Department of Labor, research of
                               provision of workplace accommodations.

2002                           From the U.S. Department of Labor, research on Workforce Investment Act.

2002-2006                      From NIDRR, direct Rehabilitation Research and Training Center (RRTC) on Workforce
                               Investment and Employment Policy for Persons with Disabilities

2002                           From Milbank Foundation, research disaster mitigation persons with disabilities.

2001-2007                      From NIDRR, “IT Works,” information technology jobs for persons with disabilities.

2001                           From the U.S. Dept. Labor – research on Workforce Investment Act One-Stops.


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2000                           From Microsoft – Research on Corporate disability and employment policy.

2000                           From NIDRR, subcontract with Community Options, Inc., Director, Researchers’
                               Symposium – Qualitative Research Methods research on ADA and employment policy.

1999-2005                      From Robert Wood Johnson Foundation, subcontract with George Washington Univ.,
                               research and technical assistance employment policy and persons with disabilities.

1999-2005                      From U.S. Department of Justice, subcontract Great Plains Disability Bus. & Tech. Ass’t.
                               Ctr., research, technical assistance on employment policy, persons with disabilities.

1999-2005                      From U.S. Rehabilitation Services Administration (RSA), subcontract with Univ.
                               Missouri, provide technical assistance, employment policy persons with disabilities.

1999                           Polk County Health Services to conduct research and provide technical assistance on
                               employment policy and persons with mental disabilities.

1998-1999                      From U.S. Social Security Administration, subcontract Iowa Dept. Human Services,
                               conduct research employment policy, persons with disabilities.

1998-2004                      From NIDRR, subcontract with Community Options, Inc., conduct research on ADA and
                               employment policy.

1997-1998                      From Iowa CEO, to study the implications of the staffing industry on the employment of
                               persons with disabilities, and case study of Manpower Inc.

1997                           From National Organization on Disability, social participation persons with disabilities.

1997                           Director, Obermann Center for Advanced Studies Fellowship Grant, University of Iowa
                               grant to study ADA.

1997                           From National Council on Disability to Iowa Law, Health Policy and Disability Center,
                               grant to support conference and study of “Socially Assisted Dying.”

1994-2006                      Director, Law, Health Policy & Disability Center, Iowa College of Law Foundation.

1992-1996                      From the Annenberg Washington Program, grant to study the ADA.

1991-1996                      From State of Wyoming, to Iowa Law College, Integration Persons with Mental
                               Disabilities.

1990-1994                      From State of Oklahoma, data sharing administered at University of Iowa College of
                               Law, Empirical Study of the Americans with Disabilities Act.

RESEARCH and APPLIED EXPERIENCE (Illustrative)

2011-                          Advisory Board, Institute on Disability and Public Policy (IDPP)

2011-                          Israel Ministry of Welfare and Social Services, Member, Expert Committee on Future of
                               Deinstitutionalization and Community Living in Israel.


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2010-                          Saks Center for Law, Mental Health, and Ethics, Board Member, USC, Los Angeles.

2008-                          Centre for Disability Law and Policy, Advisory Forum Board, Galway, Ireland.

2008-2012                      National Research Advisory Panel, National Technical Assistance and Research Center
                               to Promote Leadership for Increasing Employment and Economic Independence of
                               Adults with Disabilities (NTAR Leadership Center).

2006-                          Faculty Affiliate, Aging Studies Institute, Syracuse University.

2004-2006                      Chair, Blue Ribbon Panel, ADA Impact Study, National Council on Disability.

1995-2001                      U.S. District Court Facilitator, Chris S. et al. v Geringer et al., State of Wyoming.

1994-1996                      Senior Fellow, Annenberg Washington Program–“Communicating the ADA.”

1993-1996                      Senior Fellow, Annenberg Washington Program–“Communications Technology for
                               Everyone: Implications for the Classroom and Beyond”

1992-1993                      Fellow, Annenberg Washington Program–“The Americans with Disabilities Act”
                               Annenberg Washington Program–“Communicating with Juries.”

1991-1994                      Member, Compliance Advisory Board, Weston v. WSTS, State of Wyoming.

1988-1992                      Legal/Program Counsel, Developmental Disabilities Ser. Division, State of Oklahoma.

1982-1983                      Research Associate, Graduate School of Business Administration, Harvard University.

1979-1982                      Research Assistant to Robert Rosenthal, Psychology & Social Rel., Harvard University.

1978-1979                      Research Assistant to Miron Zuckerman, Department of Psychology, Univ. of Rochester.

1977-1978                      Research Assistant to Edward L. Deci, Department of Psychology, Univ. of Rochester.

PRIMARY RESEARCH, TEACHING AND PRACTICE INTERESTS

Legal: Contracts; public law litigation; social science and the law; web and technology accessibility.

Disability Law: Americans with Disabilities Act law and policy; rights of individuals with disabilities in institutions
and community settings; international disability and human rights law; web accessibility and Universal Design.

Psychology and the Law: Law and ethics in behavioral sciences; verbal and nonverbal communication in applied
settings; social science experimental and field research methods.

TEACHING EXPERIENCE

2009 & 2010                    Syracuse University, Disability Law.

2006-2007                      Syracuse University Undergraduate Honors Program.



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2000-2005                      Law, Health Policy, and Disability Law.

1998-1999                      Learning Disability and the Law.

1995                           Family, Society, and Disability Law, University of Iowa, College of Law.

1991                           Federal Disability Law, University of Iowa, College of Law.

1991-1993                      Litigation, Social Science & Social Change, University of Iowa, College of Law.

1990-1998, 2001                Contracts I, University of Iowa, College of Law (small and large section classes).

1982                           Social Psychology, Harvard University. Career Management, Harvard Business School.

1981                           Social Psychology, Harvard University.

1980                           Psychological Statistics, Harvard University.

1978-1979                      Social Psychology, Introductory Psychology, University of Rochester.

HONORS

2015                           2015 Distinguished Service Award, NARRTC (formerly known as the National
                               Association of Rehabilitation Research and Training Centers).

2011                           Distinguished Fellow, Institute for Veterans and Military Families, Syracuse University.

2010                           Honorary Professor, Centre for Disability Law & Policy, National University Ireland,
                               Galway; appointed by President James J. Browne.

2009                           Distinguished Visiting Professor, Graduate School of Social Welfare, Hokusei Gakuen
                               University, Sapporo, Japan.

2008                           University of Rochester Sports Hall of Fame–Inducted. Varsity Squash, four letters,
                               1975-1979, Co-Captain, 1978-1979.

2007                           Keynote Address, Israeli Knesset, Israeli Disability Day

2004                           Inaugural Lecturer, Thornburgh Family Lecture, Disability Law Policy, Univ. Pittsburgh.

2003-2005                      Recipient, The Nellie Ball Trust Research Grant.

2000                           Switzer Scholar in Rehabilitation, National Rehabilitation Association.

2000-2005                      Center Fellow, University of Iowa Center for Human Rights.

1998-1999                      Advisory Committee, Research Alliance for Wellness at Work, Inc.

1995-1996                      Member, General Accounting Office (GAO) Advisory Board, Report on ADA Title I.

1995-1996                      Chair, Legislative & Social Issues Committee, American Association Mental Retardation.

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1994-2000                      Member, President’s Committee on Employment of People with Disabilities.

1993-1996                      Member, Legal & Social Issues Committee, American Association Mental Retardation.

1993-1995                      Commissioner, American Bar Assoc. Commission on Mental & Physical Disability Law.

1993-1996                      Senior Fellow, Washington Annenberg Program

1992-1994                      President, Legal Process and Advocacy Division, Amer. Assoc. on Mental Retardation.

1990                           Order of the Coif, Honorary, University of Iowa, College of Law.

1987                           Society of Experimental Social Psychology, member.

1984                           Irving H. Hellman, Jr. Memorial Fund Grant, Stanford Law Review, Stanford Law.

1981                           Edwin B. Newman Psi-Chi/American Psychological Association Award for Excellence in
                               Graduate Research.

1981                           Sigma Xi, member; Psi-Chi, member.

1977-1979                      Captain, Varsity Squash, University of Rochester.

STATE BAR AND COURT ADMITTANCE

Commonwealth of Massachusetts Bar, Admitted January 16, 1987.

District of Columbia Bar, Admitted November 30, 1987.

United States Court of Appeals, District of Columbia Circuit Bar, Admitted January 28, 1987.

United States Court of Appeals, Tenth Circuit Bar, Admitted March 8, 1988.

United States District Court for the District of Columbia, Admitted October 3, 1988.

United States Court of Appeals for the Federal Circuit, Admitted October 13, 1988.

United States Court of Appeals, Fifth Circuit Bar, Admitted February, 2008.

United States Court of Appeals, Eleventh Circuit Bar, Admitted June 2010.

Supreme Court of the United States, Admitted February 20, 1990.

EDITORIAL BOARDS/JOURNAL & BOOK REFEREE (Illustrative)

Advisory Board, The Yearbook on European Disability Law & Policy (2008-)

Advisory Board, Stone Canoe: A Journal of Arts and Ideas from Upstate New York (2007-).

Guest Editor, Assistive Technology Journal (2006-2007).


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Guest Editor, Inclusion (2014-2015).

Guest Editor, Journal of Occupational Rehabilitation (2015-2017).

Editorial Board, Inclusion (2014-).

Editorial Board, Psychology, Public Policy and Law (2006-).

Editorial Board, and Guest Editor, Disability Studies Quarterly (2004-)

Contributing Editor, In Pursuit: A Blueprint for Disability Law and Policy. American Bar Association (1999).

Advisory Committee, National Organization on Disability, Disability Agenda (1998-1999).

Editorial Board, and Guest Editor, Behavioral Sciences & The Law (1997, 2014).

Editorial Advisory Board, Special Education Reporter (1995-1997).

Associate Editor, Legal Forum, Spine (1994-1999).

Editorial Advisory Board, Mental & Physical Disability Law Reporter (1993-1997), Chair (1995-1997).

Consulting Editor, Psychology, Public Policy and Law (1995-).

Basic and Applied Social Psychology.

Developmental Psychology.

Journal of Personality and Social Psychology.

Journal of Occupational Behavior.

Law & Society Review.

Mental Retardation.

National Science Foundation Grants in Law & Psychology.

Personality & Social Psychology Bulletin.

Social Science & Medicine.

Telecommunications Policy Journal.

University of Nebraska Press; University of Michigan Press.

Journal of Comparative Policy Analysis.

PROFESSIONAL ACTIVITIES (Illustrative)

President and Founding Member, Raising the Floor (RtF) U.S., 2013-.


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Chairman, Global Universal Design Commission (GUDC), 2008-.

Consultant, Aging of the Union Army Research Project, University of Chicago, Dr. Robert Fogel, PI, 2000-2006.

Member, Advisory Committee for The Research Alliance for Wellness at Work, Inc. 1998-1999.

Facilitator, The Partnership for Resolution of Mental Health Issues in Wyoming, 1995-2000.

Chairman, Quality Assurance Committee, State of Wyoming, 1995-1996.

Member, State-County Management Committee, Dept. Health & Human Services, State of Iowa, 1994-1996.

Member, Executive Committee, Ctr. International Rural & Environmental Health, University of Iowa, 1992-1993.

Annenberg Washington Program, Convener, Programs on the Americans with Disabilities Act, 1992-1996.

Annenberg Washington Program, Co-Convener, Program on Communicating with Juries, 1992.

Member, Compliance Advisory Board, Weston v. WSTS, Dept. of Human Services, State of Wyoming, 1991-1994.

APA/Committee on Standards in Research (CSR), Chairman, 1990-1992.

APA/Division 41, Core Committee on Amicus Briefs, Member, 1990-1992.

APA/Division 41 Liaison with Coalition for Psychology in the Public Interest (CPPI), 1989-1990.

Amer. Acad. Judicial Ed., Course Fact Finding, Communication in the Courtroom, Harvard Law School, 1990-1993.

Henry Murray Research Center, Radcliffe College, MacArthur Foundation Grant on Longitudinal Studies Mental

          Health, Consultant, 1990-1991.

LEGAL BRIEF PARTICIPATION, ORAL ARGUMENTS AS COUNSEL AND AMICUS

In re: Guardianship of the Person and Estate of Ryan Keith Tonner, an Incapacitated Person, Seventh Court of

          Appeals, Amarillo, Texas, No. 07-13-00308-CV (2015) (Co-counsel with Jonathan Martinis, Maame
          Gyamfi) (in preparation).

Sherrie Kaw vs. School District of Hillsborough County, United States Court of Appeals for the Fifth Circuit,

          No. 8:07-cv-02222-T-27TGW (2011). Oral Argument for Appellant Kaw (Co-counsel with Matt Dietz).

Santiago Lopez vs. Pacific Maritime Association, United States Court of Appeals for the Ninth Circuit,

          No. 09-55698 (2011, co-author w Claudia Center). Request for rehearing en banc for Amici Curiae.

American Association of Persons with Disabilities v. Holland, United States Court of Appeals for the Eleventh

          Circuit, No. 3:01-cv-01275-J-99 HTS (2010, co-author). Request for rehearing en banc.



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Alexey Korneenkov and Olesya Korneenkov v. Mukasey, United States Court of Appeals for The Fifth Circuit, No.

          07-60712 (2008, co-author). Made Oral Argument (Aug. 2009).

U.S. v. Georgia, et al. / Goodman, Tony v. Georgia, et al., United States Supreme Court (2005, co-author Brief of

          the Honorable Dick Thornburgh and the National Organization on Disability as Amici Curiae).

Chevron v. Echazabal, No. 00-1406, United States Supreme Court (2002, counsel of record, co-author of Brief of

          the National Council on Disability as Amicus Curiae).

EEOC v. Hertz, Case No. 96-CV-72421 DT, (E.D. Mich. S.D. Oct. 16, 1997).

TESTIMONY BEFORE CONGRESS, LEGISLATURES, AND ADMINISTRATIVE
BODIES (Illustrative)

Social Security Advisory Board, “Social Security Disability: Time for Reform,” Written Commentary,

          March 8, 2013.

U.S. House of Representatives, Committee on Government Reform, Subcommittee on Human Rights and Wellness,

          Testimony on “Living with Disabilities in the United States: A Snapshot,” June 24, 2004.

U.S. House of Representatives, Subcommittee on Social Security, Testimony on the definition of disability under

          Social Security and the ADA, July 11, 2002.

General Accounting Office (GAO), Testimony on Expert Advisory Panel, The Future of Federal Disability Policies

          and Programs, July 10, 2002.

U.S. House of Representatives, Subcommittee on The Constitution, Testimony on the Application of the ADA’s

          Accessibility Requirements to Private Internet Web Sites and Services, February 9, 2000.

U.S. House of Representatives, Committee on Education and the Workforce, Remarks on the ADA, Oct. 1998.

Wyoming Legislature, Select Committee on Mental Health Issues, September & November, 1998.

MEMBERSHIP PROFESSIONAL ORGANIZATIONS/NON-PROFIT BOARDS (Past
and Present)

American Association of Applied & Preventative Psychology, Fellow.

American Bar Association, Member.

Massachusetts Bar Association, Member.



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District of Columbia Bar Association, Member.

American Association on Mental Retardation, Member, and past President, Legal Process & Advocacy Division.

American Psychological Association, Member.

  Personality and Social Psychology - - Division 8.

  Psychology and Law - - Division 41.

American Psychological Society, Charter Fellow.

Law and Society Association, Member.

Disability Rights Advocates, Past Board Member (1996-2009).

National Organization on Disability (N.O.D.), Board member (1996-2009).

Disability Rights Law Center, Past Board Member (2005-2009).

YAI/National Institute for People with Disabilities Network, Trustee (2006-2014).

Beit Issie Shapiro, Professional Advisory Committee (2006-2008).

Iowa Children’s’ Museum, Board Member (2003-2005).

University of Rochester, Board of Rochester Athletics (2007-).

Global Universal Design Commission (GUDC). Chairman (2008-).

The Sarah Jane Brain Foundation. Advisory Board (2009).

Red House Arts Center, Syracuse, NY, Board Member (2011-2014).

The Everson Museum of Art, Syracuse, NY, Trustee (2012-).

UNIVERSITY SERVICE / COMMITTEES

Syracuse University College of Law

Appointments (2006-2009)

Ad Hoc Committee on Centers and Institutes (Chair, 2006-2007)

Promotion & Tenure (2006-2009)

Syracuse University

Syracuse University Strategic Plan Working Group—Change: Innovation and Institutional Renewal (2014-2015)

Advisory Board, Syracuse University Hillel (2007-2011)


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Strategic Planning Workgroup, “Change: Innovation and institutional renewal–Establishing the culture, structures,
and mechanisms to ensure that SU undergoes productive change” (2014-2015)

Iowa College of Law

Building & Equipment

Computer (2001-2002, 2003-2004, Chair)

Joint Program, Interdisciplinary Studies & Undergraduate Education

Placement Research & Professional Development

Speakers (2002-2003, Co-Chair)

Iowa University-Wide

Member Executive Board, University of Iowa Center on Aging (2001-2005).

Chair, Provost Task Force to Examine Issues Facing Students with Learning Disabilities (1998-1999).

Co-Chair, Task Force on the Health of the Student (1994-1995).

Advisor, Undergraduate Honors Program in Psychology (1993-2005).

Committee for Ethical, Legal and Social Issues for the Human Genome Project (ELSI) (1993-1995).

Research Advisory Committee in the Social Sciences (1993-1994).

POST-DOCTORAL FELLOWS

David Dawson, Ph.D.                                    (1998 – 2000), University of Iowa.

Naomi Schreuer, Ph.D.                                  (2008 – 2009), Haifa University, Israel.

Tal Araten Bergman, Ph.D.                              (2008 - 2009 ), Haifa University, Israel.

Michal Soffer, PhD.                                    (2008-2010 ), Hebrew University, Israel.

Omolara Funmilola Akinpelu, M.ED., Ph.D.               (2009-2012), University of Ilorin, Nigeria.

PUBLICATIONS

See also http://bbi.syr.edu for listing of other web-based articles and accessible formats where possible.

1.        Blanck, P.D., Zuckerman, M., DePaulo, B.M., & Rosenthal, R. (1980). Sibling resemblance in nonverbal
          skill and style. Journal of Nonverbal Behavior, 4, 219-26.

2.        Zuckerman, M., Blanck, P.D., DePaulo, B.M. & Rosenthal, R. (1980). Developmental changes in decoding
          discrepant and nondiscrepant nonverbal cues. Developmental Psychology, 16, 220-28.


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3.        Zuckerman, M., Larrance, D.T., Porac, J.F., & Blanck, P.D. (1980). Effects of fear of success on intrinsic
          motivation, causal attribution, and choice behavior. J. Personality & Social Psychology, 39, 503-13.

4.        Blanck, P.D., Rosenthal, R., Snodgrass, S.E., DePaulo, B.M., & Zuckerman, M. (1980). Longitudinal and
          cross-sectional age effects in nonverbal decoding skill and style. Resources in Education. November (ERIC
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          eavesdropping on nonverbal cues: Developmental changes. Journal of Personality and Social Psychology,
          41, 391-96.

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          how and when to decode discrepant and consistent social communications. In R.S. Feldman (ed.),
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          cross-sectional age effects in nonverbal decoding skill and style. Developmental Psychology, 18, 491-98.

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          sexually stereotyped materials. Resources in Education. (ERIC Documents - - ED209588).

9.        Blanck, P.D., Reis, H.T., & Jackson, L. (1984). The effects of verbal reinforcement on intrinsic motivation
          for sex-linked tasks. Sex Roles, 10, 369-86.

10.       Blanck, P.D. & Rosenthal, R. (1984). The mediation of interpersonal expectancy effects: The counselor’s
          tone of voice. Journal of Educational Psychology, 76, 418-26.

11.       Rosenthal, R., Blanck, P.D., & Vannicelli, M. (1984). Speaking to and about patients: Predicting therapists’
          tone of voice. Journal of Clinical and Consulting Psychology, 52, 679-86.

12.       Blanck, P.D., & Sonnenfeld, J.A. (1984). The Wane Division of the American Instruments Corporation
          (A). In J.A. Sonnenfeld, Managing career systems: Channeling the flow of executive careers. pp. 203-26.
          Illinois: Irwin.

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          In J.A. Sonnenfeld, Managing career systems: Channeling the flow of executive careers. pp. 227-41.
          Illinois: Irwin.

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          clinical context. In P.D. Blanck, R. Buck, & R. Rosenthal (eds.), Nonverbal communication in the clinical
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17.       Blanck, P.D., Rosenthal, R., Vannicelli, M., & Lee, D.T. (1986). Therapists’ tone of voice: Descriptive,
          psychometric, interactional, and competence analyses. Journal of Social & Clinical Psychology, 4, 154-78.


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          University Law Review, 40(2), 775-804.

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          Law- Volume 2, Contemporary Psychology, 37(1), 15-16.

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          Law Review, 22(3), 259-76.

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          Review, 12, 3-4.

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          Law Journal, 68(4), 1119-98.

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          times soaring needs divided by federal law, New York Law Journal, 211(38), 1-4.

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          ophthalmologists, Ophthalmology, 101, 1635-40.

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          Act: Empirical Study from 1990 to 1993, Iowa Law Review, 79(4), 853-923.

52.       Wallach, E.J., Tenney, J.P. & Blanck, P.D. (Dec. 19, 1994). Extending the ADA’s reach: Sponsors of self-
          insured funds may be sued under Title I of the ADA, National Law Journal, B5-B7.

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          Spine, 20(1), 116-19.

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          ADA discrimination, how should employers respond?, National Law Journal, C2-C3, C17.

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          employee with a back impairment, Spine, 20(7), 853-59.

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          Emerging issues for physicians, Spine, 20(13), 1528-32.

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          Americans with Disabilities Act, Mental & Physical Disability Law Reporter, 19(3), 385-93.

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          Annenberg Washington Program, Washington, D.C. Reprinted in AAMR News & Notes (Nov.-Dec.
          1995), 8(6), 3-5.

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          & Co., Spine, 20(19), 2161-67.

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          Washington Program and a decade of making a difference, The Annenberg Washington Program,
          Washington, D.C.

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          Roebuck & Co., Spine, 21(13), 1602-08.



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          1990-1994, Behavioral Sciences & the Law, 14(1), 5-27.

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          Roebuck & Co., Mental & Physical Disability Law Reporter, 20(2), 278-86.

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          Act, Spine, 21(19), 2288-93.

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          Encyclopedia Britannica: 1997 Medical and Health Annual, 215-19.

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          Legal, Health and Policy Implications, Behavioral Sciences and the Law, 14, 411-32.

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          Act. The Continuing Struggle: Civil Rights and the Clinton Administration (C. Yu & W. Taylor, eds.,
          Citizen’s Commission on Civil Rights), 169-76.

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          Some Emerging Legal, Medical, and Policy Implications. Mental & Physical Disability Law Reporter,
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          Colleges and Universities to Establish and Enforce Academic Standards: Guckenberger v. Boston
          University. Mental & Physical Disability Law Reporter, 21(5), 679-86.

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          Patents, Innovations and Assistive Technology. Notre Dame Journal of Law, Ethics & Public Policy,
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          & Justice, 2(1), 33-58.

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210.      Blanck, P. (2016). Universal Architectural Design and People with Disabilities, Numbers Magazine by
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211.      Blanck, P., Campanella, T., & Martinis, J. (2016). Advocacy and Legal Considerations to Ensure Civil
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          Publishing Company) (in press).

212.      Blanck, P. & Flynn, E. (Eds.) (2016), Routledge Handbook of Disability Law and Human Rights, Taylor &
          Francis Group, London, UK (in press).

213.      Flynn, E. & Blanck, P. (2016), Introduction, in Routledge Handbook of Disability Law and Human Rights,
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214.      Blanck, P. (2016), eQuality: The Right to the Web, in Routledge Handbook of Disability Law and Human
          Rights, Taylor & Francis Group, London, UK (in press).

215.      Blanck, P. (2016). Web Accessibility for People with Cognitive Impairments: A Legal Right?, in Global
          Inclusion: Disability, Human Rights, and Information Technology (eds. Michael Stein & Jonathan Lazar),
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216.      Lord, J., et al., Blanck, P. (2016). Disability, Health Disparity and Repressive Environments: Assessing
          Country Conditions in North Korea, Int. J. Environ. Res. Public Health, 12, 1-xx (2016) (forthcoming).

217.      Blanck, P. (2016). ADA at 25 and Persons with Cognitive Disabilities: From Action to Inclusion, Inclusion
          (forthcoming).

218.      Blanck, P. (2016). The First “A” in the ADA: And 25 More “A”s Towards Equality for Americans with
          Disabilities, Inclusion (forthcoming).

219.      Morris, M., Rodriguez, C., & Blanck, P. (2016). ABLE Accounts: A Down Payment on Freedom, Inclusion
          (forthcoming).

220.      Ekberg, K., Pransky, G., Besen, E., Fassier, J., Feuerstein, M., Munir, F., & Blanck, P. (2016). New
          business structures creating organizational opportunities and challenges for work disability prevention,
          Journal of Occupational Rehabilitation (in submission).

221.      Arstein-Kerslake, A., Browning, M., Watson, J., Martini, J., & Blanck, P. (2016). Future Directions in
          Supported Decision-Making Research, Disability Studies Quarterly (in submission).

222.      Logue, L. M. & Blanck, P. (2017). Fatal Decisions: Civil War Veterans, Psychological Illness, and Suicide,
          Cambridge University Press (in preparation).

223.      Shogren, K., Wehmeyer, M., Martinis, J., & Blanck, P. (2017). Supported Decision Making Over the Life
          Course: Community, Financial and Health Decisions by Persons with Disabilities and Older Adults (in
          preparation).

224.      Blanck, P., Waterstone, M., & Martinis, J. (2nd ed., 2017). Treatise on Disability Civil Rights Law and
          Policy, West Publishers (in preparation).

225.      Blanck, P. (2017). The Future of the American with Disabilities Act: Introduction to Special Section on the
          ADA, Journal of Occupational Rehabilitation (P. Blanck ed.) (in preparation).



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227.      Schur, L., Kruse, D., & Blanck, P. (2017). Employment and Disability, Journal of Occupational
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228.      Schur, L., Kim, A., Han, K., Kruse, D., Adya, M., & Blanck, P. (2017). Disability at Work: Job
          Characteristics and Attitudes of Employees with Disabilities, Journal of Occupational Rehabilitation (in
          preparation).

229.      Giannoumis, A.G. & Blanck, P. (2017). eQuality 2.0: New Directions in Accessible Technologies and
          Independence in Living, Journal of Occupational Rehabilitation (in preparation).

230.      Blanck, P. (2017). eQuality 2.0: The Struggle for Web Accessibility by Persons with Cognitive
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231.      Uyanik, H., Shogren, & Wehmeyer, M., Campanella, T., Martinis, J., & Blanck, P. (2017). Supported
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          preparation).

232.      de Paor, A., Quinn, G., & Blanck, P. (2017). Advancing Genetic Technologies: Disability and Human
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Blanck, P.D. (Oct. 7, 1992). Disabilities act myths are often unfounded. Journal-Gazette, Fort Wayne, IN.

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[Reprinted] (Nov. 29, 1993). Judges and juries do better than the public might think. Daily Local News, West
         Chester, PA.

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         Salem, NC.

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1.         Blanck, P., Reis, H.T., & Jackson, L. (1979). The effects of the verbal reinforcement on intrinsic
           motivation for sex-linked tasks. Presentation meeting of the American Psychological Association, NY.

2.         Blanck, P.D., Rosenthal, R., Snodgrass, S.E., DePaulo, B.M, & Zuckerman, M. (1980). Longitudinal and
           cross-sectional age effects in nonverbal decoding skill and style. Presentation at the meeting of the Eastern
           Psychological Association, Hartford.

3.         Blanck, P.D., Rosenthal, R., Snodgrass, S.E., DePaulo, B.M., & Zuckerman, M. (1980). Developmental
           changes in females’ superiority at decoding nonverbal cues. Presentation at the meeting of the American
           Psychological Association, Montreal.

4.         McLeod, P.L., Rosenthal, R., Blanck, P., & Snodgrass, S.E. (1980). Micromomentary movement and the
           decoding of face and body cues. Presentation meeting of American Psychological Association, Montreal.

5.         Blanck, P.D. & Rosenthal, R. (1980). Nonverbal sensitivity and athletic team performance. Presentation at
           the meeting of the New England Psychological Association, Boston.

6.         Blanck, P.D. & Rosenthal, R. (1981). Measuring sensitivity to verbal and nonverbal discrepant and
           consistent multichannel messages: The MOVANS Test.

7.         Presentation at the meeting of the Eastern Psychological Association, New York.

8.         Snodgrass, S.E., Rosenthal, R., & Blanck, P. (1981). Sex role association via teachers’ behavior and
           sexually stereotyped materials. Presentation at meeting of Association of Women in Psychology, Boston.

9.         Blanck, P.D. & Rosenthal, R. (1981). Nonverbal styles and skills in best-friend relationships. Presentation
           at the meeting of the New England Psychological Association, Brandeis University.

10.        Blanck, P.D., Rosenthal, R., & Cordell, L.H. (1985). Nonverbal communication in the clinical and legal
           context. Presentation at the meeting of the California Psychological Association, San Francisco.

11.        Blanck, P.D. & Rosenthal, R. (1986). Judges’ verbal and nonverbal in criminal jury trials. Symposium of
           jury decision-making. Presentation at the meeting of the American Psychological Association,


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          Law School.

12.       Blanck, P.D. (1988). The Archeology of Field Research in the Courtroom. Presentation at the meeting of
          the Law and Society Association, Vail, Colorado.

13.       Blanck, P.D. (1989). Trial judges’ behavior in criminal jury trials. University of Iowa, College of Law.

14.       Bernieri, F., Blanck, P.D., Rosenthal, R., Vannicelli, M., & Yerrell, P.H. (1990). Therapists’ speech:
          Channel congruency, affect, and variability. Presentation at the meeting of the American Psychological
          Association, Boston, MA.

15.       Blanck, P.D. (1990). Legal policy and methodological issues in deinstitutionalizing the mentally retarded.
          Presentation at the meeting of American Psychology-Law Society Division 41 Conf., Williamsburg, VA.

16.       Blanck, P.D. (1990). Panelist on “Selecting impartial juries.” Annenberg Washington Program Forum,
          Washington, D.C.

17.       Blanck, P. (1991). Ethical, moral, and legal issues in the primary and secondary analysis of videotape data
          of family interactions. Presentation at Henry Murray Research Center, Radcliffe College, Harvard Univer.

18.       Blanck, P.D. (1991). Empirical study of the Americans with Disabilities Act: Model of Study and
          Preliminary Results. Presentation at the American Association for Mental Retardation, Washington, D.C.

19.       Blanck, P.D. (1991). The interface of law and psychology, Keynote at the Iowa Psychological Association
          meeting, Iowa City, IA.

20.       Blanck, P.D. (1991). The Americans with Disabilities Act: A new Bill of Rights, Presentation at the
          University of Iowa, College of Law celebration of the Bicentennial of the Bill of Rights, Iowa City, IA.

21.       Saks, M.J. & Blanck, P.D. (1992). Improving on Justice: The Unrecognized Benefits of Sampling and
          Aggregation in the Trial of Mass Torts. Presentation at the meeting of the American Association of Law
          Schools, San Antonio, TX.

22.       Blanck, P.D. (1992). The Americans with Disabilities Act, Colloquium, Department of Sociology,
          University of Iowa.

23.       Blanck, P.D. (1992). Ethical and legal implications of the human genome initiative. Presentation at the
          Iowa Humanities Symposium, “Genes and Human Self-Knowledge,” University of Iowa, College of
          Medicine, Iowa City, IA.

24.       Blanck, P.D. (1992). Americans with Disabilities Act: Advising employers and employees. Presentation at
          the University of Iowa, College of Law Symposium (CLE) on Employee Rights and Benefits.

25.       Blanck, P.D. (1992). Introduction to Program on “Communicating with Juries.” Presentation at the
          Annenberg Washington Program, Washington, D.C.

26.       Blanck, P.D. (1992). The Emerging Work Force of Persons with Disabilities: The ADA and ADR.
          Address to the Industry-Labor Council Meeting “Giving Us the Tools,” National Center for Disability
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          Employment Opportunity Commission, Washington, D.C.

28.       Blanck, P.D. (1992). Americans with Disabilities Act: Advising employers and employees. Presentation at
          the University of Iowa, College of Law (CLE).

29.       Blanck, P.D. (1992). Fact Finding and Decision Making, Address at the meeting of the Ohio Judicial
          Conference, Columbus, OH.

30.       Blanck, P.D. ((1992). Americans with Disabilities Act: Facts and Myths. Presentation at the University
          Hospital School Rounds, University of Iowa.

31.       Blanck, P.D. (1992). Americans with Disabilities Act: The Basics, Invited Lecture at Goodwill Industries,
          Inc. & Iowa City Chamber of Commerce, Iowa City, IA.

32.       Blanck, P.D. (1992). Americans with Disabilities Act: Basics, Invited Lecture at Alliance for the Mentally
          Ill meeting, Iowa City, IA.

33.       Blanck, P.D. (1993). The Emerging Work Force: Studying the ADA. Invited Public Address at the
          Woodrow Wilson School of Public Policy, Princeton University.

34.       Blanck, P.D. (1993). Americans with Disabilities Act: Issues for Rehabilitation Professionals, Invited
          Lecture at Rehabilitation Psychology Program, University of Iowa.

35.       Blanck, P.D. (1993). Americans with Disabilities Act: Issues for Pulmonary Physicians, Invited Rounds at
          Univ. Iowa Hospitals.

36.       Blanck, P.D. (1993). Social Change through Law: Where is the Difference, Invited Presentations,
          Teaching Texts & Diversity, University of Iowa.

37.       Blanck, P.D. (1993). The ADA and ADR, Invited Presentation, American Association on Mental
          Retardation Convention, Washington, D.C.

38.       Blanck, P.D. (1993). Americans with Disabilities Act: Issues for Eye Researchers and Clinicians, Invited
          Rounds Univ. Iowa Hosp.

39.       Blanck, P.D. (1993). The ADA and ADR, Invited Presentation, USPDI Conference on ADA and
          Technology, Washington, D.C.

40.       Blanck, P.D. (1993). The ADA and ADR, Invited Presentation, Access Center Conference, Davenport, IA.

41.       Blanck, P.D. (1993). Field of Dreams and the ADA, Keynote Address, Iowa ARC, Cedar Rapids, IA.

42.       Blanck. P. (1993). Rural employment and the ADA, Invited Address, Rural Employment Alt., Conroy, IA.

43.       Blanck, P.D. (1993). Implementing the ADA, Keynote, Missouri Association County Developmental
          Disabilities Ser., St. Louis, MO.

44.       Blanck, P.D. (1993). Implementing the ADA, Invited Address, Iowa City Public Library, IA.



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45.       Blanck, P.D. (1994). Health care reform: Access and partnerships. Presentation to the President’s
          Committee on Mental Retardation Health Care Reform Conference, Washington, D.C.

46.       Blanck, P.D. (1994). ADA and ADR, Address to the Iowa Risk Project, Iowa City, IA.

47.       Blanck, P.D. (1994). Putting the employment provisions of the ADA to work, CLE, Univ. Iowa, College of
          Iowa, Iowa City, IA.

48.       Blanck, P.D. (1994). Introduction/Moderator to Program “Communications technology for everyone,”
          Conference at the Annenberg Washington Program, Washington, D.C.

49.       Blanck, P.D. (1994). Emerging issues in ADA and ADR, Address to the American Association on Mental
          Retardation Annual Convention, Boston, MA.

50.       Blanck, P.D. (1994). Moderator, Implementing Consent Decrees, American Association on Mental
          Retardation Annual Convention, Boston, MA

51.       Blanck, P. (1994). Inclusive Education and the ADA, Presentation at the Department of Special Education,
          Univ. Iowa, Iowa City, IA.

52.       Blanck, P.D. (1994). Community integration and the ADA, Invited Address, Barry-Lawrence Retreat,
          Branson, MO.

53.       Blanck, P.D. (1994). Communications Technology for everyone. Invited Address, Smithsonian Museum,
          Washington, D.C.

54.       Blanck, P.D. (1994). Empirical Study of the ADA, Invited Address, Department of Psychology, &
          Woodrow Wilson School, Princeton University, NJ.

55.       Blanck, P.D. (1994). The Appearance of Justice, Moderator for conference co-sponsored by Princeton
          University, Woodrow Wilson School, and the Annenberg Washington Program, Princeton, NJ.

56.       Blanck, P.D. (1995). On diversity, disability, and employment, Invited address, American Association of
          Law Schools Conference, New Orleans, LA.

57.       Blanck, P.D. (1995). Human rights and persons with intellectual disability: International and national
          perspectives, Symposium, Yale Law School, New Haven, CT.

58.       Blanck, P.D. (1995). ADA and occupational medicine, Invited address, Iowa Conference on Occupational
          Medicine, Iowa City, IA.

59.       Blanck, P.D. (1995). Implications of ADA for Psychologists, Invited address, American Psychology–Law
          Society Conv., NY, NY.

60.       Blanck, P.D. (1995). ADA in the Workplace – Evolutionary or Revolutionary, Invited address, California
          Committee on Employment of Persons with Disabilities Conference, Sacramento, CA.

61.       Blanck, P.D. (1995). ADA in the workplace: “Back” to work, Invited address, Southam Occupational
          Health & Safety Conference, Toronto, Canada.



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62.       Blanck, P.D. (1995). ADA’s Impact on the Workplace: Empirical Findings, Invited address, National
          Employment Lawyer’s Association, San Francisco, CA.

63.       Blanck, P.D. (1995). U.S. Disability Policy and Law, Invited Address to Handikapp Ombudsmannen,
          Stockholm, Sweden.

64.       Blanck, P.D. (1995). Voices of Freedom: America Speaks Out on ADA, National Council on Disability
          Forum, Washington, D.C.

65.       Blanck, P.D. (1995). Work Force Diversity and the ADA, Invited Address, Northern States Power
          Company, Minneapolis, MN.

66.       Blanck, P.D. (1995). ADA, Employment, Civil Rights. Invited Address, American Association on Mental
          Retardation Public Policy Forum, Washington, D.C.

67.       Blanck, P.D. (1996). Persons with Mental Retardation in the Juvenile Justice System. Invited Address,
          American Association on Mental Retardation Annual Conference, San Antonio, TX.

68.       Blanck, P.D. (1996). Institutional reform litigation. Panel Address, American Association on Mental
          Retardation Annual Conference, San Antonio, TX.

69.       Blanck, P.D. (1996). How Does ADA Work for You? / Getting ADA to Work for You. Invited Address,
          St. Francis Health Care Center, Green Springs, OH.

70.       Blanck, P.D. (1996). The ADA and internal medicine, Medicine & Society Lecture Series, Department of
          Internal Medicine, University of Iowa.

71.       Blanck, P.D. (1996). The ADA and rehabilitation medicine, Prince Lecture and Prince Visiting
          Professorship, Rehabilitation Institute of Chicago, Northwestern University, IL.

72.       Blanck, P.D. (1996). Emerging ADA Law, Faculty Workshop, Northwestern University Law School.

73.       Blanck, P. (1996). Emerging Issues under the ADA, Keynote Address, Assoc. ADA Coordinators
          Conference, Raleigh Durham, NC.

74.       Blanck, P.D. (1996). ADA Title I, Ergonomics and Workers’ Compensation Law, Invited Address,
          Worksafe Iowa Conference, Reducing Workplace Injuries & Illnesses Through Ergonomics, Iowa City, IA.

75.       Blanck, P.D. (1996). Transcending the ADA, Invited Address, Villanova Law School Symposium on the
          ADA, Villanova, PA.

76.       Blanck, P. (1996). Disability and Rural Health, Health in a Changing Rural Environment Conf., IA City.

77.       Blanck, P.D. (1997). The Ergonomics of the ADA, Invited Address, DePaul Law School, Symposium on
          the ADA, Chicago, IL.

78.       Blanck, P. (1997). Socially Assisted Dying: Opening Remarks. Conf. Socially Assisted Dying,
          Northwestern University, Chicago, IL.

79.       Blanck, P.D. (1997). ADA and Psychiatry, Grand Rounds, Department of Psychiatry, University of Iowa.


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80.       Blanck, P. (1997). Corporate Culture and the ADA, ADA Title I Conference Sponsored by the Industry-
          Labor Council, Chicago, IL.

81.       Blanck, P.D. (1997). The emerging role of the staffing industry in employing people with disabilities.
          Working together, leading the way, Conference sponsored by Iowa CEO, Des Moines, IA.

82.       Blanck, P.D. (1997). Students with Learning Disabilities, Reasonable Accommodations, and the rights of
          institutions of higher education to establish and enforce academic standards. Invited Presentation at the
          Journal of Gender, Race and Justice, Annual Symposium, Iowa City, IA.

83.       Blanck, P.D. (1998). Exploring the Future: Trends and Challenges. Keynote Address at Region VII, Four
          State, Issues Forum, Kansas City, MO. [also speaking Economic Cents of Hiring Persons with Disabilities.]

84.       Blanck, P. (1998). Human & Civil Rights: An Iowa Perspective. Keynote 1998 Iowa Civil Rights
          Commission, Des Moines, IA.

85.       Blanck, P. (1998). ADA: Issues and Impact. Invited Presentation at Current Topics in Occupational Health
          Symp., Iowa City, IA.

86.       Blanck, P.D. (1998). Treatment and Habilitation and the ADA. Invited Presentation, American Bar Assoc.
          Conference “In Pursuit” … A Blueprint for Disability Law and Policy: ABA National Conference.

87.       Blanck, P.D. (1998). Closing Roundtable. Invited Moderator at American Bar Association Conference “In
          Pursuit” … A Blueprint for Disability Law and policy: An ABA National Conference.

88.       Blanck, P.D. (1998). The Emerging Role of the Staffing Industry in Employing People with Disabilities
          and Manpower, Inc., Keynote Address, Shriners Hospitals Choices Conference, Chicago, IL.

89.       Blanck, P.D. (1998). The ADA and the Emerging Workforce. Invited Address, American Association on
          Mental Retardation Disability Summit, Washington, D.C.

90.       Blanck, P. (1998). ADA, Disabilities, and Discrimination in Health Care, Presentation before the Bioethics
          Forum, Univ. Iowa.

91.       Blanck, P.D. (1998). Statement of Professor Peter David Blanck, Before the U.S House of Representatives
          Committee on Education and the Workforce, Monday, October 5, 1998, Washington, D.C.

92.       Blanck, P.D. (1998). Statement of Professor Peter David Blanck, Before the U.S. Commission on Civil
          Rights, Public Hearings on the Americans with Disabilities Act, Thursday, November 12, 1998,
          Washington, D.C.

93.       Blanck, P. (1999). Work and Disability. Invited Address, Annual Meeting of the American Assoc. Law
          Schools, New Orleans, LA.

94.       Blanck, P.D. (1999). Civil War Pensions, Civil Rights, and the Americans with Disabilities Act. Invited
          Address, Symposium on ADA Backlash, University of California at Berkeley.

95.       Blanck, P.D. (1999). The ADA and the Emerging Workforce. Invited Address, Annual Colloquium,
          University of Iowa, Department of Rehabilitation Counseling.



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96.       Blanck, P. (1999). Genetic Knowledge and Disability, Symposium Moderator, Rehab. Inst. Chicago, IL.

97.       Blanck, P.D. (1999). The ADA and the Emerging Workforce. Invited Plenary Address, Joint Employment
          & Technical Training Conference, U.S. Department of Labor, Washington, D.C.

98.       Blanck, P.D. (1999). The Unintended Consequence of the ADA. Invited Address, National Disability
          Management Conference, Rehearsing Your Future, Washington Business Group on Health & Unum-
          Provident Corp., Washington, D.C.

99.       Blanck, P. (1999). Disability and Compliance. Invited Address, National Workers’ Compensation and
          Disability Conf., Chicago, IL.

100.      Blanck, P.D. (1999). The Year of the ADA at the U.S. Supreme Court, University of Iowa College of Law
          Continuing Legal Education, Iowa City, IA.

101.      Blanck, P.D. (2000). The Disabilities of Civil War Veterans: Empirical Study. Invited Address, Disability
          Institute ADA Symposium, University of Alabama School of Law, Tuscaloosa, AL.

102.      Blanck, P.D. (2000). Entrepreneurs with Disabilities. Invited Address, President’s Committee on
          Employment of People with Disabilities Annual Meeting, Washington, D.C.

103.      Blanck, P.D. (2000). Civil War Pensions and Disability in America. Invited Address, ADA Tenth
          Anniversary Symposium, Ohio State University, Columbus, OH.

104.      Blanck, P.D. (2000). Employment, the ADA, and the Supreme Court. Invited Address, Issues Forum,
          Kansas City, MO.

105.      Blanck, P.D. (2000). Graduating from High School/High Tech, Keynote Address, Grant Wood area
          Educational Agency Graduation, Cedar Rapids, IA.

106.      Blanck, P.D. (2000). Disability, Employment Policy and the ADA. Invited Address, Central States
          Occupational Medicine Association Meeting, Davenport, IA.

107.      Blanck, P. (2000). ADA and Health Care, Panel, Rehabilitation Institute Chicago and Northwestern Univ.
          Conf., Chicago, IL.

108.      Blanck, P.D. (2000). Rethinking ADA Civil Rights Enforcement, Moderator for National Retreat for the
          National Council on Disability Meeting, Washington, D.C.

109.      Blanck, P. (2000). Employment Policy and the ADA: Research Questions and Challenges. Invited
          Address, Mary Switzer Lec. Ser., NIDRR, Lansing, MI.

110.      Blanck, P.D. (2000). Studying Employment Policy and the Workforce of Persons with Disabilities.
          Rehabilitation Services Administration Annual Conference, Plenary Address, Philadelphia, PA.

111.      Blanck, P.D. (2000). The Disabilities of Civil War Veterans. Invited Address, University of Nebraska
          College of Law, Lincoln, NE.

112.      Blanck, P.D. (20000. Conceptions of Disability after the Civil War, Invited Address, University of
          Chicago, Center for Population Economics, Graduate School of Business, Chicago, IL.


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113.      Blanck, P.D. (2000). Studying the Impact of the ADA: Past and Present Issues, University of Michigan
          Law School, Invited Address, ADA Symposium, Ann Arbor, MI.

114.      Blanck, P.D. (2001). Employment, Disability Policy and the ADA, Featured Address, “The Future is Not
          What it Used to Be,” Conference on Workforce of Iowans with Disabilities, Des Moines, IA.

115.      Blanck, P.D. (2001). Before Civil Rights: Veterans’ Pensions and the Politics of Disability in America,
          1862-1907, Invited Faculty Colloquium, Stanford Law School, CA.

116.      Blanck, P.D. (2001). Veterans’ Pensions and the Politics of Disability in America, Invited Discussant,
          National Bureau of Economic Research Conference, Health and Labor Force Participation over the Life
          Cycle: Evidence from the Past, Cambridge, MA.

117.      Blanck, P.D. (2001). Before Civil Rights: Veterans’ Pensions and the Politics of Disability in America,
          1862-1907, Invited Faculty Colloquium, William & Mary Law School, VA.

118.      Blanck, P.D. (2001). Keynote Address: Emerging Issues for the New Millennium, Annual Conference on
          Vocational Rehabilitation, Rehabilitation Institute of Chicago, Chicago, IL.

119.      Blanck, P.D. (2001). Civil War Pensions and the Politics of Disability, Invited Enrichment Speaker
          Series/Faculty Colloquium, University of Houston, School of Law, Houston, TX.

120.      Blanck, P.D. (2001). The Emerging Workforce of Entrepreneurs with Disabilities, America’s Workforce
          Network Research Conference, U.S. Department of Labor, Washington, D.C.

121.      Blanck, P.D. (2001). Civil War Pension Attorneys and the Politics of Disability in America, Invited
          Address, Conceptions of Disability Symposium, Bills of Right Institute, William & Mary Law School, VA.

122.      Blanck, P. (2001). Economics of Employing People with Disabilities, Invited Speaker, Cornell Univ.,
          RRTC Employment Conference, Washington, D.C.

123.      Blanck, P.D. (2001). Ticket to Work and Work Incentives, Expert Roundtable Participant, Social Security
          Administration Conference, Washington, D.C.

124.      Blanck, P.D. (2001). Civil War Pensions and the Politics of Disability in America, Invited Address,
          American Historical Association Convention, Chicago, IL.

125.      Blanck, P.D. (2001). National Workplace Forum: Setting a National Agenda for Increasing the
          Employment of Individuals with Disabilities, U.S. Chamber of Commerce & Virginia Commonwealth
          University, Invited Presented, Washington, D.C.

126.      Blanck, P. (2002). Exploring the Future of Disability Civil Rights. Keynote Region VII, Four State, Issues
          Forum, Kansas City, MO.

127.      Blanck, P.D. (2002). Exploring the Future of Disability Rights. Keynote Conversations with J. Young at
          the World Institute on Disability/Virginia Commonwealth University Policy Forum, Los Angeles, CA.

128.      Blanck, P.D. (2002). Exploring the Future of American Disability Civil Rights, and Comparisons to the
          UK Disability Discrimination Act. Keynote Address, Employers’ Forum on Disability, London, England.



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129.      Blanck, P.D. (2002). Ticket to Work and Work Incentives, Expert Roundtable Participant, Applicability of
          the ADA to Employment Networks (ENs), Social Security Administration Conference, Washington, D.C.

130.      Blanck, P.D. (2002). The Definition of Disability under the Social Security Act and its Relation to the
          Americans with Disabilities Act, Testimony before the U.S. House of Representatives Subcommittee on
          Social Security, Thursday, July 11, Washington, D.C.

131.      Blanck, P.D. (2002). ADA Research & Policy Agenda, Advisory Panel, GAO Meetings, Washington, D.C.

132.      Blanck, P.D. (2002). The Future of American Disability Civil Rights, Keynote Address at the Iowa
          Rehabilitation Professionals Annual Meeting, Des Moines, IA.

133.      Blanck, P.D. (2002). National Summit on Technology and Disabilities, Invited participant and facilitator,
          RESNA Conference, Providence, RI.

134.      Blanck, P. (2002). AT Outcome Measurement: Where are we now and where are we headed? Washington
          University Program in Occupational Therapy Conference, St. Louis, MO.

135.      Blanck, P. (2003). Nonverbal Communication in Applied Research Involving Persons with Disabilities,
          Invited participant, Claremont Applied Social Psychology Conference, Applications of Nonverbal
          Communication, Claremont, CA.

136.      Blanck, P. (2003). “It Works,” Invited moderator, The Information Technology Association of America
          (ITAA) Annual Workforce Convocation, Arlington, VA.

137.      Blanck, P. (2003). The De-Evolution of the ADA: Federalism, and the Rise of State Disability Law,
          Invited speaker, Annual Conference of State Court Chief Justices, San Juan, PR.

138.      Blanck, P. (2003). Politics and Practice of Accommodation, Invited Speaker, Job Accommodation
          Network (JAN), Annual Conference, Arlington, VA.

139.      Blanck, P. (2003). Poverty and Disability, Invited Speaker, Intersection of Disability with Gender, Race
          and Justice, Symposium sponsored by the Journal of Race, Gender and Justice, Iowa City, IA.

140.      Blanck, P. (2003). Keynote Address, Journal of Gender, Race & Justice Annual Symposium, Justice for
          All? Exploring Gender, Race and Sexual Orientation Within Disability Law, Iowa City, IA.

141.      Blanck, P. (2003). American Disability Law and Policy, Invited Speaker, International Seminar: Anti-
          Discrimination Legislation: Disability Experience, Organized by the Norwegian "Commission against
          Discrimination of Disabled People", appointed by the Norwegian Government 2003-2004, Oslo, Norway.

142.      Blanck, P. (2003). Law and Ethics of Data Sharing, Invited Speaker, Data Sharing Workshop, Sponsored
          by The National Institutes of Health, National Institute of Child Health and Development (NIH/NICHD),
          Bethesda, MD.

143.      Blanck, P. (2003). ADA and the European Year of the Disabled, Invited Address, Merrill Lynch Conf.
          European Year Disabled, London, UK.




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144.      Blanck, P. (2003). The Law and Politics of the ADA, Invited Speaker, Research Council of Norway,
          Conference on "Anti-Discrimination Legislation as an Instrument to Promote Equal Opportunities for
          People with Disabilities - International Experiences", Oslo, Norway.

145.      Blanck, P. (2003). The Law and Politics of the ADA, Invited Speaker, Conference on "Anti-discrimination
          Legislation: The Disability Experience," Norwegian Governmental Commission Against Discrimination of
          People with Disabilities, Oslo, Norway.

146.      Blanck, P. (2003). Is the ADA a Failed Law?, Speaker, Middlesex University, London, GB.

147.      Blanck, P. (2004). Disability Law and Policy in Rehabilitation Education. Keynote Address, National
          Council on Rehabilitation Education (NCRE), Annual Meeting, Tucson, AZ.

148.      Blanck, P. (2004). The Accessible Courtroom, Invited Speaker, The Legal and Policy Implications of
          Courtroom Technology, International Conference Sponsored by The Courtroom 21 Project and William
          and Mary Bill of Rights Journal, Williamsburg, VA.

149.      Blanck, P. (2004). Realities and Opportunities in the 21st Century Workplace–Disability Issues, Invited
          Panelist, U.S. Equal Employment Opportunity Commission, Forum with Chair Cari Dominguez, DC.

150.      Blanck, P. (2004). Future of Disability Law and Policy, Invited Talk, U.S. Equal Employment Opportunity
          Commission, Office of Legal Counsel, Washington, DC.

151.      Blanck, P. (2004). Union Army Veterans’ Pensions and the Politics of Disability in Nineteenth Century
          America, Distinguished Lecture on Human Rights, Syracuse University College of Law, Syracuse, NY.

152.      Blanck, P. (2004). Employees with Disabilities: Employer Misconceptions Versus Data and Practice,
          Master Tutorial Presenter, Society for Industrial and Organizational Psychology, Ann. Conf., Chicago, IL.

153.      Sewell, R., Song, C., Smith, R., Bauman, N., & Blanck, P. (2004). Union Army Veterans with Hearing
          Loss and the Evolution of Disability in America During 1862-1920, Paper, Annual Meeting of the
          Triological Society, Phoenix, AZ.

154.      Blanck, P. (2004). Disability Rights: Thematic Issues, Moderator at Equality and Disability: Exploring
          The Challenge and Potential of Framework Directive 2000/78/EC, Conference organized in Louvain-La-
          Neuve, Belgium (29-30 April).

155.      Blanck, P. (2004). Definition of Disability, Social Security Advisory Board Forum, Invited Discussant, DC.

156.      Blanck, P. (2004). Disability Law and Technology Policy, State of Technology Conference, Rehabilitation
          Engineering Research Center (RERC) on Mobile Wireless Technologies for Persons with Disabilities,
          Georgia Centers for Advanced Telecommunications Technology, Invited Address, Atlanta Georgia.

157.      Blanck, P. (2004). The Past, Present and Future of Disability Rights, Keynote address, at the Job
          Accommodation Network (JAN), Annual Conference, Orlando, FL.

158.      Blanck, P. (2004). Past and Future of Disability Law and Policy, Inaugural Thornburgh Family Lecture on
          Disability Law and Policy, University of Pittsburgh, PA.




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159.      Blanck, P. (2004). Celebrating Disability Rights, Keynote address for the Arkansas Rehabilitation
          Services Commission Meeting for Disability Awareness Month, Little Rock, Arkansas.

160.      Blanck, P. (2004). Disability Law and Policy, Invited address, at the Miller Center of Public Affairs,
          University of Virginia, Charlottesville, VA.

161.      Blanck, P. (2004). Demystifying Workplace Accommodations, Panel at National Business Group on
          Health Annual Conference, Orlando, FL.

162.      Blanck, P. (2004). Disability Discrimination in North America, Panel at Workplace Discrimination and the
          Law in North America, NAFTA Labor Secretariat, Washington, DC.

163.      Blanck, P. (2004). Disability Civil Rights Law and Policy. Keynote Address, Israeli Association of
          Rehabilitation Professionals, Annual Meeting, Tel Aviv, Israel.

164.      Blanck, P. (2004). Disability Civil Rights Law and Policy. Invited Address, Israeli Knesset, A special
          meeting of the Committee on Labour, Social Welfare and Health Committee, chaired by MK Shaul
          Yahalom, Jerusalem, Israel.

165.      Blanck, P. (2005). Fifth Meeting of the Working Group on Data Collection to Measure the Extent and
          Impact of Discrimination in Europe, European Commission, Section on Employment, Social Affairs and
          Equal Opportunities, Invited Presentation on the U.S. Experience with the Measurement of the Americans
          with Disabilities Act, Brussels, Belgium.

166.      Blanck, P. (2005). Disability Rights and Legal Education. Invited Lecture Series on Diversity and Legal
          Education, University of Mississippi, School of Law, Oxford, Miss.

167.      Blanck, P. (2005). Future of Disability Law and Policy, Keynote Address, Alabama Transition
          Conference, Auburn University.

168.      Blanck, P. (2005). Introduction to Disability Law, Invited Address, Library of Congress, Center for
          International Rehabilitation, & the American Society for International Law (ASIL) Conference on
          International Disability Rights, Washington, D.C.

169.      Blanck, P. (2005). Employment and Disability, Annual Symposium, Invited Panelist, Disability Research
          Institute (DRI), University of Illinois at Urbana-Champaign, Funded by a grant from the U.S. Social
          Security Administration, National Press Club, Washington, D.C.

170.      Blanck, P. (2005). Americans with Disabilities and Civil Rights, Invited Address, Grinnell College, IA.

171.      Blanck, P. (2005). Disability Civil Rights Law and Policy, Keynote Address, YAI/National Institute for
          People with Disabilities Network, Annual Conference, New York, NY.

172.      Blanck, P. (2005). ADA as Disability Law and Policy, 29th International Congress on Law and Mental
          Health, International Academy of Law and Mental Health Congress, Paris, France.

173.      Blanck, P. (2005). Disability Law and Policy, Disability Law Summer Symposium, National University of
          Ireland, Galway.

174.      Blanck, P. (2005). EEOC ADA Workshop, Moderator, Iowa City, Iowa.


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175.      Blanck, P. (2005). Disability Law and Policy, Evidence-Based Outcomes, Plenary address for the RERC
          on Workplace Accommodations State of the Science Conference, Atlanta, Georgia.

176.      Blanck, P. (2005). Disability Law and Policy, Keynote address for the Arkansas Workers’ Compensation
          Annual Conference, Little Rock, Arkansas.

177.      Blanck, P. (2005). The Future of Disability Law and Policy, Loyola Law School, Los Angeles, CA.

178.      Blanck, P. (2005). The Future of the Americans with Disabilities Act, invited speaker, University of
          Mississippi Law School, Conference on the ADA at 15, Oxford, Miss.

179.      Blanck, P. (2005). The Americans with Disabilities Act, invited lecturer, Harvard Law School, Cambridge,
          MA.

180.      Blanck, P. (2005). The Burton Blatt Institute and the Future of Disability Law and Policy, faculty
          colloquium, Center for Policy Research. Maxwell School, Syracuse University, NY.

181.      Blanck, P. (2006). Empirical Study of the Americans with Disabilities Act, invited speaker, New York
          University School of Law Conference on Assessing the Employment Provisions of the Americans with
          Disabilities Act, NYC, NY.

182.      Blanck, P. (2005). The Burton Blatt Institute and the Future of Disability Law and Policy, Syracuse
          University College of Law Lecture Series, N.Y.C. Lubin House Lecture Series, NY.

183.      Blanck, P. (2006). Disability Law and Policy, Disability Law Summer Symposium, National University of
          Ireland, Galway.

184.      Blanck, P. (2006). On the Legacy of Professor Stanley Herr, Beit Issie Shapiro's First Fellow, Keynote
          Address, Beit Issie Shapiro Annual Conference, Tel Aviv, Israel.

185.      Blanck, P. (2006). The Challenge of Monitoring Social Reform in the Area of Disability–The
          International Perspective, Keynote Address, Conference on Disability Studies as a Field of Human Rights,
          Inquiry and Teaching, US–Israel Binational Conference; sponsored by the Israeli Ministry of Justice,
          Commission for Equal Rights of People with Disabilities, Tel Aviv, Israel.

186.      Blanck, P. (2006). Employment Demand, Invited panelist, Interagency Committee on Disability Research
          (ICDR), Interagency Subcommittee on Employment, Research Summit on "Employer Perspectives on
          Workers with Disabilities: A National Summit to Develop a Research Agenda," Crystal City, VA.

187.      Blanck, P. (2006). New Paths in Disability Law and Policy, Keynote Address, The Indiana Governor's
          Council for People with Disabilities Annual Conference, Indianapolis, Indiana.

188.      Blanck, P. (2006). The US (ADA) approach and its impact on eAccessibility, speaker at the European
          Workshop on Achieving eAccessibility: The role of Equality Legislation and Other Measures, European
          Union Commission, Brussels, Belgium.

189.      Blanck, P. (2006). Social regulation of accessibility to ICT for people with disabilities: What can Norway
          learn from other countries?, invited speaker, NOVA Institute, Oslo, Norway.




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190.      Blanck, P. (2006). Disability Politics Historically and Today, Faculty Colloquium, University of San
          Diego School of Law, San Diego, CA.

191.      Blanck, P. (2006). Future and Past of Disability, Colloquium, Social Psychology Department, University
          of California, Riverside, CA.

192.      Morris, M. & Blanck, P. (2007). Access to Ownership for Persons with Disabilities: A Post Katrina
          Analysis, Presentation at the American Association of Law Schools Annual Meeting, Washington, DC.

193.      Blanck, P. (2007). Politics of Disability Inequality after the Civil War and Today, Presentation at the
          Journal of Law and Inequality Symposium Commemorating the First 25 Years of Academic Legal Analysis
          of Issues in Inequality, University of Minnesota Law School, Minneapolis, Minn.

194.      Blanck, P. (2007). Litigating ICT Access, Presentation at Global Forum to United Nations Global
          Initiative for ICT and Development, Global Initiative for Inclusive Technologies (G3ict), W2i, Wireless
          Internet Institute with the Secretariat for Convention on the Protection and Promotion of the Rights and
          Dignity of Persons with Disabilities and UNITAR, UN Institute for Training and Research, NYC, NY.

195.      Logue, L. & Blanck, P. (2007). Aging and Disability, Presentation at “Aging and Disability Conference,”
          Maxwell School, Syracuse University, NY.

196.      Blanck, P. & Reina, M. (2007). The Rights of People with Disabilities: Policy and Legal Aspects, U.S.
          Department of State Bureau of International Information Programs and the U.S. Embassy in Madrid,
          invited speaker for digital video conference, NY and DC.

197.      Blanck, P. (2007). People with Disabilities in Times of Crisis and War, Presentation at the Israeli OMRDD
          Conference, Haifa, Israel.

198.      Blanck, P. (2007). American Disability Law and Policy, Workshop Presentations at the Israeli National
          Social Security Office, Jerusalem, Israel.

199.      Blanck, P. (2007). The Digital Divide in the US and Abroad, Presentation at T4P'07, First International
          Conference on Technology for Participation and Accessible eGovernment Services, Agder University
          College, Kristiansand, Norway.

200.      Blanck, P. (2007). Corporate Culture, Litigation and the Global Access to the Internet, Presentation at
          Trondheim University, Trondheim, Norway.

201.      Blanck, P. (2007). Disability Law and Policy in the Theater, Presentation at the Kennedy Center's
          Leadership Exchange in Arts and Disability (LEAD) conference, Minneapolis, MN.

202.      Logue, L. & Blanck, P. (2007). African-American Veterans and Civil War Pensions, Presentation at
          “Military Service, Social (Dis) advantage, and the Life Course,” Maxwell School Conference on Disability
          and the Military Experience, Syracuse University, NY.

203.      Blanck, P. (2007). Exploring New Markets: What You Need to Know to Tap into the Disability
          Community, Address at the Opportunity Conference, hosted by U.S. Secretary of Labor Elaine L. Chao,
          Washington, D.C.




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204.      Blanck, P. (2007). Disability Rights and E-Accessibility, European Commission Project, Brussels,
          Belgium.

205.      Blanck, P. (2007). Disability Pensions for Union Army Veterans: Historical and Contemporary Lessons,
          Faculty Colloquium, for The John J. Heldrich Center for Workforce Development, at the Edward J.
          Bloustein School of Planning and Public Policy, and the School of Management and Labor Relations,
          Rutgers University, NJ.

206.      Blanck, P. (2007). The Future of Disability Rights, Keynote Address to the Israeli Knesset on Disability
          Day, Jerusalem, Israel.

207.      Blanck, P. (2007). Disability World Developments, Lecture to Bekol–Organization of Hard of Hearing and
          Deaf People in Israel, Jerusalem, Israel.

208.      Blanck, P. (2008). American Disability Law and Policy in Transition, Eastern Kentucky University
          College Education Dean's Lecture Series, Richmond, KY.

209.      Blanck, P. (2008). International Developments in Accessible ICT, G3ict Forum, Hosted by the Ecuadorian
          Ministry of Social Development, Quito, Ecuador.

210.      Blanck, P. (2008). The Past and Future of Disability Law and Policy, closing presentation at the 2008
          Jacobus tenBroek Disability Law Symposium, National Federation of the Blind, Baltimore, MD.

211.      Blanck, P. (2008). Best Practices, Corporate Attitudes and Employment of Persons with Disabilities,
          Address at Office of Disability Employment Policy (ODEP) Annual Conference, Washington, D.C.

212.      Blanck, P. (2008). Research on the Employment of Persons with Disabilities, Interagency Subcommittee
          on Employment, Interagency Committee on Disability Research (ICDR) Conference, Washington, D.C.

213.      Blanck, P. (2008). Reframing the Disability Issue for Employers, Cornell/AAPD Policy Forum,
          Washington, DC.

214.      Blanck, P. (2008). Disability Rights, Options for Independence Annual Conference Keynote Address,
          Auburn, NY.

215.      Blanck, P. (2008). Reasonableness of Accommodations, Presentation at the Kennedy Center's Leadership
          Exchange in Arts and Disability (LEAD) conference, Ft. Lauderdale, FL.

216.      Blanck, P. (2008). Disability Rights for Health and Medical Professions, Colloquium address, 2nd Annual
          Conference of the Ono Research Institute for Health and Medical Professions, Ono Academic College,
          Kiryat Ono, Israel.

217.      Blanck, P. (2008). Disability Law and Policy, Colloquium address, Ono Academic College Law School,
          Kiryat Ono, Israel.

218.      Blanck, P. (2008). Age and Disability, Speaker at Law and Psychology of Age and Disability
          Discrimination Conference, University of Nebraska.




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219.      Blanck, P. (2009). Disability as an Element of Diversity in the Legal Profession, Diversity Summit: State
          of Diversity in the Legal Profession, American Bar Association Presidential Initiative, Mid-Year Meetings,
          Boston, MA.

220.      Myhill, W. & Blanck, P. (2009). Disability and Aging, Speaker at Symposium on Aging and Disability,
          Marquette University Law School, Milwaukee, WI.

221.      Blanck, P. (2009). The Future is Now in Disability Law and Policy, Closing presentation at the 2009
          Jacobus tenBroek Disability Law Symposium, National Federation of the Blind, Baltimore, MD.

222.      Blanck, P. (2009). Future of Disability Law and Policy, Remarks at the Opening Ceremonies for the
          Centre for Disability Law and Policy, National University of Ireland, Galway, Ireland.

223.      Blanck, P. (2009). Disability Law and Policy: Past, Present, Future, Disability Studies and Research
          Centre, University of New South Wales, Sidney, Australia.

224.      Blanck, P. (2009). Disability and Social Justice, Centre for International Governance & Justice Regulatory
          Institutions Network, ANU College of Asia and the Pacific, The Australian National University, Canberra,
          Australia.

225.      Blanck, P. (2009). Disability Civil Rights Law and Policy, Lectures as Distinguished Visiting Professor,
          Graduate School of Social Welfare at Hokusei Gakuen University, Sapporo, Japan.

226.      Blanck, P. (2009). Future of the ADA, Japan Association of Employment of Elderly and Persons with
          Disabilities, An independent administrative agency in Ministry of Health, Labor & Welfare, Tokyo, Japan.

227.      Blanck, P. (2009). The ADA, American Society and People, Japan Disability Forum, A national network
          of disability organizations to promote the implementation of the Convention on the Rights of Persons with
          Disabilities as well as an anti-discrimination law for persons with disabilities in Japan, Tokyo, Japan.

228.      Blanck, P. (2009). Law of the ADA, Graduate School & Faculty of Law, Kobe University, Japan.

229.      Blanck, P. (2010). U.S. and Japanese Disability Law, at Japan’s Anticipated Disability Law and the
          Americans with Disabilities at Twenty: Workshop on Comparative Law, Policy and Research, in Los
          Angeles, CA; Co-sponsored by Burton Blatt Institute & Hokusei Gakuen University, Sapporo, Japan.

230.      Blanck, P. (2010). U.S. Disability Law and the CRPD, panelist at International Disability Law Conference
          on the Convention on the Rights of Persons with Disabilities, at Loyola Law School, Los Angeles, CA.

231.      Blanck, P. (2010). U.S. Disability Law and Policy after Obama, International and Comparative
          Perspectives on Employment and Disability Law Conference, National University of Ireland, Galway.

232.      Blanck, P. (2010). Universal Design: Inclusion, Innovation, Livability and Economics, Address at Access
          to the World, Implementation of Universal Design Legislation Seminar, Centre for Excellence in Universal
          Design (CEUD), Irish National Disability Authority (NDA), Dublin, Ireland.

233.      Blanck, P. (2010). ADA at 20 and Mobility Access, Keynote address at ADA 20/20: Looking Back,
          Looking Forward on Mobility, Sponsored by BraunAbility, National Press Club, Washington, DC.




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234.      Blanck, P. (2010). Future of Disability Law, Policy and Research, Colloquium address at the University of
          Tokyo, Japan.

235.      Blanck, P. (2010). Americans with Disabilities Act at Twenty, Colloquium address at University of
          Tsukuba, Graduate School of Comprehensive Science, Japan.

236.      Blanck, P. (2010). Developments in U.S. Disability Law, presentation at International Disability Law
          Conference, at Remning University, Beijing, China.

237.      Blanck, P. (2010). Cloud Computing for People with Cognitive Disabilities: Legal, Policy, and Universal
          Design Considerations, presentation at the Coleman Institute Workshop on Implications of Cloud
          Computing for People with Cognitive Disabilities, University of Colorado at Boulder, Law School, CO.

238.      Blanck, P. (2010). Developing an Accessible National Information Infrastructure for People with Cognitive
          Disabilities, panelist at the Tenth Annual Coleman Institute Conference, “All Together Now: The Power of
          Partnerships in Cognitive Disability & Technology,” University of Colorado at Boulder, Law School, CO.

239.      Blanck, P. (2011). rosenthal : Effect size indicator, and R2: Robert Rosenthal’s goodness of fit, Colloquium to
          the Social Psychology Department, University California, Riverside, CA.

240.      Blanck, P. & Lord, J. (2011). Disability as a Protected Class for the Purpose of Seeking Political Asylum,
          presentation at the 2011 Jacobus tenBroek Disability Law Symposium, National Federation of the Blind,
          Baltimore, MD.

241.      Blanck, P. (2011). Disability History and Law, Colloquium, University of Wisconsin’s Financial Literacy
          and Disability Project (FLAD) and the UW Disability Studies Cluster, Madison, WI.

242.      Blanck, P. (2011). Disability and Economics: Challenges and Opportunities, Symposium on Disability and
          Economics, Burton Blatt Institute and University of Tokyo Project on Research on Economy and
          Disability, Syracuse, NY.

243.      Blanck, P. (2011). Future of Deinstitutionalization and Community Living in Israel, Conference, and
          Expert Committee Member, sponsored by Israeli Ministry of Welfare and Social Services, Tel Aviv, Israel.

244.      Blanck, P. (2011). Understanding Disability, Discussant to Thomas Shakespeare, at the Center for
          International Rehabilitation Research Information and Exchange (CIRRIE), in cooperation with
          WHO/PAHO, World Bank, U.S. International Council on Disability and Inter-Agency Committee on
          Disability Research, U.S. Launch and Symposium on the World Report on Disability, Washington DC.

245.      Blanck, P. (2011). Right to Technology Access for People with Cognitive Disabilities, Closing Keynote
          Address, State of the States, State of the Nation, 2011: Coleman Institute National Conference on Cognitive
          Disability and Technology in Challenging Economic Environments, University of Colorado, Boulder, CO.

246.      Blanck, P. (2011). Equal Employment Opportunity Commission (EEOC) Regulations Implementing the
          American with Disabilities Amendments Act (ADAAA): Expanding Coverage under the “Disability”
          Definition, American Bar Association (ABA) Center for Continuing Legal Education, on behalf of the
          ABA Commission on Mental and Physical Disability Law, Webinar Panelist.




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247.      Blanck, P. (2011). Universal Design in the World, Keynote address, at the III International Meeting on
          Technology and Innovation for Persons with Disabilities, The Universal Design in the Brazilian Industry,
          São Paulo, Brazil.

248.      Blanck, P. (2011). Universal Design in Electrical & Electronics Industry, Panelist, at the III International
          Meeting on Technology and Innovation for Persons with Disabilities, The Universal Design in the Brazilian
          Industry, São Paulo, Brazil.

249.      Blanck, P. (2011). World Bank, Legal Innovation and Empowerment through the CRPD, Panel speaker,
          Law, Justice & Development Week 2011, World Bank, Washington D.C.

250.      Blanck, P. (2011). Accessibility and Universal Design: The Global Universal Design Commission
          (GUDC), Conference sponsored by Israeli Ministry of Welfare and Social Services, Tel Aviv, Israel.

251.      Blanck, P. (2012). U.S. Genetic Antidiscrimination Law, Invited speaker at the Symposium on Genetic
          Discrimination, European Union Parliament, Brussels, Belgium.

252.      Blanck, P. (2012). Hot Issues in Disability Law, Invited speaker, National Council on Disability (NCD)
          Quarterly Meetings, NY, NY.

253.      Blanck, P. (2012). Introduction and Moderator, Psychotropic Medication and the Law, The Saks Institute
          for Mental Health Law, Policy, and Ethics, Los Angeles, CA.

254.      Blanck, P. (2012). Implementing the American with Disabilities Amendments Act (ADAAA), Plenary
          speaker, American Bar Association (ABA), ABA Commission on Mental and Physical Disability Law,
          Annual Conference, Washington, D.C.

255.      Blanck, P. (2012). The Right to the Web and the Cloud, The Interagency Committee on Disability Research
          (ICDR) Assistive Technology/Technology (AT/T) Forum (June 26, 2012, Webinar).

256.      Blanck, P. (2012). Full and Equal Participation by Persons with Disabilities to the Courts and Civil Society,
          Speaker, Access to Justice for Persons with Disabilities, Side Event of the Fifth Session of the Conference
          of States Parties to the Convention on the Rights of Persons with Disabilities, United Nations, NY, NY.

257.      Blanck, P. (2012). ADA Legal Update: What’s on the Docket?, Colloquium, University of Houston Law
          Center, ILRU (Independent Living Research Utilization) Southwest ADA Center, Houston, TX.

258.      Blanck, P. (2012). Right to the Web for People with Cognitive Disabilities, Keynote Address, Coleman
          Institute on Cognitive Disability, National Conference, Univ. Colorado, Boulder, CO.

259.      Blanck, P. (2012). Disability and the Experience of Social Isolation, Speaker at Symposium on Social
          Isolation and Disconnectedness as a Risk Factor for Family Members across the Lifespan, National Human
          Services Assembly, National Collaboration for Families, Washington, D.C.

260.      Blanck, P. (2013). Civil Rights of People with Disabilities, Upstate Medical University, SUNY, Diversity
          Lecture Series, Syracuse, NY.

261.      Blanck, P. (2013). eQuality: The Right to the Web for People with Cognitive Disabilities, Faculty
          Colloquium, Southwestern Law School, Los Angeles, CA.



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262.      Blanck, P. (2013). Social Security Reform Proposals: Toward Fiscal and Structural Balance, Discussant at
          Social Security Disability: Time for Reform, Social Security Advisory Board Disability Forum,
          Washington, D.C.

263.      Blanck, P. (2013). “When Gawd make cripple, He mean him to be lonely;” Disability, the Web and an
          Inclusive World, Presentation at the Symposium on Including Disability: How Legal Discourse Can Shape
          Life’s Transitions, UCLA Law Disability Symposium, Los Angeles, CA.

264.      Blanck, P. (2013). Disability Law and Policy: U.S. and Japan, Symposium on U.S. and Japanese Disability,
          Loyola Law School, Los Angeles, CA.

265.      Blanck, P. (2013). The Right to the Web for People with Cognitive Disabilities and Ownership of Web
          Content, Participant at Cherry Blossom Symposium on Intellectual Property and Federal Policy: Universal
          Access in the Digital Environment, American University Washington College of Law, Washington, D.C.

266.      Blanck. P. (2013). The Right to Web Equality for People with Cognitive Disabilities, Guest Speaker at
          NIDRR Presents, National Institute for Disability Rehabilitation Research, Washington, D.C.

267.      Blanck, P. (2013). Emergency Care for Homebound and Vulnerable Populations, Keynote Address at 2013
          Rural and Ready Symposium, Sault Sainte Marie, Mich.

268.      Blanck, P. (2013). Web Quality for People with Cognitive Disabilities, Talk Co-hosted by the Irish
          National Disability Authority (NDA) Centre for Excellence in Universal Design, National University of
          Ireland (NUI) Galway Centre for Disability Law and Policy, Dublin, Ireland.

269.      Blanck, P. (2013). The Future of Accessible Technology—Legal Perspectives, NOVA—Norwegian Social
          Research Institute—Talk at the European Assistive Technology Ecosystem Symposium, 4th DREAM
          Network-Wide Event, Oslo, Norway.

270.      Blanck, P. (2013). Declaration of the Right to Web Equality for People with Cognitive Disabilities,
          Address, Coleman Institute on Cognitive Disability, National Conference, Univ. Colorado, Boulder, CO.

271.      Blanck, P. (2013). Symposium on Best Practices in Supported Decision-Making, Research Group
          Facilitator, American University, Washington College of Law, Washington, D.C.

272.      Blanck, P. (2014). Closing Remarks, Workshop on the UN Convention for the Rights of Persons with
          Disabilities, University of Haifa, Haifa, Israel.

273.      Blanck, P. (2014). eQuality, Speaker at the U.S. and Japan Accessibility Policy Symposium, Center on
          Japanese Studies, University of California, Berkeley, CA.

274.      Blanck, P. (2014). Emergency Planning for People with Disabilities, Address to Northern Virginia
          Emergency Response System (NVERS) and the Regional Hospital Coordination Center (RHCC), Virginia
          Department of Emergency Management, and Northern Virginia Hospital Alliance, Symposium on
          Emergency Operations Planning: An Inclusive Approach, Alexandria, VA.

275.      Blanck, P. (2014). Supported Decision Making as an Alternative to Guardianship, Plenary Session at the
          2014 Jacobus tenBroek Disability Law Symposium, National Federation of the Blind, Baltimore, MD.




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276.      Blanck, P. (2014). Web eQuality for People with Cognitive Disabilities, National University of Ireland
          (NUI) Galway Centre for Disability Law and Policy, DREAM Symposium, Galway, Ireland.

277.      Blanck, P. (2014). Web Equality and Persons with Disabilities, 2014 International Summit on
          Accessibility, Carleton University, Ottawa, Canada.

278.      Blanck, P. (2014). New Directions in Disability Policy, Presentation to the National Council on Disability,
          Washington, D.C.

279.      Blanck, P. (2014). Legal Aspects of Internet Access for People with Cognitive Disabilities, Coleman
          Institute on Cognitive Disability, National Conference, Univ. Colorado, Boulder, CO.

280.      Blanck, P. (2015). Co-Facilitator, Integrating the Internet Now and in 25 Years, Jacobus tenBroek
          Disability Law Symposium, National Federation of the Blind, Baltimore, MD.

281.      Blanck, P. (2015). The Future of Disability, Plenary Panelist, 2015 Jacobus tenBroek Disability Law
          Symposium, National Federation of the Blind, Baltimore, MD.

282.      Blanck, P. (2015). Launching for a Successful Career: Preparing Students for the Future, Moderator at Saks
          Institute Spring Symposium 2015, Mental Health on Campus: Keys to Success for University, Community
          College and Veteran Students, University of Southern California, CA.

283.      Blanck, P. (2015). eQuality and the Future of the Web for People with Disabilities, National ADA
          Symposium on the Americans with Disabilities Act, Atlanta, GA.

284.      Blanck, P. (2015). U.S. Strategic Litigation: Moving courts in the direction of supported decision-making
          and Lessons for Israel, at Symposium: Just Being Me: My Right to be in the World (Community Living)
          and my Right to make my own Decisions in the World (Legal Capacity). A Global Context for the Reform
          Process in Israel. Jerusalem, Israel.

285.      Blanck, P. (2015). eQuality and Web Access, Webinar for Institute on Disability and Public Policy for the
          ASEAN Region Association of Southeast Asian Nations (ASEAN).

286.      Blanck, P. (2015). Web eQuality and People with Disabilities, Symposium Speaker at Ritsumeikan
          University, Kyoto, Japan.

287.      Blanck, P. (2015). The Future of the Web, Keynote Address, First Japanese Association on Higher
          Education And Disability (AHEAD) Symposium, University of Tokyo, Japan.

288.      Blanck, P. (2015). Web eQuality and People with Disabilities, Symposium Speaker at University of
          Melbourne, Australia.

289.      Blanck, P. (2015). Supported Decision Making and the U.S. Experience, Symposium Speaker at
          University of Melbourne, Australia.

290.      Blanck, P. (2015). Web eQuality and People with Disabilities, Symposium Speaker at University of
          Sydney, Australia.

291.      Blanck, P. (2015). Supported Decision Making and the U.S. Experience, Symposium Speaker at
          University of Sydney, Australia.


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292.      Blanck, P. (2015). The National Resource Center for Supported Decision Making, Address to the Australia
          Office of the Public Guardian and the University of New South Wales, Sydney, Australia.

293.      Blanck, P. (2015). Corporate Culture and Disability, Address to the Australian Human Rights
          Commission, Sydney, Australia.

294.      Blanck, P. (2015). eQuality for Individuals with Cognitive Disabilities, Lecture, Sapienza University of
          Rome, Gruppo Asperger Lazio ONLUS, Rome, Italy.

295.      Blanck, P. (2015). The Future of Workplace Accommodations, Improving Research of Employer Practices
          to Prevent Disability, Liberty Mutual Research Institute for Safety, Hopkinton, MA.

296.      Blanck, P. (2015). Americans with Disabilities Act at 25, Talk at the Harvard Law School, Prison Legal
          Assistance Project, Cambridge, MA.

297.      Blanck, P. (2015). eQuality: Future of Web Accessibility for People with Disabilities, Federal
          Communications Commission (FCC), Colloquium Series, Washington, D.C.

298.      Blanck, P. (2015). Emerging Technology in Employment and Education, Presenter to the U.S. National
          Council on Disability, Quarterly Meeting, Concord, NH.

299.      Blanck, P. (2015). The Future of the Americans with Disabilities Act, Keynote Address, Maine Association
          for Community Service Providers Annual Meeting, Auburn, ME.

300.      Blanck, P. (2015). Research and Evidence Based Practice, Presentation & Facilitation, Supported Decision-
          Making Invitational Symposium 2015: Promoting the Right to Choose: Moving From Theory to Practice,
          Quality Trust for Individuals with Disabilities, American University, Washington College of Law, D.C.

301.      Blanck, P. (2015). Universal Design Certification, Mary Free Bed YMCA Dedication Celebration, Grand
          Rapids, MI.

302.      Blanck, P. (2016). eQuality: Future of Web Accessibility for People with Disabilities, Hall Center for the
          Humanities, Invited lecture, Disability Studies Seminar, University of Kansas, Lawrence, KS.

Forthcoming Presentations

303.      Morris, M. & Blanck, P. (2016). Implementing the ABLE Act of 2014, Jacobus tenBroek Disability Law
          Symposium, Baltimore, MD.

304.      Blanck, P. (2016). eQuality and the Future of Web Accessibility for People with Disabilities, Keynote
          Address, The American Network of Community Options and Resources (ANCOR) Annual Conference,
          Chicago, IL.

305.      Blanck, P. (2017). A World Without Disability Rights?, Centre for Law & Social Justice & Disability Law
          Hub, University of Leeds, Leeds, UK.




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                                         Exhibit 2

                                Peter Blanck, Ph.D., J.D.

                              List of Materials Considered

 1. ADA related documents produced by Defendants on February 9, 2015.

 2. Corizon Monthly Reports from January 2012 through October 2014.

 3. Corizon related documents produced on February 23, 2015.

 4. Defendants’ responses to Plaintiffs’ discovery requests produced on May 27, 2015.

 5. Defendants’ responses to Platiniffs’ discovery requests produced on February 6, 2015.

 6. Deposition Transcript of Dewayne Estes.

 7. Deposition Transcript of Grantt Culliver.

 8. Deposition Transcript of James Tucker.

 9. Deposition Transcript of Ruth Naglich (30(b)(6)).

 10. Deposition Transcript of Wendy Williams (30(b)(6)).

 11. Deposition Transcript of Kenneth Jones.

 12. Deposition Transcript of Aaron Billups.

 13. Deposition Transcript of Ernest Claybon.

 14. Deposition Transcript of Michelle Ellington.

 15. Deposition Transcript of Joel Gilbert.

 16. Deposition Transcript of Adrienne Givens.

 17. Deposition Transcript of Gwendolyn Givens.

 18. Deposition Transcript of Timothy Holcomb.

 19. Deposition Transcript of Veronica Moore.

 20. Deposition Transcript of Guy Noe.
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 21. Deposition Transcript of Kenneth Peters.

 22. Deposition Transcript of Bobby Copeland.

 23. Prison Jacket of Bobby Copeland.

 24. Medical Records of Bobby Copeland.

 25. Deposition Transcript of Cherry Baker.

 26. Prison Jacket of Cherry Baker.

 27. Medical Records of Cherry Baker.

 28. Deposition Transcript of Tedrick Brooks.

 29. Prison Jacket of Tedrick Brooks.

 30. Medical Records of Tedrick Brooks.

 31. Deposition Transcript of Edward Braggs.

 32. Prison Jacket of Edward Braggs.

 33. Medical Records of Edward Braggs.

 34. Deposition Transcript of Quang Bui.

 35. Medical Records of Quang Bui.

 36. Deposition Transcript of Richard Businelle.

 37. Prison Jacket of Richard Businelle.

 38. Medical Records of Richard Businelle.

 39. Deposition of Gary Broyles.

 40. Prison Jacket of Gary Broyles.

 41. Medical Records of Gary Broyles.

 42. Deposition transcript of Howard Carter.

 43. Prison Jacket of Howard Carter.




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 44. Medical Records Howard Carter.

 45. Deposition Transcript of Robert Dillard.

 46. Prison Jacket of Robert Dillard.

 47. Medical Records of Robert Dillard.

 48. Prison Jacket of Chandler Clements.

 49. Medical Records of Chandler Clements.

 50. Deposition Transcript of Joshua Dunn.

 51. Prison Jacket of Joshua Dunn.

 52. Medical Records of Joshua Dunn.

 53. Deposition Transcript of Christopher Gilbert.

 54. Medical Records of Christopher Gilbert.

 55. Deposition transcript of Dwight Hagood.

 56. Medical Records of Dwight Hagood.

 57. Deposition Transcript of Daletrick Hardy.

 58. Medical Records of Daletrick Hardy.

 59. Deposition transcript of Sylvester Hartley.

 60. Deposition transcript of Christopher Jackson.

 61. Prison Jacket of Christopher Jackson.

 62. Medical Records of Christopher Jackson.

 63. Deposition Transcript of Brandon Johnson.

 64. Prison Jacket of Brandon Johnson.

 65. Medical Records of Brandon Johnson.

 66. Deposition transcript of John Maner.




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 67. Prison Jacket of John Maner.

 68. Medical Records of John Maner.

 69. Deposition transcript of Roger McCoy.

 70. Prison Jacket of Roger McCoy.

 71. Medical Records of Roger McCoy.

 72. Deposition transcript of Kenneth Moncrief.

 73. Prison Jacket of Kenneth Moncrief.

 74. Medical Records of Kenneth Moncrief.

 75. Deposition transcript of Roger Moseley.

 76. Medical Records of Roger Moseley.

 77. Medical Records of Rick Martin.

 78. Deposition transcript of Leviticus Pruitt.

 79. Prison Jacket of Leviticus Pruitt.

 80. Medical Records of Leviticus Pruitt.

 81. Deposition Transcript of Turner Rogers.

 82. Medical Records of Turner Rogers.

 83. Deposition transcript of Jonathan Sanford.

 84. Prison Jacket of Jonathan Sanford.

 85. Medical Records of Jonathan Sanford.

 86. Deposition transcript of Richard Terrell.

 87. Prison Jacket of Richard Terrell.

 88. Medical Records of Richard Terrell.

 89. Medical Records of Sylvester Hartley.




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 90. Deposition transcript of Joseph Torres.

 91. Prison Jacket of Joseph Torres.

 92. Medical Records of Joseph Torres.

 93. Deposition transcript of Robert Williams.

 94. Deposition Transcript of Charlie Henderson

 95. Prison Jacket of Charlie Henderson.

 96. Medical Records of Charlie Henderson.

 97. Deposition Transcript of Bradley Pearson.

 98. Prison Jacket of Bradley Pearson.

 99. Medical Records of Bradley Pearson.

 100. Deposition Transcript of Jamie Wallace.

 101. Prison Jacket of Jamie Wallace.

 102. Medical Records of Jamie Wallace.

 103. Prison Jacket of William Villar.

 104. Medical Records of William Villar.

 105. Deposition Transcript of Donald Turner.

 106. Prison Jacket of Donald Turner.

 107. Medical Records of Donald Turner.

 108. Deposition Transcript of Jermaine Mitchell.

 109. Prison Jacket of Jermaine Mitchell.

 110. Medical Records of Jermaine Mitchell.

 111. Robert Myniasha Williams Medical Records.

 112. Deposition Transcript of Daniel Tooley.




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 113. Prison Jacket of Daniel Tooley.

 114. Medical Records of Daniel Tooley.

 115. Medical Records of Hubert Tollar.

 116. Prison Jacket of Augustus Smith.

 117. Medical Records of Augustus Smith.

 118. Medical Records of Brian Sellers.

 119. Deposition Transcript of Timothy Sears.

 120. Prison Jacket of Timothy Sears.

 121. Medical Records of Timothy Sears.

 122. Medical Records of Matthew Mork.

 123. Deposition Transcript of Tommie Moore.

 124. Prison Jacket of Tommie Moore.

 125. Medical Records of Tommie Moore.

 126. Donaldson Correctional Facility SOPs produced by Defendants.

 127. Hamilton A&I SOPs produced by Defendants.

 128. ADOC RFP for Healthcare dated July 17, 2012

 129. ADOC RFP for Mental Health Services dated June 28, 2013

 130. State’s Response to Plaintiffs’ First Requests for Production, November 17, 2014.

 131. Email from Culliver to ADOC Officials, January 23, 2015 re: Shaving Policy.

 132. ADOC Hospice Program Manual.

 133. ADOC Health Service Manual.

 134. ADOC Administrative Regulations 600 – 639.

 135. ADOC Administrative Regulations 700 – 708.




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 136. Discovery Mediation Agreement dated September 9, 2015

 137. MHM Monthly Reports from January 2012 through October 2014.

 138. Documents produced by Defendant(s) on February 6, 2015.

 139. ADOC’s signed interrogatory responses dated April 3, 2015.

 140. ADOC’s current contract with Corizon.

 141. ADOC’s current contract with MHM.

 142. Pleadings in Dunn, et al., v. Dunn, et al.

 143. Numerous, publicly available documents cited in the endnotes of my Report.




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